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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


GORDON SCHIFF and CELESTE ROYCE,

                        Plaintiffs,
        v.

U.S. OFFICE OF PERSONNEL
MANAGEMENT; CHARLES EZELL, in his
official capacity as Acting Director of the U.S.
Office of Personnel Management; U.S.
DEPARTMENT OF HEALTH & HUMAN                               Case No. 25-cv-10595-LTS
SERVICES; ROBERT F. KENNEDY, JR., in
his official capacity as Secretary of Health and
Human Services; AGENCY FOR
HEALTHCARE RESEARCH AND
QUALITY; and MAMATHA PANCHOLI, in
her official capacity as Acting Director of the
Agency for Healthcare Research and Quality,

                        Defendants.


                           DECLARATION OF GORDON SCHIFF

       I, Gordon Schiff, declare under penalty of perjury that the following is true and correct:

       1.      I am a Plaintiff in this action. I offer this declaration in support of Plaintiffs’ Motion

for a Preliminary Injunction. I have personal knowledge of the facts set forth in this declaration

and could testify competently to those facts if called as a witness.

       2.      I live in Jamaica Plain, Massachusetts.

Background

       3.      I am an Associate Professor of Medicine at Harvard Medical School (“HMS”). At

HMS, I am the Quality and Safety Director for the Center for Primary Care, and a Course Director

for the Master’s Program in Quality.

       4.      I am board-certified with the American Board of Internal Medicine.
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       5.      I have practiced medicine as a primary care physician since 1976 and continue to

see patients at Brigham & Women’s Hospital (“BWH”).

       6.      At BWH, I am the Associate Director of the Center for Patient Safety Research and

Practice and Co-Chair of the Ambulatory Morbidity and Mortality (“M&M”) Primary Care

Conference.

       7.      I have a Doctor of Medicine degree from Rush Medical College and a Bachelor of

Science degree from Tufts University where I graduated magna cum laude.

       8.      I am licensed to practice medicine in the State of Massachusetts.

Career and Research

       9.      I have been working in quality improvement, patient safety, and health IT, as a

practitioner, teacher, researcher, institutional leader, and patient and policy advocate for more than

four decades. My main areas of interest and contribution have been in the areas of diagnosis and

medication errors and safety, health IT, primary care quality improvement, and patient advocacy.

       10.     Through my training and practice, I am very familiar with the prevailing medical

standards and protocols for patient safety and diagnostic safety. From 1976 to 2007, I worked at

Chicago’s Cook County Hospital, where I was Chair of the Quality Assurance/Improvement

Committee, Medical Director of the General Medicine Clinic, Chair of the Drug and Formulary

Committee, and Rush Medical College/University, where I was a full Professor of Medicine.

       11.     In 2001, under a safety grant from AHRQ, I established the Cook County

Hospital/Rush-Presbyterian-St. Luke’s Diagnostic Error Evaluation and Research (“DEER”)

Developmental Center for Patient Safety Research (DCERPS). This center featured a series of

projects such as linking lab and pharmacy data to identify errors, a large case series of diagnostic

errors, and the development of the DEER taxonomy tool to classify errors.




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       12.     In 2005, I was the lead author on a paper that proposed the DEER taxonomy tool

for analyzing diagnostic errors. This framework centers on seven stages of the diagnosis process:

access/presentation, history taking/collection, the physical exam, testing, assessment, referral, and

follow-up. This framework is helpful for organizing discussions and targeting areas for

improvement and research. Specifically, the framework identifies what went wrong and where a

failure occurred in the diagnosis process. The DEER taxonomy tool has subsequently been widely

used, for dozens of diagnosis quality improvement and research studies and has currently been

cited 783 times according to Google Scholar.

       13.     In 2010, I received a grant from the Agency for Healthcare Research and Quality

(“AHRQ”) to launch the Proactive Reduction in Outpatient Malpractice: Improvement Safety

Efficiency and Satisfaction (“PROMISES”) project. The PROMISES project (2010–2013), for

which I was the primary investigator, sought to improve patient safety by redesigning systems and

care processes to combat medical and diagnostic errors and to reduce malpractice risk. PROMISES

was a randomized controlled trial to test various interventions to improve safety in sixteen

Massachusetts primary care practices, and it demonstrated significant improvement in the

intervention practices (compared to the control usual care practices).

       14.     In 2015, the U.S. Institute of Medicine, now the National Academy of Medicine,

released Improving Diagnosis in Health Care, a landmark report which was supported by AHRQ.

I was invited as an expert on diagnostic errors to offer testimony for the report on diagnosis safety

and improvement. I was also one of seventeen expert reviewers for the report. The chapter on an

overview of diagnostic error in health care featured the DEER taxonomy tool.

       15.     In early 2017, I was the Principal Investigator leading the team that established the

Primary-Care Research in Diagnostic Errors (“PRIDE”) Learning Network, a multidisciplinary




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group of patient safety organizations working to study and improve diagnoses. This project was

supported by a grant from the Gordon and Betty Moore Foundation to address the challenge of

diagnostic errors. The PRIDE Learning Network was a collaboration between the BWH Center for

Patient Safety Research and Practice and the Commonwealth of Massachusetts Department of

Public Health Betsy Lehman Center for Patient Safety.

        16.     Through the PRIDE Learning Network, my colleagues and I collected and shared

lessons from diagnostic error cases, conducted innovative research to improve primary care practice,

and advanced diagnostic strategies, eight of which we subsequently published on AHRQ’s Patient

Safety Network (“PSNet”) WebM&M Case Studies series.

        17.     From 2018 to 2020, I served on AHRQ’s Diagnostic Safety Technical Expert Panel.

I have served on ten other panels at AHRQ relating to patient safety and diagnostic error. Since

2022, I have served on the AHRQ steering committee for the Achieving Diagnostic Excellence

through Prevention and Teamwork (“ADEPT”) project.

        18.     I am one of the principal investigators for a current project to create a Diagnostic

Center for Excellence at BWH with the University of Washington, to bring together the two fields

of diagnostic improvement with communication and resolution programs.

        19.     I was a founding member of the Society to Improve Diagnosis in Medicine and a

member of the American Public Health Association (“APHA”), where I was a founding member of

the Medical Care Section Quality Improvement Committee. I am a past Chair of the APHA Medical

Care Section. I am also a member of the Society of General Internal Medicine and the American

College of Physicians.

        20.     I have authored over two hundred peer-reviewed publications in print and other

media, including research studies, reviews, chapters, monographs, and editorials. I have served as




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a journal peer reviewer for more than 20 medical journals, and I am the chair of the editorial board

of Medical Care. I am the author of a chapter (Chapter 9, 21st Edition) in the prestigious Harrison’s

Principles of Internal Medicine textbook, entitled “Diagnosis: Reducing Errors and Improving

Quality.”

        21.     Through these projects and others, I have helped advance understanding,

classification, and prevention of diagnostic errors, building on the development of the widely used

DEER taxonomy for classifying where in the diagnostic process errors occur.

        22.     A true and correct copy of my curriculum vita is attached as Exhibit 1.

Publications on WebM&M and PSNet

        23.     I am the author, co-author, or editor of eleven papers for the WebM&M Case

Studies series, which have been published on PSNet.

        24.     The PRIDE Learning Network has published eight papers for WebM&M Case

Studies on PSNet.

        25.     To my knowledge, all or nearly all papers on WebM&M Case Studies, and the vast

majority of content on PSNet, are authored by doctors that are not affiliated with AHRQ.

        26.     To my knowledge, AHRQ had never removed a paper published on WebM&M

Case Studies before January 2025.

Drafting and Publication of Suicide Risk Assessment

        27.     One of the papers I co-authored, titled “Multiple Missed Opportunities for Suicide

Risk Assessment in Emergency and Primary Care Settings” (“Suicide Risk Assessment”), is a

commentary for the WebM&M Case Studies series, originally published on PSNet on January 7,

2022. Attached as Exhibit 2 is a true and correct copy of Suicide Risk Assessment.




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       28.     The underlying case involved a young man who sought emergency care for suicidal

ideation but was discharged several times, until a more serious suicide emergency that led to his

involuntary psychiatric hospitalization.

       29.     In our commentary on that case, my co-authors and I highlighted the challenge of

assessing imminent suicide and making diagnostic decisions. The main thrust of our analysis was

that improving suicide prevention requires a multifaceted approach, which includes better

screening tools, risk factor identification, proactive interventions, and treatment of underlying

mental health disorders.

       30.     Our goal in writing the commentary was to help health care providers better

confront the unique and serious challenges of assessing and managing patients who are at risk of

suicide.

       31.     My co-authors and I submitted our initial draft of Suicide Risk Assessment to the

WebM&M Case Studies series on or around September 2, 2021. The Editorial Team accepted the

proposed commentary with suggested revisions.

       32.     Between September 2, 2021, and November 19, 2021, my co-authors and I

produced nine drafts of Suicide Risk Assessment. These successive drafts and revisions were and

are typical for the iterative peer review process.

       33.     In the second draft, dated September 25, 2021, we added the following language:

“High risk groups include male sex, veterans, Indigenous tribes, Lesbian, gay, bisexual,

transgender, queer/questioning (LGBTQ) as well as more obvious populations such as those with

serious mental illness, prior suicide attempts, ideation/attempts, alcohol or substance use, serious

recent illness or emotional distress trauma or loss, history of recent trauma or loss.” In support of

that proposition, we cited an article in JAMA, the world’s most widely circulated medical journal.




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Attached as Exhibit 3 is a true and correct copy of an excerpted page from the second draft of

Suicide Risk Assessment, containing that language.

        34.    Prior to publication, one of my co-authors separated that sentence into two

sentences and added “suicidal ideation” and “being young” to the list of risk factors. The language

in the final draft reads, “High risk groups include male sex, being young, veterans, Indigenous

tribes, lesbian, gay, bisexual, transgender, queer/questioning (LGBTQ).” See Exhibit 2.

        35.    At no time in the editorial process did PSNet’s Editorial Team—or any other

AHRQ staff reviewing the drafts—suggest this language was scientifically inaccurate, not

germane to the case study, or otherwise outside the bounds of PSNet’s selection or publication

criteria.

        36.    Far from casting doubt on their veracity and relevance, AHRQ staff sought

elaboration on the cited risk factors. On November 17, 2021, a medical officer in AHRQ’s Center

for Quality Improvement and Patient Safety left a comment asking, “Is there a recommendation

that these higher risk individuals be automatically screened?” Attached as Exhibit 4 is a true and

correct copy of an excerpted page from the draft, which includes this comment.

        37.    In response, on November 24, 2021, I added a sentence noting a recommendation

that “all patients with behavioral health risk factors receive screening.” Attached as Exhibit 5 is a

true and correct copy of an excerpted page from the draft, which includes this new sentence.

        38.    AHRQ staff did not ask any further questions about this language referencing high

risk groups.

        39.    In the published version of Suicide Risk Assessment, in a section on

recommendations to improve patient safety, we noted that “[h]igh risk groups include male sex,




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being young, veterans, Indigenous tribes, lesbian, gay, bisexual, transgender, queer/questioning

(LGBTQ).” See Exhibit 2.

       40.     The commentary ended with a prominent standard disclaimer, apparently added by

AHRQ, that says “The authors are solely responsible for this report’s contents, findings, and

conclusions, which do not necessarily represent the views of AHRQ.”

Removal of Suicide Risk Assessment

       41.     On January 31, 2025, I received an email from Dr. Patrick Romano, who is the Co-

Editor-in-Chief at PSNet. In this email, Dr. Romano informed me that Suicide Risk Assessment

had been removed from PSNet due to a perception that it inculcates or promotes “gender ideology.”

A true and correct copy of Dr. Romano’s January 31, 2025, email to me is attached as Exhibit 6.

       42.     In this email, Dr. Romano attached a memorandum from the U.S. Office of

Personnel Management. A true and correct copy of that attachment is attached here as Exhibit 7.

       43.     Hours later, I shared the email with my colleagues at Harvard and professional

organizations to ask for their help in overturning this act of censorship and returning our

commentary to PSNet. A true and correct copy of my email is attached as Exhibit 6.

       44.     Later that day, one of the email’s recipients, the Editor-in-Chief of the Bellevue

Literary Review, replied to ask Dr. Romano, “can you share with me how exactly this transpired?

Who contacted you? What was the process? How did they find this case study?” A true and correct

copy of that email is attached as Exhibit 6.

       45.     On February 1, 2025, I received another email from Dr. Romano. He again

explained that AHRQ staff were required to “[t]ake down all outward-facing media . . . that

inculcate or promote gender ideology.” He said that guidance provided to AHRQ staff instructed

them to remove “anything with the words ‘transgender,’ ‘nonbinary,’ or ‘gender identity.’” He




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added that “[t]he phrase ‘LGBTQ’ is problematic because it includes the letter T for ‘transgender.’”

He stated “AHRQ staff identified the relevant items (using ordinary search tools).” He explained

that “[t]he total impact was to remove” about twenty pieces on PSNet, which included Suicide Risk

Assessment as well as a second PRIDE WebM&M piece, Endometriosis Commentary, for which

I provided editorial support. A true and correct copy of Dr. Romano’s February 1, 2025, email to

me is attached as Exhibit 6.

       46.       On February 6, Dr. Romano emailed my co-authors and me, as well as Dr. Celeste

Royce and her respective co-author on the Endometriosis Commentary, that AHRQ could

republish censored versions of our pieces on the “non-negotiable” condition of the “removal of the

problematic words—i.e., the words ‘transgender’ and ‘LGBTQ.’” Dr. Romano identified the

“problematic words” that triggered the removal of Suicide Risk Assessment as “three words from

a list of risk factors for suicide,” including “transgender” and “LGBTQ.” A true and correct copy

of Dr. Romano’s February 6, 2025, email is attached as Exhibit 8.

       47.       I responded to this offer by emphasizing that removing the “offending words”

would be unethical because it would require us to remove peer-reviewed, evidence-based

information. I believed then, and believe now, that it is irresponsible to censor truth and replace it

with nontruth. A true and correct copy of my email is attached as Exhibit 8.

Consequences of the Government’s Removal of Suicide Risk Assessment

       48.       I have listed Suicide Risk Assessment as a peer-reviewed publication on my CV.

See Exhibit 1.

       49.       If my commentary remains removed from PSNet, I will have to remove this

accomplishment from my CV or seek to republish the commentary somewhere less prestigious




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and update my CV accordingly. However, it is unclear where I could republish my commentary

even if I undertake the effort to do so, given the unique nature of AHRQ’s Case Studies series.

       50.     PSNet is a major publication in the patient-safety academic field because it has a

wide readership and is known for publishing high-quality articles that practitioners and patients

can rely on. It is widely considered the premier patient-safety website in the United States and

internationally. The removal of the article has deprived me of a placement in the premier patient-

safety publication and the opportunity to be credited for the commentary through a citation in

future research. I will also need to revise my CV to remove this commentary from my publications.

       51.     At HMS, I am in the process of seeking promotion from Associate Professor to Full

Professor. My record of publication in well-regarded forums such as PSNet directly factors into

consideration for promotions.

       52.     In the future, I had expected I would be invited to write commentaries for AHRQ’s

Case Studies series for publication on PSNet. However, given the Trump Administration’s

ongoing censorship of terms that “promote or inculcate” what it deems to be “gender ideology,”

my ability to offer a full commentary and views on medical cases will be restricted. Moreover,

none of the Defendants have produced a full list of terms that will trigger their removal of PSNet

articles. To avoid the censorship and removal of my future commentaries, I will need to steer clear

of expressing my views related to gender and its connection to patient safety—regardless of how

much evidence and expertise might inform those views.

       53.     The success of the study of patient safety hinges on preserving the free exchange

of ideas, scientific integrity, and evidence-based inquiry. These same objectives are central to

PSNet and the WebM&M Case Studies series.




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        54.     The removal and censorship of this article has a chilling and intimidating effect,

both on the academic and research community as well as the transgender patients we care

for. Academic researchers have been intimidated or threatened with the removal of grant funds—

some projects have actually been terminated due to use of these “banned” terms and concepts. This

removal of articles has a chilling effect on science and free academic expression, as well as my

ability as a clinician to care for patients. For the patients, this act of censorship that singles out and

stigmatizes certain groups is discriminatory and harmful. It means that such patients may not be

recognized as having a risk factor (for suicide, or endometriosis) which will impair the quality of

their diagnosis and safety.

        55.     When such political censorship as this occurs, it compromises the integrity and

trustworthiness of a previously trusted patient safety resource, PSNet.

        56.     In my four decades as a practitioner, teacher, researcher, institutional leader, and

advocate, I have never before now encountered an effort by the government to stifle the exchange

of ideas in the field of patient safety or academic publication.




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              EXHIBIT 1
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                                 Harvard Medical School
                                   Curriculum Vitae


 Date Prepared:             2/5/2025
 Name:                     Gordon D. Schiff
 Office Address:           Division of General Internal Medicine

                           Boston, MA 02120-1613
 Home Address:


 Work Phone:
 Mobile Phone
 Work Email:
 Work FAX:                 (617) 732-7072

 Place of Birth:           Chicago, IL


Education

 1972              BS                       Biology                Tufts University
                   magna cum laude                                 Medford, MA
 1976              MD                       Medicine               Rush Medical College,
                                                                   Chicago, IL

Postdoctoral Training

 07/76-06/77       Categorical Medical      Medicine               Cook County Hospital,
                   Internship                                      Chicago, IL
 07/77-06/80       Medical Residency        Medicine               Cook County Hospital
 07/80-07/81       Medical Chief            Medicine               Cook County Hospital
                   Resident

Faculty Academic Appointments

 01/00-05/05       Associate Professor      Medicine               Rush Medical College
 06/06-01/08       Professor                Medicine               Rush Medical College
 12/07-02/08       Lecturer                 Medicine               Harvard Medical School
                                                                   (HMS), Boston, MA
 03/08-            Associate Professor      Medicine               HMS
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Appointments at Hospitals/Affiliated Institutions

 08/81-05/87      Attending Physician      Medicine               Cook County Hospital
 06/87-06/08      Senior Attending         Medicine               Cook County Hospital
                  Physician
 12/07-           Associate Physician      General Internal       Brigham and Women’s
                                           Medicine and           Hospital (BWH), Boston,
                                           Primary Care           MA

Major Administrative Leadership Positions

Local

 1987-1996     Director, Fantus General Medicine Clinic    Cook County Hospital
 1996-2007     Director, Department of Medicine Clinical   Cook County Hospital
               Quality Research & Improvement
 2007-         Associate Director, Center for Patient      BWH
               Safety Research and Practice
 2010-         Chair, Brigham Network Ambulatory           BWH
               Morbidity and Mortality (M&M)
               Conference, Primary Care Conference
 2012-         Assistant Course Director HMS-CRICO         HMS
               Best Medical Practice Maximizing Skills,
               Minimizing Risk course
 2014-2016     Safety Science Director, Center for Primary HMS
               Care Academic Improvement Collaborative,
               Center for Primary Care
 2016-         Quality and Safety Director, Center for     HMS
               Primary Care
 2018-         Course Director for the HMS Master’s        HMS
               Program in Quality. Special Safety Topics
               course. MHQS 706.

Regional

 1991-1993     Course Co-Director, Field Projects             Inventor's Council
                                                              University of Illinois at
                                                              Chicago Graduate School
                                                              of Industrial Design
 2010-2013     Director, Consortium for Patient Safety and    Massachusetts Department of
               Medical Malpractice                            Public Health, Boston, MA

Committee Service

Local




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1976-1978    Chair/Developer, Committee on              Cook County Hospital
             Department of Medicine History and
             Physical Form Implementation
1977-1980    Design and Implementation of Computer      Cook County Hospital
             Assisted Patient Summary. Housestaff
             representative
1983-1987    Coordinator, Adverse Drug Reaction (ADR)   Cook County Hospital
             program
1983-2007    Drug and Formulary (P&T) Committee         Cook County Hospital
             1983-2000                                  Member
             2000-2004                                  Associate Chair
             2005-2007                                  Chair
1985-1992    Chair, Executive Medical Staff Quality     Cook County Hospital
             Assurance Committee
1985-1993,   Executive Medical Staff                    Cook County Hospital
2001-2007    1985-1993, 2001-2007                       Department of Medicine
                                                        representative
             1989-1993                                  Officer (Treasurer)
1985-2007    Department of Medicine representative,     Cook County Hospital
             Hospital-wide Quality Assurance/Quality
             Improvement Committee
1989-2007    Clinical Oversight Committee               Cook County Hospital,
                                                        Department of Medicine
1991-2007    Chair, Drug Utilization Evaluation         Cook County Hospital
             Committee
1991-2007    Chair, Drug Utilization Review Program     Cook County Hospital
1992-1998    Quality Assurance/Quality Improvement      Cook County Hospital
             Committee
             1992, 1994, 1996, 1998                     Committee Chair
1993-1997    CEO’s Fantus Clinic Redesign Liaison       Cook County Hospital
             Committee
1993-2007    Anti-Infective Committee                   Cook County Hospital
1995         Cook County Bureau of Health Services      Cook County Hospital
             Clinical Council, Subcommittee on
             Ambulatory Information Systems
1995         Founding Member, Rush/Cook County          Cook County Hospital
             Hospital Research Affiliation Committee,
             Mission and Priorities Subcommittee
1995-2000    Chair, Hospital-wide Multidisciplinary     Cook County Hospital
             Quality Improvement Teams
             (Alcohol Withdrawal, Cholecystectomy
             Surgery Care, Congestive Heart Failure)
1996-1998    Cook County Bureau of Health Services      Cook County Hospital
             Managed Care Quality and Utilization
             Review, Steering Committee
1996-2007    Rush–Cook County Research Committee        Cook County Hospital



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1997-1998   Cook County Bureau of Health Services        Cook County Hospital
            Information Task Force
1998-2004   Chicago Antibiotic Resistance Project        Cook County / Rush Medical
            (CARP) (CDC funding Project)                 College / Oak Forest Hospital /
                                                         Provident Hospital, Chicago IL
            1998-2004                                    Quality Improvement (QI)
                                                         Consultant
            1998-2004                                    Member, Information
                                                         Management Steering
                                                         Committee
1998-2004   Laboratory Steering Subcommittee             Cook County Hospital
1999        Cook County Bureau of Health Services        Cook County Hospital
            Physician Order-Entry Implementation
            Steering Committee
1999-2002   Co-Convener, Hospital-wide Medication        Cook County Hospital
            Errors Committee
1999-2007   Founding Member, Rush-Cook County            Rush University/Cook County
            Section of Medical Informatics               Hospital, Chicago, IL
            1999-2007                                    Founding Member
2000        Chair, Executive Medical Staff Ad Hoc        Cook County Hospital
            Informatics Systems Committee
2001-2002   Pharmacy Services Improvement Taskforce      Cook County Hospital
2001-2004   Cook County Bureau of Health Services        Cook County Hospital
            Cerner Health Information System (HIS)
            Implementation Committee: for new HIS
            Computer System Implementation
            2001-2002                                    Member, Clinical Core
                                                         Selection Committee
            2002-2004                                    Member, Clinical Rules/Alert
                                                         Committee
2001-2004   Lead physician, Cerner Mobile Millennium     Cook County Hospital
            Project
2003        Team Leader, Failure Modes Effects and       Cook County Hospital
            Analysis Project: Warfarin Lab Results
            Medication Improvement
2003-2007   Founding member; Representative Cook         Rush Medical College-Cook
            County Hospital, Division of General         County Stroger Hospital,
            Medicine Social Medicine Section             Chicago IL.

2003-2007   Physician member/representative, Cook        Cook County Hospital
            County Bureau of Health Services Health
            Insurance Portability and Accountability
            Act (HIPAA) Steering Committee
2003-2007   Cook County Bureau of Health Services        Cook County Hospital
            Bureau-wide Formulary Committee




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2004         Search Committee for Department of            Cook County Hospital
             Emergency Medicine Chair
2004         Medication Management Standards               Cook County Hospital
             Taskforce
2004-2006    Cook County Bureau of Health Services         Cook County Hospital
             Pharmacy Special Taskforce
2005         Co-Chair, Cook County Bureau of Health        Cook County Hospital
             Services Quality Outpatient Pharmacy
             Improvement Task Force
2008 -2011   Communicating Clinically Significant Test     Partners HealthCare System
             Results Steering Committee                    (PHS), Boston, MA
2008-2011    Communicating Clinically Significant Test     PHS
             Results Task Force Clinicians’ Committee
2008 -2013   Acute Care Documentation (ACD) Project        BWH
             Clinical Content Committee
2008-        Pharmacy and Therapeutics (P&T)               BWH
             Committee
2009-2016    Chair. Ambulatory Risk Management             CRICO Harvard Risk
             Leader Group                                  Management Foundation,
                                                           Boston, MA
2013-2015    Interview Committee. Biomedical               BWH
             Informatics Training Programs (BIRT)
2014         Selection Committee for Biomedical            BWH
             Informatics Research Trainees, Division of
             General Internal Medicine and Primary
             Care
2014         e-Care Clinical Decision Support (CDS)        BWH
             Taskforce
2014-2017    e-Care CDS Taskforce                          PHS
2015         Health Information Technology (HIT)           CRICO Harvard Risk
             taxonomy codes development technical          Management Foundation
             working group
2018-        PCP Safety Net Advisory Committee             BWH
2018-        EHRLL (AHRQ Learning Lab) Steering            BWH
             Committee Representative, Opioid Task
             Force, Phyllis Jen Center
2019-2020    Primary Care Management of Non-Face-to-       CRICO Harvard Risk
             Face Work Task Force                          Management Foundation
2021-        Primary Care Equitable Patient Care           BWH
             Change Group

Regional

2006         State of Illinois Governor’s Patient Safety   University of Illinois at Chicago,
             Summit                                        Chicago, IL




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2015-        Representative from HMS Center for            Massachusetts Coalition for the
             Primary Care                                  Prevention of Medical Errors,
                                                           Burlington, MA
2018         Vanessa Merker PhD Committee.                 BU & MGH
             Understanding the Diagnostic Process in a     PhD Thesis Advisor, Committee
             Rare, Genetic Disease: A Mixed Methods        Member.
             Study of Schwannomatosis. Study of
             diagnostic errors and delays
2018-2019    Medication Overload Project, Advisory         Lown Institute
             Committee                                     Panel Member
2020-        Advisory Committee to Research                Betsy Lehman Center for Patient
             Committee                                     Safety, Boston, MA

National

1989         Panel on Ambulatory Review                    Wisconsin Peer Review
                                                           Organization, Madison WI
1993-1994    Review Panel on Cost Sharing and Health       U.S. Office of Technology
             Reform                                        Assessment, Washington, DC
1996         National Steering Committee writing           Agency for Health Care Policy
             committee for consumer education brochure     and Research (AHCPR),
             Prescription Medicine and You:                National Council for Patient
             A Consumer Guide                              Information and Education
                                                           (NCPIE) Washington DC
1999-2000    Expert Technical Panel, Study of Clinically   Health Care Financing
             Relevant Indicators for Pharmacology          Administration (HCFA),
             Therapy (SCRIPT)                              Washington DC
                                                           and Joint Commission on
                                                           Accreditation of Healthcare
                                                           Organizations Oak Brook IL
2002         Invited expert panelist, Improving Medical    US Food and Drug
             Device Safety-Supporting Resilience and       Administration (FDA),
             Innovation in Healthcare Organizations        Rockville MD, and University of
                                                           Chicago Developmental Center
                                                           for Research in Patient Safety
                                                           (DCERPS), Chicago IL.
2002-2003    Ambulatory Computerized Provider Order        PHS
             Entry (CPOE) Center for Information
             Technology Leadership Expert Panel
2002-2003    National Clinician Initiative Work Group      The Leapfrog Group,
                                                           Washington, DC
2002-2005    Expert Advisory Committee for the             The Leapfrog Group
             Leapfrog Patient Safety CPOE Standards
             and Evaluation Tool
2003         Faculty Consultant/Expert Reviewer,           CMS, Baltimore, MD
             Patient Safety Learning Pilots: Centers for



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            Medicare and Medicaid Services
            (CMS)/Quality Improvement Organizations
            (QIO) Learning Session #2
2003        Model Development Survey Panel to study      Center for Health Systems
            information system technology adoption       Research & Analysis, University
                                                         of Wisconsin, Madison WI
2003        Developing a National Action Agenda          National Health Information
            Steering Committee, Quality and Safety       Infrastructure, Washington, DC
            Track
2006-2007   RAND National Patient Safety Indicator       RAND Corporation, Santa
            Measurement Delphi Panel                     Monica, CA
2006        Robert Wood Johnson (RWJ) Leading            Disparities Solutions Center,
            Change Disparities Solutions Initiative      Partners MGH Institute for
            Advisory Board                               Health Policy,
                                                         Boston, MA
2007        ASHP Statement on the Role of Health-        American Society for Health
            System Pharmacists in Public Health          System Pharmacists (ASHP)
            Review Committee
2007-2008   Physician Practice Safety Self-Assessment    Health Research and Educational
            Pathways for Patient Safety Tool             Trust (HRET), Institute for Safe
            Development Expert Committee                 Medical Practice (ISMP), and
                                                         Medical Group Management
                                                         Association (MGMA)
2007-2009   Consultant, Closing the Feedback Loop to     University of Alabama
            Improve Diagnostic Quality
2008        Expert Panel, Prioritizing Patient Safety    Agency for Healthcare Research
            Outcomes Measures: Results of an Expert      and Quality (AHRQ),
            Consensus- working paper. WR-601-AHRQ        Washington, DC
2008        Invited Expert Panel, “Defining Continuous   AHRQ
            Quality Improvement (CQI) in Health
            Care”. AHRQ Evidence Review for Quality
            Improvement project.
2008        Invited expert. Brookings Forum Meeting      Brookings Institution
            on Post-Market Evidence                      Washington, D.C.
2008        Expert Panel. Trigger and Targeted Injury    AHRQ
            Detection Systems
2009-2011   Technical Assistance Panel, AHRQ             McMaster University, Hamilton
            Evidence Report on Medication                Ontario
            Management Systems and Health
            Information Technology
2008-       Center for Education and Research in         AHRQ
            Therapeutics (CERT) National Steering
            Committee
2009        Invited expert participant. Comparative      AHRQ
            Effectiveness Research Method Symposium




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2009        Technical Expert Panel, The Patient Safety     AHRQ
            Education Project (PSEP)- Patient Safety
            Education in nursing homes Project.
2010        Evaluation of Primary Care Practice            Commonwealth Fund
            Transformation Efforts, Patient Centered
            Medical Home (PCMH) Process/
            Implementation Evaluation Working Group
2010-2011   Key contributor, Educational Module:           National Patient Safety
            Reducing Diagnostic Errors (electronic and     Foundation, Boston, MA
            paper versions).
2010-2013   Data Safety Monitoring Board                   “Using Novel Canadian
                                                           Resources to Improve
                                                           Medication Reconciliation at
                                                           Discharge” study (Robyn
                                                           Tamblyn PI)
2011-2012   Technical Advisory Panel, Proactive Risk       AHRQ
            Assessment During the Clinical Laboratory
            Testing Process to Reduce Diagnostic Error
2013-2016   Expert Advisory Board, Patient Safety          Veterans Administration,
            Center of Inquiry (PSCI)                       Washington, DC
            on Measurement to Advance Patient Safety
            (MAPS)
2014        Strategic Priorities Expert Panel,             IHI
            Continuum of Care Safety
2014        Invited Participant, CERT Promoting            AHRQ
            Appropriate Medication Use: A
            Collaborative Strategy Symposium
2014        Invited expert testimony and reviewer,         Institute of Medicine,
            Committee on Diagnostic Errors in              Washington, DC
            Medicine
2014-2015   Taskforce member, Teamwork Working             National Cancer Institute /
            Group                                          American Society of Clinical
                                                           Oncology. Alexandria, VA
2015        Expert reviewer, Technical Brief, Patient      AHRQ
            Safety in Ambulatory Settings                  Co-author, key informant
2016        Advisory Board, Curriculum on Diagnostic       Kaiser Permanente School of
            Reliability                                    Medicine
2017        Pragmatic Insights on Patient Safety           AHRQ
            Priorities and Intervention Strategies in
            Ambulatory Settings. Technical Brief
            DOI:
            http://dx.doi.org/10.1016/j.jcjq.2017.06.009
2017        Expert Interviewee, Study of the Benefits of   Office of the Assistant Secretary
            Interoperable Health Information Exchange      for Planning and Evaluation
            Interoperable Exchange of Health               (ASPE), U.S. Department of
            Information (IEHI)                             Health and Human Services /



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                                                         Urban Institute
2017-2019   Member: Technical Advisory Group.            AHRQ
            Volume I: Technical Proposal Published
            7/13/17 Making Health Care Safer III
            Project/Contract Abt RFTOP Number 17-
            233-SOL-00463
2018        Consultant on report and redesign of         Pennsylvania Patient Safety
            Diagnostic Error coding taxonomy, PA-        Authority
            PSRS Event Analysis
2018        Expert panelist, Thought Leader Feedback     US Pharmacopeia
            Session
2018        Symposium Expert Panelist, Achieving a       Moore Foundation, Ann Arbor,
            Learning Health System for Diagnostic        MI
            Excellence: Toward a Learning System for
            Improving Diagnosis & Facilitator for
            Stroke Diagnosis Group, Design of
            Prototypical Learning Cycle
2018        Consultant and Presenter on Clinical         International Society for Quality
            Documentation, Specialist Certificate        in Health Care (ISQua)
            Program “Using Health Information
            Technology (HIT) to improve healthcare
            quality & safety”
2018-2019   Expert panelist for Diagnostic Error         Centers for Disease Control and
            Scoping Review (DEScR) Project, Division     Prevention
            of Laboratory Systems (DLS), CSELS
2018-2020   Diagnostic Safety Technical Expert Panel,    AHRQ
            Medical Office Surveys on Patient Safety
            Culture™ (SOPS™), Safety Culture
            Survey: Diagnostic Safety Supplemental
            Items for Medical Offices
2019        Research Advisory Board                      “Exploring and Addressing
                                                         Diagnostic Error Disparities
                                                         Related to Cognitive Reasoning
                                                         Pitfalls” study / Society for
                                                         Improvement of Diagnosis in
                                                         Medicine
2020        Invited Participant, Summit and Roundtable   AHRQ
            on Research Priorities for Patient Safety
            Improvement
2020-2021   Member of research team                      “Learning While We Build:
                                                         Identifying the Must-Know
                                                         Research Questions for Safe and
                                                         Effective Telediagnosis Multi-
                                                         Stakeholder Effort to Issue
                                                         Research Recommendations”
                                                         study / PCORI / Society to



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                                                            Improve Diagnosis in Medicine
 2020-2022      Expert Panel (recommendations published     “Development of a Metric to
                in JAMA Netw Open 2022;5(2):e2148599)       Detect and Decrease Low-Value
                                                            Prescribing in Older Adults”
                                                            study
 2020-2021      Tool Development Committee, Common          AHRQ
                Formats (for Diagnosis Error Structured
                Reporting) / Site PI for Medstar
                development and testing project
 2021           Diagnostic Disparities Project Review Panel Society to Improve Diagnosis in
                                                            Medicine & Coverys
                                                            Community Healthcare
                                                            Foundation
 2021-2022      Technical Advisory Committee, Composite Yale School of Medicine /
                Measure of Diagnostic Performance for       Gordon and Betty More
                Pulmonary Embolism (John Sather PI)         Foundation Diagnostic
                                                            Excellence Initiative
 2021           Panelist, Telemedicine Roundtable           AHRQ
 2022-2024      Advisory Committee. Pediatric Dx            CRICO Funded Project
                Uncertainty Project. (Tina Cifra MD PI)
 2022-2026      Steering Committee. Achieving Diagnostic AHRQ
                Excellence through Prevention and
                Teamwork (ADEPT). Auerbach PI
 2024           ABIM Foundation Medical Debt-               ABIM
                Convening panel meeting. Invited expert
                participant. 6/10/2024

International

 2016           PhD Thesis advisor/reviewer Anna-Riia       University of Helsinki
                Holmström, the. Medication Safety PhD
 2018-2021      Global Digital Exemplar (GDE)               National Health Service, UK
                Independent Evaluation Advisory/Steering
                Committee
 2019           Expert Panel Member, Centre for Health      Australia Centre of Research
                Systems and Safety Research. Australian     Excellence in Diagnostic
                Institute of Health Innovation. Andrew      Informatics (CREDI)
                Georgiou PI.

Professional Societies

 1980-          American Public Health Association
                (APHA)
                1980-                                       Member
                1992-                                       Member, Drug Policy
                                                            Committee



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            1993-                                       Founding member, Quality
                                                        Improvement Committee (QIC)
            1995, 1997, 2003-                           Annual Meeting Abstract
                                                        Reviewer
            1996-1999                                   Chair, Quality Improvement
                                                        Committee
            1997-2000                                   Medical Care Section Counselor
            1999-                                       Founder, Chair, Avedis
                                                        Donabedian Quality Award
                                                        Committee
            2003-                                       Annual Meeting Abstract
                                                        Reviewer
            2004-2006                                   Medical Care Section Chair-
                                                        Elect
            2005-2007                                   Medical Care Section Chair
            2008-2010                                   Immediate Past Chair; APHA
                                                        Intersectional Council
                                                        representative
1984-       Society of General Internal Medicine
            (SGIM)
            1984-                                       Member
            1985-1992                                   Abstract reviewer
            1990-1991                                   Midwest meeting workshop
                                                        coordinator
            1991-1992                                   Midwest meeting interest group
                                                        leader/ convener
            1991-1998                                   Institutional representative, for
                                                        Cook County Hospital
            1995-1998                                   Member, SGIM research
                                                        committee
            1999, 2001                                  Nominee, President Midwest
                                                        SGIM
            2002-2007, 2009, 2011                       Judge, for Lipkin & Hamolsky
                                                        Student Awards committee
            2002                                        Meeting Meet-the-Professor,
                                                        SGIM Annual Meeting
            2003                                        Chair, Annual Meeting Health
                                                        Policy Workshop Reviewer
                                                        Committee
            2003                                        Faculty, One-on-One Mentoring
                                                        program national SGIM meeting
            2003-2005                                   Member, Herbert W. Nickens
                                                        Award Committee
            2009                                        Judge New England Region
1984-2010   Society for Medical Decision-Making
            1984-2010                                   Member



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            1989-1991                                     Organizer, Co-Chair of Chicago
                                                          Chapter
1985-1997   International Society of                      Member
            Pharmacoepidemiology

1985-2008   United States Pharmacopeial Convention
            1985-                                         Expert panel member
            1985, 1990, 1995                              Member Committee of Revision,
                                                          Official at-large delegate for
                                                          United States
            1985-2000                                     Member, Consumer Inter-
                                                          est/Health Education Panel
            1990-2000                                     Committee Chair, Consumer
                                                          Interest/Health Education Panel
            1990-2000                                     Member, Committee of Revision
            1990-2000                                     Member, Drug Information
                                                          Division (DID) Executive
                                                          Committee
            1995-2000                                     Committee Chair, Consumer
                                                          Interest/ Health Education Panel
            1996                                          Convener, USP High Tech IT
                                                          Working Group
            2000-2005                                     Member, Safe Medication Use
                                                          (SMU) Expert Committee
            2000-2005                                     Member,
                                                          MedMARX/Medication Error
                                                          Reporting System: Data
                                                          Analysis Working Group
            2006-2010                                     Member, Medication Error Data
                                                          Analysis Expert Panel
1986-2003   Association for Heath Services Research
1989-       Physicians for a National Health Program
            1989                                          Founding member
            1991-                                         National Board member
            1994-1995                                     National President
            2003-2017                                     Speaker, at annual national
                                                          leadership development training
                                                          sessions
1989-       Alliance for the Prudent Use of Antibiotics
1991-       American College of Physicians
            1999-2006                                     Member, Illinois Region Public
                                                          Policy Committee
1993-2006   American College of Medical Quality
1995-2002   American Diabetes Association
1996-       International Society for Quality in Health
            Care



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 1997-2007    Chicago Area Third Wave Group              Member
 1997-        American Medical Informatics Association
              2003,2004, 2006-2007, 2011                 Abstract reviewer
              2006                                       Member National meeting
                                                         Scientific Program Committee
                                                         for Applications of Informatics
                                                         Track
              2008                                       Review of papers for the AMIA
              2008                                       Annual Symposium selected by
                                                         members of the Scientific
                                                         Program Committee (SPC)
              2019                                       Panel / Writing Committee,
                                                         AMIA Draft Group for
                                                         Response to the ONC / CMS
                                                         Health IT Burden Reduction
                                                         Report
 2005-2011    Healthcare Information and Management
              Systems Society (HIMSS)
              2007                                       Task force and writing
                                                         committee member: HIMSS
                                                         White Paper: EHR
                                                         Implementation in Ambulatory
                                                         care (white paper)
              2011                                       Clinical Decision Support
                                                         Workgroup and Task Force,
                                                         Clinical Decision Support
                                                         Guidebook Series
 2011-2024    Society to Improve Diagnosis in Medicine
              2011                                       Founding member

              2011-                                      Member, Research Steering
                                                         Committee Reviewer Abstracts
                                                         annual DEM Conference
              2015                                       Invited participant national
                                                         SIDM Board meeting
              2015-                                      Member, Quality Improvement
                                                         Committee
              2021                                       Project Advisory Team,
                                                         Improving TeleDiagnosis: A
                                                         Call to Action

Grant Review Activities

 1996-2007    Cook County Research Committee for         Cook County/Rush University
              Rush/Cook County Collaborative Research    Member
              Grant Program applications.



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1989        Panel on Ambulatory Review. Grant             Wisconsin Peer Review
            Review                                        Organization
                                                          Member
1993-1994   Review panel "Benefit Design in Health        Office of Technology
            Care Reform," OTA-BP-H-112.                   Assessment (OTA)
                                                          Reviewer
1999-2000   Theory and methods for minimizing drug        National Patient Safety
            name confusion errors                         Foundation
                                                          Reviewer
2003        Grant Review Study Section: Safety            National Institutes of Health
            Practices Implementation Challenge Grants     (NIH)/AHRQ
            (RFA HS-03-005).                              Reviewer
2003        Grant Peer Reviewer-Tahiti Project:           Kaiser Permanente Research
            Advancing Health Care Info Technology         Foundation
            Review Proposals.                             Reviewer
2004        Grant Review Study Section: Transforming      AHRQ/National Library of
            Healthcare Quality Through Information        Medicine (NLM)
            Technology (THQIT) Health Information         Reviewer
            Technology Resource Center (AHRQ-04-
            0016)
2004        Grant Review Study Section: Transforming      AHRQ/NLM
            Healthcare Quality Through Information        Reviewer
            Technology (THQIT) – Demonstrating the
            Value of Health Information Technology
            Grants. A-HS-04-012 (HITRC) Special
            Emphasis Review Panel
2005        Grant Review Committee, Pharmacy-             ASHP Research and Education
            Nursing Partnership for Medication Safety     Foundation
            Grant Program. Final Review                   Reviewer
2007        Special Emphasis Panel (SEP) for the          AHRQ
            Funding Opportunity Announcement              Reviewer
            (FOA), entitled, Ambulatory Care Patient
            Safety Proactive Risk Assessment.
            Rockville, MD. 5/21-5/22/07
2008        Grants Programme for Applied Research:        National Institute of Health
            Enhanced Patient Safety via Improving         Research, UK
            Diagnostic Accuracy in Primary Care.          Reviewer
            NIHR Program Grants for Applied
            Research
2008        Program Grants for Applied Research           UK National Institute of Health
            Research Full Stage                           Peer Reviewer
2018        reviewer Policy Research Program;             National Institute for Health
            Application PR-ST-01-1001 PRP(ST-01-          Research, National Health
            XX) Optimizing ePrescribing in Hospitals      Service, UK
                                                          Reviewer




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 2014, 2015,    Patient Safety Grants                        CRICO
 2016, 2017                                                  Reviewer
 2018           Policy Research Programme PR-ST-01-          National Health Service, UK
                10001 Optimizing ePrescribing in Hospitals   Reviewer
 2020, 2021,    DxQI Seed Grant Program, Moore               Society to Improve Diagnosis
 2022           Foundation grant project                     in Medicine (SIDM)
                                                             Review Committee Member

Editorial Activities

Ad hoc Reviewer (selected list)
Annals of Internal Medicine
Applied Clinical Informatics
BioMed Central (BMC) Medical Informatics and Decision Making
BMJ Quality and Safety in Health Care
BMJ Quality Open
Diagnosis
Health Affairs
International Journal Health of Services (IJHS)
Joint Commission Journal on Quality and Patient Safety
Journal of Clinical Informatics (JCI)
Journal of General Internal Medicine (JGIM)
Journal of Public Health Policy
Journal of the American Medical Informatics Association (JAMIA)
Journal of the American Medical Association (JAMA)
JAMA
JAMA Internal Medicine
JMIR Medical Informatics
Medical Care
New England Journal of Medicine (NEJM)
NEJM Catalyst
Journal of Patient Safety

Other Editorial Roles

1997               Guest Editor                     Institute for Healthcare Improvement
                                                    (IHI) Eye on Improvement Newsletter
1997-2011          Editorial Board                  Medical Care
1999-2001          Editorial Board                  IHI Eye on Improvement
1999-              Editorial Board                  Journal of Public Health Policy
2002               Review Board                     Yearbook of Medical Informatics
2003               Interim Editor                   Journal of Public Health Policy
2005               Guest editor, Special Issue on   Joint Commission Journal on Quality
                   Critical Test Results Management and Safety in Healthcare
2007-2014          Editorial Board                  Joint Commission Journal on Quality
                                                    and Safety in Healthcare



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2008                Guest Editor, Special Issue       Medical Care
                    Medical Care on Health Insurance
                    in the U.S.
2008-2011           Editorial Board                   Clinician-Consumer Health Advisory
                                                      Information Network (CHAIN) Online
                                                      –AHRQ CERTs educational,
                                                      informational, web-based resource
                                                      dissemination
2011-2012           Guest Co-Editor, Special Issue on Medical Care
                    Pharmaceutical Policy
2011-               Chair of Editorial Board          Medical Care
2013-               Editorial Advisory Board          BMJ Quality & Safety

2014                Reviewer                             Decide AHRQ Effective Health Care
                    "Chapter 1. Introduction to N-of-1   Program
                    Trials: Indications and Barriers"
                    (DECIDE-13-035)
2017                Academic Guest editor,               PLOS Medicine
                    Medication reconciliation
                    manuscript
2019-2023           Editor for PRIDE Cases (total 8 to   AHRQ PS Net website
                    date; Acute Renal Failure 2o BPH,    https://psnet.ahrq.gov/home
                    Colon Cancer, Spinal Epidural
                    Abscess, Endometriosis, Breast
                    Cancer, Suicide Risk) published
                    at AHRQ Web M&M

Book/Textbook Editorial Roles

2006                Book editor; author or co-author  Getting Results: Reliably
                    of five chapters.                 Communicating and Acting on
                                                      Critical Test Results. Oakbrook
                                                      Terrace, IL: Joint Commission
                                                      Resources; 2006
2013                Book Peer Reviewer (later invited Annemarie Jutel Goldstein and Kevin
                    to contribute chapter)            Dew, eds. Social Issues in Diagnosis:
                                                      An Introduction for Students and
                                                      Clinicians. Baltimore, MD: Johns
                                                      Hopkins University Press, 2014.

Honors and Prizes

 1989         Health Activist Award       Health Policy Advisory
                                          Center




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1994      Selected Interviewee     Mentors, Mastery and
          for 50 Leaders in        Technology Project. Training
          Medicine                 in Internal Medicine
                                   Kohrman, Anderson,
                                   Clements, editors.
2000      Top 10% Quality          Annals of Internal Medicine
          Reviewer
          Commendation
2001      Quentin D. Young         Physicians for a National
          Health Activist Award    Health Program
2002      Fellow                   Institute of Medicine of
                                   Chicago
2002      Special Leadership       Cook County Hospital           Leadership
          Recognition Award        Executive Medical (EMS)        in Committee to
                                   Staff                          Save Cook County
                                                                  Hospital’s advocacy
                                                                  role in building new
                                                                  Cook County
                                                                  Hospital
2004      Top 10% Quality          Annals of Internal Medicine
          Reviewer
          Commendation
2005      Chicago Patient Safety   Institute of Medicine of
          Leader of the Year       Chicago / Chicago Patient
          award                    Safety Forum / Otho Sprague
                                   Memorial Institute
2005      Soul of Medicine         Physicians for Social
          Award                    Responsibility
2006      1st Annual Advocacy      Midwest Society for General
          and Community            Internal Medicine (SGIM)
          Service Award
2006      30 People for the        Modern Healthcare.             Selected as one of
          Future                   Celebrating 30 years: the      30 national “leaders
                                   people                         who are likely to
                                                                  continue to shape
                                                                  health care in the
                                                                  years and decades
                                                                  ahead.”
2006      Lifetime Achievement     Institute for Safe Medical
          Award                    Practices (ISMP)
2008      Special service to the   Health and Medicine Policy
          community award          Research Group
2009      Partners in Excellence   Partners HealthCare            Member of
          Award                                                   communicating
                                                                  Critical Test Results
                                                                  Task Force.



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2010      Rx for Excellence        Massachusetts Medical Law
          Award                    Report 3rd Annual Leaders in
                                   Quality
2012      Partners in Excellence   Partners HealthCare            Understanding
          Team Award                                              Emergency
                                                                  Physician Electronic
                                                                  Documentation and
                                                                  Decision Support
                                                                  Needs
2012      The Brigham Way          BWH                            Honored as Model
          Award                                                   Staff Member for
                                                                  The Brigham Way
                                                                  Campaign (poster
                                                                  with quote, awards
                                                                  presentation)
2013      Subject of Harvard       HMS 225th Commencement         Cited for care of
          Medical School           Speaker Deep Shah.             BWH inpatient and
          Graduation Student                                      teaching role model
          Commencement
          Speaker
2014      Top reviewer             Annals of Internal Medicine
          commendation
2014      Outstanding              Medical Care Section.
          Leadership, Service      American Public Health
          and Dedication Award     Association
2015      Top Article of Year      BMJ Quality & Safety           CPOE Errors
                                                                  Analysis and
                                                                  Vulnerability
                                                                  Testing study
2017      The Brigham Way          BWH                            Extraordinary
          Award                                                   service to patients
2018      Partners in Excellence   Partners HealthCare            Indications-based
          Award                                                   Prescribing Project
2019      Mark Graber              Society to Improve Diagnosis   Top international
          Diagnostic Quality       in Medicine (SIDM)             contributor in
          Award                                                   diagnosis safety
                                                                  Inaugural awardee
2020      John M. Eisenberg        Joint Commission and the       2019 Lifetime
          Award for Patient        National Quality Forum         Achievement Award
          Safety and Quality       (NQF)                          recipient (nation’s
                                                                  top quality/safety
                                                                  award)
2021      Avedis Donabedian        American Public Health         22rd Annual award
          Quality Award            Association (APHA) Medical     for contributions to
                                   Care Section                   medical quality




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 2024          Editor’s Choice Award     Journal of the American          Top article in past 2
                                         College of Clinical Pharmacy     years for editorial
                                         (JACCP)                          Bruce Lambert and I
                                                                          wrote in 2022 on the
                                                                          Radonda Vaught
                                                                          medication error


Report of Funded and Unfunded Projects

Funding Information

Past

 1989-1991     Improving Quality in Cook County Hospital General Medicine Clinic
               Robert McCormick Foundation
               PI
               Grant for improving care in the General Medicine Clinic at Cook County
               Hospital.
 1999-2000     Theory and methods for minimizing drug name confusion errors
               National Patient Safety Foundation
               Co-investigator (PI Bruce Lambert)
               Evaluating screening algorithms for look-alike sound- alike drug names’
               medication errors. Medical expert for project
 1999-2002     RAND evaluation component of Chronic Disease Collaborative
               RAND Corporation
               Site PI (PI Edward Wagner)
               Multisite IHI Collaborative Project on congestive heart failure. Site PI for
               evaluation of outcomes and effects of multidisciplinary intervention and
               learning sessions.
 2000          Potential Effects of Online Pharmacies on the Patient Provider Relationship
               University of California San Francisco
               Consultant (PI Helene Lipton)
               Compared patient survey response related to pharmacy services of online mail
               order pharmacies and traditional community-based pharmacy services.
 2001-2005     Development of Center for Evaluation and Research in Patient Safety: The
               Cook County Hospital/Rush-Presbyterian-St. Luke’s Diagnostic Error
               Evaluation and Research (DEER) Developmental Research Center
               AHRQ P20HS011552
               PI
               Established center for research in diagnostic errors (only 1/93 AHRQ Safety
               grants focused on diagnosis) that featured multiple projects including
               electronic linking of lab and pharmacy data to identify errors, case series of
               hundreds of diagnostic errors, development of the DEER taxonomy tool for
               classifying errors.




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2002        Breakthrough Series on Improving Care to Chronically Ill – Congestive Heart
            Failure Collaborative. IHI project Funded by Robert Wood Johnson
            PI for Participating Site Scholarship Award
            Chronic disease improvement for diabetes and hypertension patients to
            determine if multifaceted intervention could decrease ED visit and
            readmissions
2004-2005   Harvard-Cook County Solid Oral Dose-form Identification Study
            United States Pharmacopeia Inc. / American Society of Health Systems
            Pharmacists (ASHP) Foundation
            Co-PI (w/ David Bates)
            Studied clinicians’ ability to use pill imprint codes to identify solid oral dosage
            forms pills in 2 clinician settings (Cook County; Brigham) demonstrating
            inability to do so and need for universal imprint coding system which worked
            on in coordination with United States Pharmacopeia Inc.
2005-2006   Medication Reconciliation regional medication safety initiative
            Michael Reese Health Trust
            Co-PI (w/ Bruce Lambert)
            Enhancing communication and coordination between hospital-based
            clinicians, community pharmacies, and outpatient physician offices.
2005-2007   DECIDE (Developing Evidence to Inform Decisions about Effectiveness)
            Network
            AHRQ Chicago DECIDE Research Center, University of Illinois at Chicago
            Center for Pharmacoeconomics Research
            Co-investigator (PI Glenn Schumacher)
            Series of pharmaco-economics literature reviews related to medication
            effectiveness and formulary decision-making.
2006-2008   Formulary Leveraged Improved Prescribing (FLIP) Project.
            Cook County Stroger Hospital / UIC College of Pharmacy and Department of
            Medical Education
            PI
            Attorney Generals’ Consumer and Prescriber Grant Program: The Marketing
            of Medicines: Development, Dissemination and Evaluation of a Critical Skills
            Curriculum for Prescribers.
2007-2009   Closing the Feedback Loop to Improve Diagnosis
            AHRQ R18HS017060
            Co-investigator (PI Eta Berner)
            Build an interactive voice response system to follow-up on patients seen in 3
            urgent care clinics at University of Alabama and demonstrated feasibility of
            and value of such automated follow-up systems.
2008-2009   Using Feedback to Close the Loop on Diagnosis Errors at Brigham and
            Women’s Hospital and Clinics
            CRICO-Harvard Risk Management Foundation
            PI
            Detailed surveillance system to identify diagnostic errors and feedback
            findings of case review to upstream providers.
2008-2012   Tools for Optimizing Prescribing, Monitoring, and Education (TOP-MED)



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            AHRQ U18HS016973
            Clinical Director (PI Bruce Lambert)
            AHRQ CERT (Center for Education and Research in Therapeutics)
            5 Projects testing high leverage tools to improve safety of medication use
            including: formulary oversight, conservative prescribing culture, N of 1 Trial
            (for gabapentin), pharmaco-economic analysis of formulary applications.
2009        Patient Safety Interventions to Reduce Diagnostic Error in the Ambulatory
            Setting
            AHRQ Action Master Task Order Mechanism HHSA290200600001 Task 8
            Technical expert panel (PI Mark Graber)
            Literature review on cognitive and systems approaches to decreasing
            diagnostic errors in ambulatory care
2010-2011   Evaluation of Primary Care Practice Transformation Efforts
            Commonwealth Fund PCMH Process/Implementation Evaluation Working
            Group
            Chair, Qualitative Evaluation Working Group (PI David Bates)
            Evaluation of multiple sites efforts to establish patient centered medical
            homes. Conducted qualitative evaluation of 5 clinic sites in several clinic
            networks in NY and MA.
2010-2011   Evaluating the Impact of Computerized Physician Order Entry Systems on the
            Quality, Safety, and Cost of Care in Massachusetts Community Hospitals
            Commonwealth Fund
            Co-investigator (PI David Bates)
            Before and after comparisons of frequency of medication errors in community
            hospitals following implementation of electronic medication ordering (CPOE
2010-2011   Analysis of CPOE-related errors reported to USP's MEDMARX error-
            reporting system
            National Patient Safety Foundation
            PI
            Review of 2.5 million medication error reports for CPOE related errors, with
            detailed review of 10,000 selected reports followed by testing current systems’
            vulnerabilities to the errors identified in the reports.
2010-2012   Advancing Clinical Decision Support (ACDS): Key lessons in clinical
            decision support implementation
            RAND-BWH Contract, Office of the National Coordinator, American
            Recovery and Reinvestment Act
            Task 3 Team member / Subtask 3.3 Team Leader (PI Douglas Bell and
            Blackford Middleton)
            Led literature and consensus development for theoretical constructs (schema)
            for clinician decision support models to aid in Roll out of effective CDS
            interventions
2010-2013   PROMISES (Proactive Reduction in Outpatient Malpractice: Improving
            Safety Efficiency and Satisfaction) Malpractice & Safety Project
            AHRQ R18HS019508
            Clinical and Research Director (PI Madeleine Biondolillo)




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            Randomized trial of multiple quality improvement interventions for decrease
            patient safety and malpractice risk in small and medium size primary care
            practice across Massachusetts.
2011-2012   Relationship Between Documentation Method and Quality of Visit Notes
            Partners Siemens Research Council
            Investigator (PI David Bates)
            Developed and validated instrument for chart review of electronic notes and
            correlation with quality indications
2011-2015   Project 2 E-pharmacovigilance – Calling for Early Detection of Adverse
            Reactions (CEDAR) Project.
            AHRQ HIT CERT (Health Information Technology Center for Education and
            Research in Therapeutics) U19HS021094-05
            Component Project PI (PI David Bates)
            Cluster randomized trial of using interactive voice response technology
            coupled with live pharmacist support to automatically screen patients newly
            started on medications for hypertension, diabetes, depression and insomnia in
            14 primary care clinics, to conduct pharmaco-epidemiologic surveillance for
            adverse reactions and assist patients reporting reactions.
2011-2015   Tools for optimizing medication safety (TOPMEDS)
            AHRQ U19HS021093
            Co-investigator / Senior consultant (PI Bruce Lambert)
            AHRQ CERT Center grant for 4 projects to develop tools to enhance
            medication safety including tool to screen for Drug Name Confusion, safe
            opioid dosing, patient education leaflet projects.
2012-2014   Brigham Computerized Prescriber Order Entry Medication Safety Project
            (CPOEMS)
            US FDA - Task Order Proposal: Contract Number HHSF2232010000081
            Computerized Physician Order Entry (CPOE) System Task Order Contract
            Project PI
            Multisite FDA-requested project to examine patient safety vulnerabilities of
            CPOE systems using multiple methods including direct observation of 10
            CPOE systems, on site interviews, review of help desk and patient safety logs,
            analysis of medication orders discontinued in error.
2014-2015   Automated Surveillance for Medication Errors and Adverse Reactions
            MedAware
            PI
            Evaluation of advanced artificial intelligence commercial software screening
            program to assess accuracy, validity, and usefulness of alerts, as applied to
            large BWH outpatient drug database for 5 year period.
2014-2016   Understanding and Preventing Diagnostic Pitfalls
            CRICO
            PI
            Developed new construct of “Diagnostic Pitfalls” and collected pitfalls from
            literature, safety reports, specialty focus groups, and malpractice cases
2014-2016   HIT Safety Retract and Reorder Wrong Patient Errors
            AHRQ R01 HS024945



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            Co-investigator (PI Bruce Lambert)
            Studying two types of self-interception events 1) abandon-and-reorder and 2)
            retract-and-reorder events following indications based (drug indication
            mismatch) decision support alerts in two CPOE implementations
2014-2018   Enhancing Medication CPOE Safety & Quality by Indications Based
            Prescribing
            AHRQ R01HS023694
            PI
            4 year project to examine rationale, feasibility, barriers to redesigned
            prescribing that incorporated drug indications, culminating last 2 years with
            design and testing of indications-based CPOE prototype that was compared
            head to head with 2 leading EMR vendors’ CPOE system and found safer,
            more efficient and preferred by physicians.
2014-2022   Engineering High Reliability Learning Lab: Engineering Highly Reliable
            Communication and Coordination Systems for High Risk Patients, Referrals,
            and Tests
            AHRQ P30 1P30HS024453-01
            Co-investigator / Core team member (PI Sara Singer)
            Collaboration with Northeastern Engineering School to use high reliability
            methods to drive 4 quality improvement projects-opioid prescribing (at BWH),
            scoliosis spine surgery (Boston Childrens), out of network referrals (Atrius),
            discharge planning/coordination (Mt Auburn Hospital).
2015-2017   Clinician-Patient Relationships: Boundaries, Barriers, Breakdowns
            Arnold P Gold Foundation for Medical Humanism / Lucian Leape Family
            Foundation
            PI
            a) National AMA Masterfile random sample survey of primary care physicians
            attitudes and behaviors regarding physician-patient boundaries and b) review
            of 500 “patient terminations” in a large primary care research network.
2015-2020   Delivering safe and effective test result communication, management and
            follow-up
            Australian Government National Health and Medical Research Council
            Consultant (PI Andrew Georgiou)
            Multi-project initiative to conduct literature review, study issues and
            performance of test results management systems in multiple hospitals in
            Australia
2016-2019   Primary-care Research in Diagnosis Errors (PRIDE) learning network
            Gordon and Betty Moore Foundation
            PI
            Established collaborative network of patient safety organizations, malpractice
            insurers, academic partners to review primary care diagnostic error cases;
            international consensus panel to draft principles for conservative diagnosis,
            work on diagnostic pitfalls taxonomy and coding of error cases.




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 2017-2021      Tools for Improving Primary Care Diagnostic Safety
                CRICO
                PI
                Development and testing of five tools to enhance ambulatory diagnosis and
                decrease diagnostic errors: a) communicating diagnostic uncertainty to
                patients, b) PSA shared decision-making and documentation, c) laboratory
                based formatted report of abnormal lab test results, d) colonoscopy ordered:
                performed metric database reporting, e) assessing the Assessment
 2019-2022      Safely Improving Emergency Diagnostic Testing through Clinical Safe
                Harbors
                AHRQ R18HS025931 / Vanderbilt University Medical Center
                Co-Investigator / Steering committee / Expert panel (PI Allan Storrow)
                Creation of clinical practice guidelines to permit clinicians to safely avoid
                defensive medicine practices related to inappropriate imaging and other
                diagnostic testing in the Emergency Department.
 2019-2022      MD SOS: Measuring Diagnosis: Safety or Stress
                CRICO
                PI ($199,338)
                Ambulatory diagnostic safety study correlating diagnostic process quality with
                clinician burnout.
 2017-2022      Preventing Wrong-Drug & Wrong-Patient Errors with Indication Alerts in
                CPOE Systems
                AHRQ U19HS021093
                Co-Investigator (PI Bruce Lambert)
                Evaluate use of indication-based alerts to warn prescribers about potential
                medication errors, particularly look-alive sound-alike errors in several
                hospitals in NY and Chicago.

Current

In no cost extension final year:

 2017-2024     Conservative Prescribing: Prescriber Profiling and Education Project
               Gordon and Betty Moore Foundation
               PI ($2,024,425)
               Collaboration with VA, University of Illinois at Chicago, Northwestern to
               develop and measure metrics to characterize prescribing variations and extent to
               which they conform to 24 conservative prescribing principles. Creation and
               deployment of IHI Open School course on Conservative Prescribing: 4 lesson
               course.
 2018-2024     Monitoring for Adverse Drug Events
               Gordon and Betty Moore Foundation
               PI ($1,499,662)
               Building on prior successful automated screening RCT we performed using
               interactive voice response surveillance coupled with live pharmacist support, this
               project extends this screening to use of patient portal and text messaging to


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            patients newly started on medication in primary care clinics. Coupled with work
            on new conceptual model for characterizing the dimensions of adverse drug
            reactions.


2019-2024   Primary-care Research in Diagnosis Errors (PRIDE 2) learning network
            Gordon and Betty Moore Foundation
            PI ($759,916)
            Continuation of PRIDE diagnostic errors identification, analysis, sharing network.
            Creation of PRIDE Toolkit for organizations to use to assess, learn from, and
            prevent diagnostic errors. Convening of international expert panel to develop
            consensus guidelines for standards for standardized synoptic interoperable
            reporting and sharing of diagnostic error cases.

2019-2024   Closed Loop Diagnostics: Patient Safety Engineering Learning Laboratories
            AHRQ R18HS027282
            Multi-PI (with Russell Phillips, James Benneyan) ($628,000)
            Using high reliability engineering design principles and practices, create more
            reliable systems for following up test results, ensuring critical referrals, and
            tracking symptoms to ensure that loop is closed on outstanding labs, referrals, and
            symptoms. Using BI- Health Care Associates, Bowdoin Health Center, and as
            learning/testing sites.


Active Funding


2021-2024   Creating a highly reliable sign and symptom tracking system to prevent delays in
            cancer diagnosis
            CRICO
            Co-Investigator (PI: Tayla Salant)
            Project will design novel methods to automate tracking of symptoms that are
            potential symptoms of cancer (including colon, skin cancer), and engineer reliable
            safety nets to decrease likelihood that they will have failures or delays in follow-
            up. To be implemented in community clinic serving historically marginalized
            populations who experience cancer delays.

2022-2026   ACHIEVING BETTER CANCER DIAGNOSIS (ABCD): Identifying,
            supporting, and learning from marginalized patients who experience delayed
            cancer diagnosis. Also titled: ICDx (Improving Cancer Diagnosis).
            Agency for Health Care Research and Quality R18 -1R18HS029344-01
            ($3,963,836)
            Multi PI (with Thomas Gallagher Univ. Washington)
            The BWH-Univ Washington Diagnostic Center of Excellence (DCE) will focus
            on detecting in real time patients with delayed diagnosis of cancer especially
            among marginalized patients, and then learning from them about what went



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             wrong, how delays could be avoided, and strategies to mitigate any harm that has
             occurred. We will integrate expertise on safety science, diagnosis improvement,
             and Communication and Resolution Programs (initiatives to detect and
             empathically respond to harm events).

 2024-2028   Time for Better Diagnosis: Measuring Outcomes Stress and Time (MOST)
             R01 HS030232-01).
             PI (1,987,526)
             Multisite 4 year project with Hennepin County Heath Care and Northeaster
             University Dept of Systems Engineering to identify patients with diagnostic visits
             and solicit their feedback on diagnostic processes and outcomes. Also to collect
             and analyze data examining relationships between EMR-measured time, clinician
             stress, and diagnostic assessments (produced by both clinician entry and ambient
             artificial intelligence documentation notes).
             More Reliable And Timely Diagnosis Of ADR’s In Older Patients
             PI ($100,000)
 2024-2026   Institute for Healthcare Improvement (IHI)/Hartford Foundation Diagnostic
             Excellence– Age Friendly Health Systems (DxEx-AFHS) Grant.
             18-month project to conduct adverse drug reaction surveillance in older adults
             newly prescribed high-risk medications using innovative electronic outreach tools
             coupled with live clinical pharmacist support. An additional aim will leverage
             linkages between electronic laboratory and pharmacy data to detect signals of
             potential adverse drug reaction and where warranted alert clinicians and patients.
Report of Local Teaching and Training

Teaching of Students in Courses

HMS

2015           Patient-Doctor II                        HMS
               Observed Midterm H&P Exam                4 hours
2016           Patient-Doctor II Course – Proctor:      HMS
               Observed Final H&P Exam -                4 hours
2018-          HQS 706: Special and Emerging Topics in HMS
               Patient Safety and Quality               10 course lectures
               MHQS students                            (16 hours/yr for 2019-2025)
2020           HMS Advanced Clinical Content and Skills HMS
               -Selective Session                       1.5 hours




Formal Teaching of Residents, Clinical Fellows and Research Fellows (Post-docs)

2011           Primary Care Lecture Series on Quality        BWH
               Principles                                    2 hours


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               BWH residents
2013-          Lecturing, mentoring                        HMS
               Harvard (CRICO) Patient Safety Fellows      6 hours
2015           Symposium faculty/discussant, final        HMS
               projects presentation                      3 hours
               HMS Patient Safety and Quality fellows
2016           Panel Speaker, Integrating Advocacy into HMS / Boston Children’s Hospital
               Healthcare Careers                         1 hour
               HMS General Medicine fellows, BCH
               Pediatric Health Services Research fellows
2017-2018      Understanding Diagnostic Errors            Partners HealthCare
               Faculty presentation at intern retreat     3 hours
               Partners interns
2017-          Chair/Presentation of selected Ambulatory BWH
2025           M&M Conferences on Diagnostic Error,       3 hours
               Medication Safety
               Primary Care Residency Block trainees
2018           Diagnostic Errors                          BWH
               Oral Surgery Residents Conference. BWH 1 hours
               Oral Surgery residents
2019           Diagnostic Errors: How to Recognize and BWH
               Prevent them.                              2 hours
               BWH Primary Care residents

Clinical Supervisory and Training Responsibilities

1984-2006      Faculty/Preceptor/Lecturer. Fantus         Cook County Hospital
               General Medical Clinic                     8 hours per week
               Medical Residents and Specialty Fellows
1997-2001      Workshop leader/ Dept of Family            Cook County Hospital
               Practice Faculty Development Program       Total contact time 10 hours
               Quality Improvement module
2008-2010      Preceptor Brigham Internal Medicine        BWH
               Associates (BIMA)                          4 hrs/wk
               3-5 BWH internal medicine residents
2008-2013      Inpatient Ward Supervising Attending       BWH
               Medical Residents, HMS Students            2-4 wks /year
2010-2012      Preceptor Brigham Internal Medicine        BWH
               Associates (BIMA) Phyllis Jen Center       1 week/yr plus as needed
               for Primary Care                           supervising sessions
               BWH Medical Residents
2011           Clinical shadowing mentor in Phyllis Jen   BWH
               Center for Primary Care                    6 hours/yr
               4th year Massachusetts College of
               Pharmacy and Health Sciences students




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2013-2016     Ad hoc Preceptor, Phyllis Jen Center for    BWH
              Primary Care                                Average 8-10 4-hour supervising
              BWH Medical Residents                       sessions per year

Laboratory and Other Research Supervisory and Training Responsibilities

2008-         Research supervision                        BWH
              Fellows, visiting researchers               1-2 hours per week
2016-2024     Reviewer / mentor / advisor for masters     HMS
              in Safety Quality Informatics Leadership    12-16 hours/year
              (SQIL) capstone projects
              3-6 students per year

Formally Supervised Harvard Medical, Dental and Graduate Students

 2014-2015     Ben Gross Clinical Informatics HMS Fellowship in Biomedical Informatics Class
               of 2015. Thesis Advisor Automated System for Gathering and Reporting Clinical
               Outcomes to Providers. Master thesis Committee Advisor,
 2015-2016     Baker Hamilton. Class of 2016. Clinical Informatics HMS Fellowship in
               Biomedical Informatics. Building a Mobile DxPlain App. Lessons Learned and
               Application to NEJM 2015 CPC Cases. Master thesis Committee Chair.
 2017-2018     Mark Johnson. Masters Program Class of 2019. HMS Master’s Thesis
               Committee Chair. On Uncertainty in Medicine
 2017-2018     Helen Jack Class of 2018. Mentored on project and publication on role of
               Morbidity and Mortality conferences in undergraduate education.
 2017-2018     Alissa Groisser Class of 2018. Senior Year research mentor. a) Patient
               terminations project. b) Communicating uncertainty with patients and clinicians.
               c) Quality of diagnostic assessments in clinical documentation. Took 3rd year off
               to work with me on several projects including project on Patient Terminations,
               and one on Communicating Diagnostic Uncertainty to Patients in Primary Care,
 2017-2019     Galina Gheiman HMS Student M3 Class of 2019. Quality Improvement mentor.
               Mentored 3rd-4th year projects related to QI, manuscript prepared for submission.
               Mentored student in role as TA for HMS MQS 706 master’s course I am directing
 2019-2021     Sarib Hussain HMS 2020. Mentoring for project related to assessing the quality
               of diagnostic assessments in primary care urgent care visit documentation,
 2020 -2022    Abid Hasan MD. HMS Masters Quality and Safety Student. Mentorship for
               various quality and safety projects during and since the course.
 2020-2022     Tiantian White HMS 2021. Mentoring for quality improvement project, elective
               focused on closing the loop on testing, referrals, symptoms at Beth Israel HCA
               clinic.
 2021-2022     Takashi Watari, MD, Ph.D., DTMH, MS, MCTM. Associate Professor Shimane
               University Hospital Japan. HMS Masters in Quality and Safety student.
               Mentored several projects related to diagnostic errors.
 2022          Sally Bloomberg MBA, BA. Mentor Harvard Advanced Leadership Initiative.
               Supervised auditing HMS Masters in Safety Course.




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2022-2023     Andrea McHugh RN. HMS Masters in Quality and Safety 2021-22 class.
              Capstone Project mentor for design and implementation of diagnostic error risk
              management program for Summit Health.

Other Mentored Trainees and Faculty

1987-1989   Jay Shannon, MD / Former CEO, Cook County Health & Hospitals System
            Career stage: junior faculty. Mentoring role: clinical and administrative mentor.
            Accomplishments: mentoring in quality improvement and clinic operation and
            administration at Fantus Clinic, Cook County Hospital; served as CEO of Cook
            County Health System.
2008-2010   Omar Hasan, MD, MPH / Chief Quality Officer, Maine Medical Center
            Career stage: BWH Internal Medicine fellow. Mentoring role: fellowship
            mentor. Accomplishments: named Vice President for Quality, American Medical
            Association.
2008-2011   Robert El-Kareh, MD, MPH / Associate Professor of Medicine, UC San Diego
            Career stage: BWH Clinical Medical Informatics fellow. Mentoring role:
            faculty/project mentor. Associate Professor Biomedical Informatics and Hospital
            Medicine.
2011-2012   James Hudspeth, MD / Assistant Professor of Medicine, Boston University
            School of Medicine
            Career stage: BWH Internal Medicine resident. Mentoring role: research project
            mentor. Accomplishments: diagnosis error clinical research project. Hospitalist
            and lead physician for 2020 Boston Medical Center COVID response team.
2011-2012   Jennifer Boehne, PharmD / Senior Advisor, Retail Operations, CVS Health
            Career stage: BWH Pharmacy Informatics and Outcomes Research fellow.
            Mentoring role: Medication error database review study mentor. Safety and
            Reliability Advisor California Hospital Patient Safety Organization
            (CHPSO),Senior Advisor CVS.
2010-2012   Valeria Pazo, MD/ Hospitalist at Yale New Haven Health Northeast Medical
            Group Greenwich, CT
            Career stage: Post-doctoral fellow. Mentoring role: research project mentor.
            Accomplishments: weight loss informatics project. Educational leader at BWH
            Brigham Education Institute and BWH hospitalist.
2012-2015   Joshua Liao, MD / Assistant Professor of Medicine, University of Washington
            School of Medicine; Director, Value and Systems Science Lab; Medical
            Director, Payment Strategy, UW Medicine
            Career stage: Foundation for Creative Achievement Award in Primary Care
            Diagnostics fellow. Mentoring role: fellowship mentor. Accomplishments:
            research on diagnostic errors at BWH.
2013-2014   Sarah Slight, PhD / Reader in Pharmacy Practice, Newcastle University, UK
            Career stage: HMS visiting research scholar, BWH Center for Patient Research
            and Practice fellow. Mentoring role: research mentor. Accomplishments:
            multiple medication safety research projects.




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2013-2025   Tewodros Eguale, MD, PhD / Associate Professor of Pharmaceutical Economics
            and Policy and Director of Assessment, Massachusetts College of Pharmacy and
            Health Sciences
            Career stage: BWH/McGill CUR-IT postdoctoral fellow. Currently Professor of
            Epidemiology and Biostatistics Massachusetts College of Pharmacy and Health
            Sciences.
            Mentoring role: clinical research mentor. Accomplishments: multiple medication
            safety projects, publications, presentations, ongoing collaborations.
2015-2025   Harry Reyes Nieva, MAS / Visiting Postgraduate Research Fellow, BWH/HMS;
            PhD candidate, Medical Informatics, Columbia University, New York, NY
            Career stage: BWH administrative assistant. Mentoring role: research mentor.
            Accomplishments: enrolled in Master of Applied Science program at Johns
            Hopkins; multiple coauthored papers.
2016-2019   Elise Ruan, MD / Informatics Fellow Columbia University. Resident,
            Montefiore Medical Center, Bronx, NY
            Career stage: Tufts medical student. Mentoring role: research mentor.
            Accomplishments: Mentored multiple projects and publications on diagnostic
            errors and pitfalls.
2017-2019   Sumit Agarwal, MD / Instructor, part-time, Medicine, HMS; Associate
            Physician, General Internal Medicine, BWH
            Career stage: BWH General Medicine fellow. Mentoring role: research mentor.
            Accomplishments: multiple projects, presentations, and publications related to
            diagnostic errors.
2017-2025   Isaac Chua, MD / Physician, Palliative Medicine, Dana-Farber Cancer Institute;
            Instructor, Medicine, HMS
            Career stage: HMS/CRICO Quality and Safety fellow. Mentoring role: research
            mentor. Accomplishments: 2 studies related to quality improvement for Urine
            tox drug screens.
2018-2020   Andrea Lim / Resident Kaiser Health System. Medical student, Tufts University
            School of Medicine
            Career stage: Tufts medical student. Mentoring role: research mentor.
            Accomplishments: multiple projects with a focus on diagnostic errors,
            malpractice claims, and primary care quality improvement.
2018-2024   Narath Carlile, MD, MPH / Instructor, Medicine, HMS; Associate Physician,
            General Internal Medicine, BWH; Director of Clinical Practice Innovation in
            Patient Goal Centered Care and Wellness. Director of Safer Opioid Prescribing
            Task Force, Engineering High Reliability Learning Lab; Director of Innovation,
            Internal Medicine Residency.
            Career stage: junior faculty. Mentoring role: research mentor. Accomplishments:
            multiple projects including opioid improvement, diagnosis safety (PRIDE
            Project co-investigator, IT interventions.
2019        Amy Zanoni, PhD / Postdoctoral Fellow, Southern Methodist University
            Career stage: PhD student, Rutgers University. Mentoring role: consulting
            research advisor. Accomplishments: PhD from Rutgers History Department
            project on history of Chicago public hospital 1950-2000; provided written
            materials, reviewed proposal and drafts, gave background material.



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2019-2020   Diana Norwich / Medical student, Tufts University School of Medicine
            Career stage: Tufts medical student. Mentoring role: research mentor.
            Accomplishments: multiple projects with a focus on medical safety and
            improving prescribing appropriateness.
2019-2020   Aimie Li / Master’s student, Epidemiology, HSPH
            Career stage: HSPH master’s student. Mentoring role: thesis practicum mentor.
            Accomplishments: epidemiology research on diagnostic errors and delays in
            sepsis patients in Ottawa and BWH.
2019-2025   Maram Khazen, PhD / BWH visiting postdoctoral researcher from Tel-Aviv
            University, Israel
            Career stage: visiting postdoctoral researcher. Mentoring role: research mentor.
            Accomplishments: multiple project related to primary care physician-patient
            communication, medication safety, and diagnostic errors.
2020-2022   Dr. Saina Aminmozaffari – Iranian MD; training in diagnostic error coding and
            career support for U.S. residency application training.
2020-2022   Thomas Radomski, MD / Assistant Professor of Medicine, University of
            Pittsburgh School of Medicine, Pittsburgh, PA
            Career stage: junior faculty. Mentoring role: K23 advisory committee for
            project Low-Value Prescribing Accomplishments: create metrics for searchable
            triggers for inappropriate medication prescribing and candidates for de-
            prescribing.
2020-2022   Joe Willis, MD / ABMS fellowship (project on Telehealth and Diagnosis safety)
            Career stage: Postdoctoral visiting fellowship. Mentoring role: Primary mentor
            Accomplishments: Awarded ABMS fellowship; preparing qualitative study
            featuring literature review and field note regarding diagnostic issues in post
            COVID telemedicine primary care practice.
2021-2025   Carl Berdahl, MD, MS. Cedars-Sinai Medical Center / UCLA / RAND. Society
            for Improving Diagnosis in Medicine (SIDM) Fellowship mentor and K award
            application advisor to study frequency, contributors and patient experiences with
            diagnostic errors among adults discharged from the emergency department.
2021-2025   Mei-Sing Ong, PhD. Assistant Professor Department of Population Medicine
            Harvard Pilgrim Health Care Institute (collaboration between Harvard Pilgrim
            Health Care and Harvard Medical School) and Boston Children’s Hospital.
            Mentoring Role: Supervising various projects and papers and grant submission
            related to Diagnostic Delay in Juvenile Idiopathic Arthritis. Accomplishments:
            Multiple Several publications and grant submissions combining big data
            epidemiology with clinical research in JRA.
2021-2025   Allyson Bontempo. School of Communication and Information Rutgers PhD
            Career stage: PhD candidate Mentoring role: PhD candidate advisor mentoring
            research related to diagnostic errors in endometriosis diagnosis focusing on
            dismissal of women patients’ symptoms.
            Accomplishments: Several publications of qualitative interviews and
            presentations on experience of women experiencing diagnostic delays with
            endometriosis. Now broadening to several additional diagnoses.
2021-2024   Eliezer Shinnar. Society for Improving Diagnosis in Medicine Fellowship




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              Career Stage: Junior faculty Mentoring role: Fellowship primary mentor.
              Mentoring project related to Indian Health Service diagnostic errors in patient
              transfers in and out of community level hospital.
              Accomplishments: Playing leadership role in local hospital in quality
              improvement initiatives around patient transfers.
2020-2024     Talya Salant PhD. Medical Director of Community Health Equity and Research
              at Bowdoin St. Health Center, a community health center in Dorchester,
              MA. Mentored for application and conduct of CRICO sponsored research grant
              on designing and testing a symptom follow-up tracking in 2 medical clinics.
2022-2024     Christina Cifra MD. MS. Member of the Faculty, Department of Pediatrics,
              Boston Children’s Hospital
              Career Stage: Junior Faculty. Mentoring Role: Mentorship, supervised several
              grand proposal related to diagnostic uncertainty in the ICU setting.
              Accomplishments: Co-Chaired International Diagnostic Error in Medicine
              Meeting 2022, Submitted CRICO proposal on Identification and Communication
              of Diagnostic Uncertainty to Prevent Diagnostic Error in Intensive Care.


Formal Teaching of Peers

No presentations below were sponsored by outside entities.

 1989-1991   Clinical Decision Analysis, Clinic Prediction Rules,   Faculty
             Receiver Operating Characteristic (ROC) Curves:        3 lectures; each
             Clinical Decision-Making Course                        repeated twice
             Cook County Graduate School of Medicine
             Postgraduate Education
 2008        Diagnosis Errors in Medicine                           Single presentation
             The Patient Safety Imperative                          Boston, MA
             HMS / BWH / BIDMC
 2009        EHR Solutions for Reducing Errors and                  Workshop faculty
             Transforming Healthcare Quality                        Boston, MA
             Patient-Centered Computing and e-Health:
             Transforming Healthcare Quality
             HMS / Partners HealthCare Clinical Informatics
             Research and Development
 2009        Diagnosis Errors Strategies for Prevention
             Strategies 2009 Annual Patient Safety Summit:          Workshop faculty
             Engineering Good Ideas                                 Boston, MA
             HMS / CRICO Harvard Risk Management
             Foundation (RMF)
 2013-2015, Panel Moderator for Lung Cancer; Colorectal             1hour of lectures/year
 2017, 2020, Cancer (2013 –2015); Model M&M Conference              Boston, MA
 2021, 2022 (2014-2015); Breast Cancer Screening (2017);
             COVID Infections and Diagnosis Errors (2020)




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             Best Medical Practices: Maximizing Skills,
             Minimizing Risk, Diagnostic Pitfalls (2021)
             HMS / CRICO Risk Management Foundation
 2014-2016 Academic Improvement Collaborative Learning             Workshop faculty
             Sessions (workshops on colorectal cancer, breast      Cambridge, MA
             cancer screening, quality improvement)
             HMS Center for Primary Care
 2016        Teaching Clinical Skills OSTE. HMS Simulation         Faculty
             Center                                                Boston, MA
             HMS Center for Primary Care
 2015, 2017, Quality, Informatics and Leadership (SQIL)            1 webinar (2015)
 2019, 2021, Program. HMS Office of External Education             1 lecture (2017)
 2022-2024 Diagnosis Errors in Medicine. Medication Safety.        4 lectures (2019)
                                                                   Boston, MA / London,
                                                                   UK
                                                                   3 Webinars (2021)
                                                                   2 Webinar lectures
                                                                   (2023-24)
 2018-2024     What you Need to Know about Diagnostic Errors in    Annual presentations at
               Medicine                                            BWH Internal Medicine
               HMS Intensive Review of Internal Medicine           Review Course
                                                                   Boston, MA


Local Invited Presentations

No presentations below were sponsored by outside entities.

 1990          The Healthcare Summit and the Future of Healthcare/ Lecturer
               Rush University Health Systems Management Graduate Seminar
 1991          Past, Present, and Future, Rush University Health Systems Management
               Graduate Seminar Cook County Hospital
 1995          Lessons from Drug Utilization Evaluation/ Speaker Cook County Hospital
 1995          Glucose Control in Diabetes Mellitus: How Tight is the Case?/ Lecturer
               St. Luke’s Section of General Internal Medicine/ Cook County Hospital
               General Medicine/ Primary Care
 1996-2007     Cook County Hospital OB-GYN Dept. Annual Research Symposium/ Review
               Committee Judge & Guest Discussant
 1999          Uncovering and Prevent Errors in Prison Health Setting/ Lecture Cermack
               Health Services
 2001          Today’s Speech: speech recognition in medicine: is it ready for prime time?/
               Lecture
               Rush Medical College
 2001          Medical Errors: Beyond M & M/ Lecture
               Cermack Jail Hospital




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2001        Errors and the Practice of Immunology, Rush Section of Allergy and
            Immunology Special Lecture Series/ Lecture
            Rush Medical College
2002        Linking Lab, Pharmacy and the Clinicians/ Lecture
            Cook County Hospital
2004        What is QA/QI for Underserved?/ Presentation
            Cook County Hospital
2004        Improving Health Care. Eight Forty-Eight Chicago Public Radio. 10/16/04
2003        Developing a National Action Agenda for the National Health Information
            Infrastructure: Report from the NHII Summit/ Presentation Rush Medical
            College/ Cook County Hospital
2005        Take the Pledge. Pharma Free Week/ Presenter Rush University
2005        Diagnosis Delay in a Patient with Spinal Epidural Abscess/ Medical Grand
            Rounds Cook County
2005        Operational Failures in Follow-up of Abnormal Test Results/ Medical Grand
            Rounds Cook County Hospital
2007        Primary Care-International Issues-The Work of Barbara Starfield/ Presenter
            Brigham and Women’s Hospital
2008        Diagnosis Errors: Going Beyond Medication Errors for Patient Safety/
            Presenter Brigham Center for Patient Safety Research and Practice
2008        Leveraging Electronic Utilities and Resources to Improve Personal and
            Research Productivity/ Presenter. Brigham and Women’s Hospital Division
            of General Medicine Research Seminars
2009        Lessons from Risk Management and Diagnosis Errors in Medicine
            Brigham and Women’s Hospital
            Harvard Medical School
2009        Promoting More Conservative Prescribing 2/18/2009 Presentation to Division
            of Pharmacoepidemiology and Pharmacoeconomics Department of Medicine
            Brigham and Women’s Hospital Harvard Medical School
2009        Partners Healthcare Clinical Informatics Research and Development (CIRD)
            Informatics Seminar. Presentation Electronic Clinical Documentation: It’s
            Role in Diagnosis Error and Improvement
2009        Building on Legacy of the Lown Group: 25 principles for more conservative
            prescribing. Lown Cardiology Group.
2010-       Co-Chair BWH Primary Care Morbidity and Mortality (M&M) Conference
            Quarterly. (2-3 conferences chaired /presentations annually)
2012        Special Ethics Grand Rounds: Professional-Patient Boundaries: When Does
            Helping Patients Cross the Line?” BWH Medical Ethics Dept Lecture Series.
2012        Cuba’s Health: Reflections and Review of Medical and Economic Conditions.
            BWH Division of General Medicine Presentation. 7/12
2012        Professional-Patient Boundaries: When Does Helping Patients Cross the Line.
            BWH Ethics Symposium.
2013        MGH Stoeckle Center Schwartz Center Rounds for the Primary Care
            Community. Tis the Season to Give, but...Boundary Issues for the Primary
            Care Relationship. 12/18/ 2013
2014        Physician –Patient Boundaries. BWH Behavioral Neurology Conference. 3/14


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2014       Guest Discussant. Beth Israel Deaconess Hematology-Oncology Tumor Board
           M&M 12/1/14
2014       Optimizing HIT for Cancer Screening and High-risk Orders
           Closing the Loop. Ryan’s Story. Presentation to Harvard Center for Primary
           Care Academic Improvement Collaborate Learning Session. Cambridge.
           6/12/14
2014       Using a Driver Diagram to Connect the Dots. (w/ A. Ellner, T. Bearden).
           Presentation to the Harvard Center for Primary Care Academic Improvement
           Collaborate Learning Session. Cambridge. 11/1/14
2017       Diagnostic Error in Medicine: Understanding and Implementing the
           Institute of Medicine (IOM/NAS) Report on Improving Diagnosis / Grand
           Rounds
           Division of General Medicine, Beth Israel Deaconess Medical Center, Boston,
           MA
2017       Tribute to Ryan Wanniger-Extraordinary Patient,
           Dana-Farber Cancer Institute, Boston, MA
2018       Improving Care for Colorectal Cancer Screening. AIC CARES presentation to
           CRICO Operations Committee. 2/1/18/
2018       Building A Better CPOE System: Comparing An Indications-Based
           Medication-Ordering Prototype To Leading Commercial CPOE Systems
           RSS 3082: Harvard Clinical Informatics Series 2/6/2018
2018       New Harvard Malpractice Study. VIDS Table Content Lead, CRICO
2018       Patient Terminations / Invited Presentation
           HMS Center for Primary Care, Boston, MA
2018       Principles of Conservative Diagnosis: Special Edward P. . Center for Quality
           and Safety Journal Club 12/19/18.
           Massachusetts General Hospital, Boston, MA
2019       Diagnostic Errors: Adult and Pediatric Issues / Invited presentation
           Safety & Quality Forum, Boston Children’s Hospital, Boston, MA
2019       Engineering High Reliability/Critical Junctions Learning Lab (EHRLL)
           Learning Session #10.
           HMS Center for Primary Care / Harvard T.H. Chan School of Public Health,
           Boston, MA
2019       Proud to Be GIM / Discussion table faculty leader
           HMS Center for Primary Care, Boston, MA
2019       Conceptualizing Flow as a Change Idea / Invited presentation
           Research Executive Council, BWH Center for Patient Safety, Boston, MA
2020       Diagnostic Errors: State of the Art / Medical Grand Rounds
           Harvard University Health Services, Cambridge, MA
2023       Improving Diagnosis 2023:
           Culture, Contributions, and Conundrums
           at BIDMC and Beyond. Mark Aronson annual endowed quality lectureship.
           https://vimeo.com/791960525
           Medical Grand Rounds, BIDMC, Boston, MA
2023       Introduction to Diagnostic Errors in Medicine / Invited presentations
           Social Medicine Special Conference, Cambridge Health Alliance.



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Report of Regional, National and International Invited Teaching and
Presentations

Invited Presentations and Courses

Those presentations below sponsored by outside entities are so noted and the sponsor(s)
identified.

Regional

 1984          Health Care to the Poor in the U.S. / Lecturer
               University of Chicago Medical School, Chicago, IL
 1984          Underserved Areas: Urban Health Problems in the City of Chicago/ Lecturer
               University of Illinois College of Medicine, Chicago, IL
 1985          Analysis of Dumping Patterns and Implications for Current Crisis at Cook
               County Hospital/ Presentation
               College of Pharmacy, University of Illinois, Chicago, IL
 1985          Public Hospitals- The Case of Cook County Hospital, Health Care and the
               Poor Course/ Lecturer. University of Chicago Medical School, Chicago, IL
 1988          Medical Informatics: Personal Filing System for Residents/ Lecturer. Michael
               Reese Medical Center Primary Care Series, Chicago, IL
 1989          Introduction to its History and Future/ Lecturer, site coordinator University of
               Chicago
 1989          National Health Program: Physicians’ View/ Presentation. Illinois Department
               of Public Health Annual Meeting, Chicago, IL
 1989          What is Clinical Decision-making/ Presenter. Chicago Medical Society,
               Chicago, IL
 1989          The Need for a National Health Program/ Lecture
               DePaul University Master of Public Service Course, Chicago, IL
 1989          Introduction to Decision Analysis: The Amphotericin Case/ Medical Grand
               Rounds
               Christ Hospital, Oak Lawn, IL
 1990          Realities of Medicine Course: Access to Health Care/ Lecturer
               University of Illinois College of Medicine at Chicago, Chicago, IL
 1990          When to Operate for BPH: Insights from Decision Analysis/ Presentation
               University of Illinois at Chicago, Section of General Medicine Research
               Conference, Chicago, IL
 1990          Public Sector Medical Services/ Presentation
               Center for Civic Leadership, Chicago, IL
 1990          The Health Services Research Article of the Year: Evaluation of the Value of
               Prostatectomy/ Presenter
               Michael Reese Medical Center Primary Care Seminar Series, Chicago, IL
 1991          Illinois Physicians for a National Health Program/ Coordinator, Speaker


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           Chicago, IL
1992       Quality of Care Under a National Health Program: Incorporating and
           Critiquing the Corporate Paradigm/ Presentation
           3rd Annual Midwest Radical Scholars Conference, Loyola University,
           Chicago, IL
1992       Dr. Harold Levine: His Legacy and Relevance for Health Quality Today/
           Presentation
           Chicago Internal Medicine Society, Chicago, IL
1995       History, Lessons and Tour of Cook County Hospital/ Presentation and tour
           leader University of Chicago Graduate Seminar on Health Care to the Poor,
           Chicago, IL
1995       Quality and Health Reform: 1995 and Beyond/ Presentation Department of
           Medicine Grand Rounds, West Suburban Hospital, Oak Park, IL
1995       Quality and Corporatized Managed Care/ Presentation Department of
           Medicine Grand Rounds, Rush Westlake Hospital, Oak Park, IL
1995       The Public Sector in Health Care/ Lecturer DePaul University School for New
           Learning, Chicago, IL Cook County Hospital History and Future/ Lecturer
1996       Decision Support for Better Prescribing: A Physicians’ View/ Presentation
           National Association of Boards of Pharmacy/ American Association of
           Colleges of Pharmacy Regional District IV 1996 Annual Meeting, Chicago, IL
1996       The A.D.A. Standards as Clinical Practice Guidelines: Barriers to
           Implementation and solutions in publicly funded settings/ Plenary speaker
1996       Physicians’ role in managed care/ Debate
           University of Chicago Health Policy Research Council, Chicago, IL
1996       Beyond Medline: Medical Informatics for the Practicing Academic General
           Internist/ Workshop Coordinator
           14th Annual Midwest Society for General Internal Medicine, Chicago, IL
1996       Physicians as patients’ advocates or adversaries/ Speaker
           National Physicians for Social Responsibility Conference, Chicago, IL
1996       There’s Got to be a Better Way: Managed Care and the Current US Health
           System/ Presenter
           Department of Medicine Grand Rounds, Mount Sinai Hospital, Chicago, IL
1997       DePaul University School for New Learning, Chicago, IL, Lecturer
1997       How Students can Make Difference in Reforming Healthcare/ Presentation
           Midwest Regional AMSA Convention, Northwestern University, Chicago, IL
1997       Strategies and Tools for Keeping Up-to-Date in Medicine: Medical
           Informatics for the Practicing Internist/ Presentation
           Northwestern Medical School Dept of Medicine 34th Annual The Year in
           Internal Medicine, Chicago, IL
1997       Computers as a Clinical Information Resource/ Workshop leader
           Rush-Pres St. Luke’s/ Cook County Hospital Departments of Medicine/
           General Medicine, Chicago, IL
1997       Clinical Skills for Primary Care/ Presenter
           Rush-Pres St. Luke’s/ Cook County Hospital Departments of Medicine/
           General Medicine, Chicago, IL




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1998       Department of Medicine, Grand Rounds, Medical Informatics for the
           Practicing Internist/ Grand Rounds
           Mercy Hospital, Chicago, IL
1998       Healthcare Restructuring and its Effects on Patient Care/ Presentation
           DePaul University School of Law, Chicago, IL
1998       The Managed Care Debate: Special Topics in Health Policy/ Debate
           Northwestern University, Chicago, IL
1999       Pharmaceutical Costs: Asking the right questions prescribing the right
           remedies/ Keynote speaker
           Chicago Institute of Medicine, Chicago, IL
1999       Redefining Health Care: Minisymposium addressing current status of U.S.
           Health care/ Speaker
           Midwest American Student Medical Association, Loyola University, Chicago,
           IL
1999       Research on Medical Errors/ Speaker
           Northwestern University, Chicago, IL
2000       Opening Pandora’s Box: Health Insurance, Quality and the Future of
           Medicine/ Grand Rounds
           Michael Reese Hospital, Chicago, IL
2001       Out of Control: Ethical Conflicts in our Professional Addiction to Drugs/
           Grand Rounds
           Christ Hospital, Oak Lawn, IL
2001       Informatics and Error Prevention/ Presentation and workshop leader
           Chicago Patient Safety Forum Citywide Conference, Chicago, IL
2001       Medical Errors: New Findings from Institute of Medicine/ Grand Rounds
           Mt. Sinai Hospital, Chicago, IL
2001       Swept Away: Indigent Patients’ Agendas, Outcomes, and Lives Drowning in a
           Sea of Drugs/ Panel Presenter
           University of Illinois at Chicago Medical Center, Chicago, IL
2001       Medical care and health access 2001/ Presenter
           Loyola University, Chicago, IL
2001       Project Leadership Group/ Lecture and tour
           Cook County Hospital, Chicago, IL
2001       Northwestern University Combined Public Health/ Lecture and tour
           Northwestern University, Chicago, IL
2001       National conference for uninsured/ Keynote speaker
           American Medical Students Assn, Chicago, IL
2002       Health Policy, Uninsured and Cook County Hospital/ Guest speaker
           Northwestern University, Chicago, IL
2002       Health Care in the City/ Lecture and tour
           DePaul University, Chicago, IL
2002       Illinois Hospital Association – current issues statewide conference call
           presentation on Involving Hospitals and the Medical Staff in Recognizing and
           Preventing Diagnosis Error/ Presenter
           Illinois Hospital Association, Chicago, IL
2002       Health Care for the Uninsured/ Guest lecturer



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           University of Illinois College of Medicine, Chicago, IL
2003       Computerized Prescribing: Current Challenges/ Presentation
           Midwestern University, Grove, IL
2003       Diagnostic Error in Medicine/ Grand Rounds
           Trinity Rock Island, IL
2003       Diagnosis Errors: State of the Art/ Grand Rounds
           Condell Memorial Hospital, Libertyville, IL
2003       Patient safety-beyond blame beyond extra care/ Keynote speaker
           Illinois Organization of Nurse Leaders, Bloomington, IL
2003       Showcasing What Works/ Convener, Conference Chair, Moderator
           Chicago Patient Safety Forum, Chicago, IL
2003       Risk Consulting Study Tour/ Consultant, presenter
           Knickerbocker Hotel, Chicago IL
2004       Medication and Diagnosis Errors/ Grand Rounds
           OSF St. Francis Hospital, Bloomington, IL
2004       Medical Errors: Focusing on the Problem of Diagnosis Errors/ Grand Rounds
           St. Francis Hospital, Evanston, IL
2004       Health Policy Reform/ Seminar leader
           St. Elizabeth Hospital, Chicago, IL
2004       Medication and Diagnosis Errors/ Grand Rounds
           St. Francis Hospital, Bloomington, IL
2004       Medical Errors: Focusing on the Problem of Diagnosis Errors/ Grand Rounds
           St. Francis Hospital, Evanston, IL
2004       Health Policy Reform/ Seminar leader
           St. Elizabeth Hospital Dept of Family Practice, Seminar, Chicago, IL
2004       New Paradigms for Understanding and Preventing Diagnosis Errors/ Grand
           Rounds
           Provident Hospital, Chicago, IL
2004       Patient Safety: Our Personal and Collective Journey, Keynote speaker
           Plenary Chicago Patient Safety Forum Creating Safer Health Care, Chicago,
           IL
2004       Lesson and Insights on Electronic Clinical Documentation/ Speaker
           Chicago Area Informaticists Meeting, Chicago, IL
2004       A Physician’s View of Quality Reforms Midwest Business/ Speaker
           Chicago, IL
2004       Debate on Uninsured and Future of U.S. Health Care System/ Speaker
           University of Chicago, Chicago, IL (American Medical Student Association)
2004       History and Issues Cook County Stroger Hospital/ Tour, Presentation
           DePaul University Graduate School, Department of Nursing, Chicago, IL
2005       Social Responsibility and Media Advocacy/ Plenary Presentation
           Northwestern University, Chicago, IL
2005       Health Care Policy and National Health Insurance/ Lecturer
           Loyola University Graduate School, Chicago, IL
2005       What Happened to Mr. M?/ Lecturer
           University of Chicago, Chicago, IL
2005       National Health Insurance/ Presentation



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            Pritzker School of Medicine at the University of Chicago, Chicago, IL
2005        Medication Reconciliation-Lessons, Insights, Future Work/ Conference Co-
            Chair and Keynote Presenter
            Chicago Patient Safety Forum Medication Safety Conference, Chicago, IL
2005        Patient Safety and Information Technology/ Workshop Organizer and
            Presenter
            Northwestern University School of Medicine, Chicago, IL
2005        Just Saying No to Drug Reps: Pharma Free Week/ Lecturer
            Chicago College of Osteopathic Medicine AMSA Chapter, Downers Grove,
            IL
2005        Getting real about Patient Safety – Ten insights from the trenches/ Plenary
            speaker
            Loyola University Stritch School of Medicine, Maywood IL
2006        Disparities in Medicine – Lecture and Tour of Cook County (Stroger) Hospital
            University of Chicago/ Seminar Coordinator, Lecturer
            M1 Special Orientation Session, Chicago, IL
2006        Patient Safety and Health IT/ Presentation
            UIC, Chicago, IL
2006-2007   PMAD 385: Critical Analysis of Pharmaceutical Marketing/ Course co-
            director
            University of Illinois at Chicago College of Pharmacy, Chicago, IL
2007        Debate on the Future of American Health Care/ Keynote Speaker, Debater
            Northwestern University Feinberg School of Medicine, Chicago, IL (AMA
            Medical Student Section)
2007        Critical Prescribing and Evidence based prescribing issues/ Lecture
            University of Illinois, Chicago, IL
2007        Health Care in Chicago: Current crisis at Cook County Hospital and Bureau of
            Health Services Clinics/ Presentation
            University of Illinois, Chicago, IL
2007        U.S. Health Care Quality and its Reform/ Grand Rounds
            Weiss Hospital, Chicago, IL
2007        P4P or NHP, That is the Question – U.S. Health Care Quality and its Reform/
            Grand Rounds
            Mercy Hospital, Chicago, IL
2007        Medication Reconciliation: Experiences, Challenges, and Opportunities,
            Patient Safety: Moving from Concept to Reality/ Workshop presenter and
            organizer
            Chicago Patient Safety Forum 2007 Annual Meeting, Maywood, IL
2007        Evidence Based Prescribing/ Lecturer. University of Illinois at Chicago,
            Chicago, IL
2008-2011   Patient Safety Course/ Lecturer
            Northeastern University College of Pharmacy, Boston, MA
2009        Medical Grand Rounds. Diagnostic Errors: Lessons from Three Hospitals.
            Cook County Stroger Hospital 11/12/09
2009        How To Better Prescribe In Primary Care / CME faculty
            A Core Curriculum in Adult Primary Care Medicine



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            Boston University School of Medicine, Section of General Internal Medicine
2009        How to Better Prescribe in Primary Care / CME faculty
            A Core Curriculum in Adult Primary Care Medicine
            Beth Israel Deaconess Hospital – Needham, Needham, MA
2009        Narrow Diagnosis Think Tank Summit. Keynote Speaker. Harvard Risk
            Management Foundation. June 15, 2009
2009        Core Curriculum in Adult Primary Care lecture; How to Practice More
            Conservative Prescribing in Primary Care; Boston University School of
            Medicine section of General Internal Medicine. 9/19/2009
2010        Man with Renal Mass Overlooked for 5 months: Risk Management and Safety
            Reliability Implications. Presentation to Ambulatory Risk Management
            Leaders Council of Harvard Risk Management Foundation. Harvard Faculty
            Club 11/19/2010
2010-2014   PBB Medication Safety Professional Elective Spring Semester 2010 Linking
            Lab and Pharmacy. Massachusetts College of Pharmacy and Health Sciences
            School of Pharmacy, Boston
2010        What you didn’t learn in Pharmacology class: 25 Principles for Conservative
            Prescribing.
            AMSA regional conference in Providence on October 29-31
2011        Health Reform and Quality: Moving Forward with Single Payer BU
            School of Public Health. BU medical school Boston, MA. 3/21/11
2011        Better to Best: Thoughts on Global Health Systems. American College of
            Medical Quality and the Brown University IHI Open School Chapter, First
            Annual Northeast Regional Conference on February 5, 2011
2011        Diagnosis Errors – How to Diagnose; How to Prevent / Medical Grand
            Rounds
            Winchester Hospital, Winchester, MA
2012        The View from the Front Lines: the ROI for Diagnostic Safety. Plenary
            speaker. CRICO Strategies Patient Safety Symposium. Cambridge.
2013        Progress and Prospective for IVR ADR Screening – CUR-IT (Canadian US IT
            Collaborative Group) Boston. 4/1/13
2013        MA Coalition for Prevention Medical Errors. Presentation on PROMISES
            Project 4/22/13.
2013        Seeing in Uncertainty: A trans professional Workshop for Care Providers and
            Science Educations: Arts Practica Thought on Clinical Uncertainty and VTS-
            Visual Thinking Strategies. 10/25/13 Brandeis University
2013        The PROMISES Project. WIHI (Institute for Healthcare Improvement)
            National Webinar. 11/7/13
2014        Relevance of Boundaries to Psychology Professions in Training / Invited
            presentation
            Graduate Program in Clinical Psychology, Tufts University, Medford, MA
2014        Crossing Doctor-Patient Boundaries / Ethics Grand Rounds
            Department of Ethics, Tufts New England Medical Center, Boston, MA
2014        Respecting Physician Patient Boundaries / Primary Care Grand Rounds
            Boston Medical Center, Boston, MA
2015        National Health Reform and Single Payer / Invited presentation



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           Boston University Medical Students, Boston, MA
2014       Plenary Speaker. Massachusetts Patient Safety Forum. Patient Safety in Small
           Primary Care Practices: Health from the PROMISES Practices and Project
           Results. Massachusetts Coalition for the Prevention of Medical Errors.
           Burlington MA. 4/7/14
2014       Creating a Primary Care Morbidity and Mortality Conference: The How To’s
           and an Example. Best Medical Practices Maximizing Skills, Minimizing Risk.
           BWH and BI Hospitals Harvard Medical School Course. 11/14
2014       Ask the Exerts. Panel Coordinator/Moderator: Update on Colorectal Cancer
           Screening; Does My Patient Have Cardiac Chest Pain? Best Medical Practices
           Maximizing Skills, Minimizing Risk. BWH and BI Hospitals Harvard
           Medical School Course. 11/14
2015       Featured speaker. Update on Diagnostic Errors. MA Coalition for Prevention
           Medical Errors. Burlington, MA. 2/27/15
2015       Diagnostic Pitfalls: Burning Platform and Strategies: CRICO Ambulatory
           Leaders Primary Care Retreat. 5/20/15
2015       Crossing Boundaries to Better Care for our Patients: Roles and Rules for
           Psychologists. Cambridge College. 4/6/15
2015       Findings from NSPF and FDA CPOEMS Studies. Presentation to CRICO
           Errors Taxonomy Task Force. 6/10/15
2016       Diagnostic Pitfalls. A new construct for understanding and preventing
           diagnostic errors? MA Coalition for Prevention of Medical Errors.
2016       Adding Indications to Prescriptions. MA Coalition for Prevention of Medical
           Errors. 12/19/16
2017       Presentation to HMS Primary Care Center PCIN Learning Session. Executive
           Leadership Session. 3/10/17.
2019       Single Payer and Quality / Invited Presentation
           Boston University School of Medicine, Boston, MA
2018       Learning from and about the #1 Cause of Medical Errors--Diagnostic Errors /
           Visiting Professor and Grand Rounds presenter
           Connecticut Children's Medical Center, Hartford, CT
2019       The Intersection of Data and Storytelling / Keynote Speaker
           CRICO Strategies Comparative Benchmarking System Member Summit
           2019. 6/12/19
2019       Improving Diagnosis / Plenary Speaker and Panel Moderator
           Massachusetts Coalition for the Prevention of Medical Errors Annual
           Meeting, Framingham, MA
2019       Diagnosis Errors / Grand Rounds
           Department of Medicine, South Shore Hospital, South Weymouth, MA
2020       Diagnosis Error in the Covid-19 Era / Invited Speaker
           Mass Coalition for Prevention of Medical Errors
2020       Diagnosis Errors in the COVID Era / Invited Speaker
           Department of Medicine, Milford Regional Medical Center, Milford, MA
2022       Why and How to Screen for and Analyze Diagnostic Errors / Special PRIDE
           presentation/discussion moderator


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              Primary Care Improvement in Diagnostic Error (PRIDE) 2/23/22.
 2022         Learning from Patients with Delayed Diagnosis of Cancer: Presentation on
              proposed for Diagnostic Center for Excellence.
              Primary Care Improvement in Diagnostic Error (PRIDE) Conference 6 15/22
 2022         MPIE Risk Management Networking Program – Preventing Diagnostic Error
              in Primary Care 6/22/22.
 2022         Medication Errors: Lessons from the RaDonda Vaught Case and Steps for
              Action - American College of Clinical Pharmacy ACCP Journal Webcast
              Episode #87 (w/ Bruce Lambert)
 2023         Diagnostic Errors and Betsy Lehman BWH PRIDE Project.
              MA Coalition for Prevention of Medical Errors, Burlington, MA
 2023         Keynote Speaker. How Can We Make Diagnosis
              More Reliable and Timely in 2023.
              Massachusetts Board of Registration in Medicine 2023 Quality & Patient
              Safety Conference,University of MA Worcester
 2023         Avoiding Diagnostic Errors. Beth Israel Core Updates and Essentials in
              Primary Care 2023-2024. 12/16/2023. Presenter.
 2024         Update on Diagnostic Errors. Medical Grand Rounds- BIDMC Plymouth MA
              3/1/24.
 2024         Learning from Patients to Prevent Diagnostic Errors -Massachusetts
              Healthcare Advocates Annual Symposium. Worcester MA. 4/10/2024

Regional Abstract Oral Presentations

 2005         Contextual Errors in Medical Decision Making: What are they and how do we
              find them? / Oral presentation
              SGIM Midwest Regional Meeting, Chicago, IL

National

 1985         Access/Dumping Issues/ Roundtable Moderator
              American Public Health Association 113th Annual Meeting, Washington, DC
 1985         Introduction to Issues in Public Medicine/ Lecture
              Ripon College, Ripon, WI
 1986         Introduction to Medical Decision-Making/ Lecture
              Montefiore Rikers Island Health Service, New York City, NY
 1988         Malcolm Peterson Memorial Session: General Internal Medicine and Society
              – Bridging the Gap with a National Health Plan/ Keynote Speaker
              11th Annual Meeting Society for General Internal Medicine, Washington, DC
 1989         The Chicago You Came to See: Public Health Introduction to Its People,
              Health and History/ Workshop organizer and Presentation
              117th Annual Meeting American Public Health Association, Chicago, IL
 1990         Moving Health Services into the Community: A Dissenting View –
              Dangerous Either/ Or Equation/ Presentation
              118th Annual Meeting American Public Health Association, New York City,
              NY



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1990        Urban Health Crisis: Chicago Impact/ Speaker
            Health Policy Advisory Committee Conference on Urban Health Crisis, New
            York, NY
1990        Poverty and Health/ Minicourse Coordinator
            Society for General Internal Medicine, 13th Annual Meeting, Washington, DC
1990        Providing Ambulatory Care to Vulnerable Populations: What We Can Do
            When Clinical Care is Compromised by Constrained Resources?/ Workshop
            Coordinator
            Society for General Internal Medicine, 13th Annual Meeting, Washington, DC
1990        Drug Formularies: Myths-In-Formation, Symposium on the Cost of Drugs,
            Institute for Health Policy Studies/ Presentation
            School of Medicine University of California, San Francisco, CA
1991        Need for a National Health Program to Ensure Quality/ Pre-course Faculty
            Society for General Internal Medicine (SGIM) 14th Annual Meeting, Seattle,
            WA
1992        Patient Education: Beyond the Boundaries/ Keynote Address. Bethesda, MD
1992        National Health Program: A Framework for Quality Improvement/
            Presentation
            119th Annual Meeting American Public Health Association, Atlanta, GA
1993        Contributed Papers on Drug Policy and Pharmacy Services/ Discussant
            121st Annual Meeting American Public Health Association, San Francisco,
            CA
1994        An Evening with Dr. Quentin Young: Medical Care Section/ Presentation
            122nd Annual Meeting American Public Health Association, Washington, DC
1994        Communicating Risks to Patients: Introduction and Caveats/ Keynote
            presentation
1995        United States Pharmacopeia Inc. Open Conference, Reston, VA
1996        Horizons in Diabetes Managements, American Diabetes Assn
            39th Annual Professional Symposium, Oak Brook, IL
1996        The Backlash Against the Backlash, Physician’s for a National Health
            Program/ Presentation
            126th Annual Meeting American Public Health Association, New York City,
            NY
1997        Examining Errors in Medicine: Prevention of Sentinel Events and Untoward
            Outcomes/ Workshop coordinator
            20th Annual Meeting Society for General Internal Medicine, Washington, DC
1997-1998   Breakthrough Series Advisory Panel on Improving Physician Prescribing
            Practices Faculty, Planning Committee member Presenter. Boston, MA
            Boston, MA
1998        Institute for Health Care Improvement (IHI) Improving Prescribing Practices
            National Congress/ Faculty Minneapolis, MN
1999        Understanding and Preventing Errors in Medicine/ Grand Rounds
            George Washington University Department of Heath Services, Washington
            DC
2000        Access, Quality, and the Future of Market Medicine/ Grand Rounds St. Luke’s
            Medical Center, Milwaukee WI



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2000       Information technology for preventing health care errors/ Presentation
           American Informatics Association, Boston, MA
2001       Conflicts in our professional addiction to drugs….and how to Detox/
           Workshop leader and presentation. Physicians for National Health Program
           Annual Meeting, Atlanta, GA
2001       Health care reform or deform: impacts on medical students/ Presenter
           American Medical Student Association, Chicago, IL
2001       Computerized Prescribing: Current Challenges or Seeking a Higher Leaping
           Frog/ Presentation. Academy for Health Services Research & Health Policy
           Annual Meeting, Atlanta, GA
2001       National health reform: theirs and ours/ Keynote Presentation. Madison WI
2001       Free Clinics of the Great Lakes Region Annual Conference: A Celebration of
           Commitment, Progress, and Spirit/ Keynote Presentation. Madison WI
2001       Symposium on U.S. Health Science Students as Radical Political Activists:
           Their work and their Impact/ Facilitator Institute of Social Medicine and
           Community Health, and Socialist Caucus of the American Public Health
           Association, Atlanta, GA
2001       Memorial Service/ Tribute for Avedis Donabedian/ Featured speaker
           University of Michigan School of Public Health, Ann Arbor, MI
2002       Quality improvement in healthcare / Teleconference presentation to Family
           Practice Dept Residents
           University of Kansas School of Medicine, Wichita, KS
2002       How would Dr. Donabedian think about Diagnosis Errors/ Presentation
           American Public Health Association 130th Annual Meeting, Philadelphia, PA
2002       Financing National Health Insurance and Why Incrementalism Fails/
           Workshop leader, presentation
           Physicians for National Health Program annual meeting, Philadelphia, PA
2002       Intimate Strangers: Connecting Lab and Pharmacy to Reduce Errors and
           Improve Care/ Plenary Speaker
           American Medical Informatics Association, Scottsdale, AZ
2002       Spring Congress A Drug by Any Other Name: The Role of Informatics from
           Drug Development through the Point-of-Care/ Plenary Speaker
           American Medical Informatics Association, Scottsdale, AZ
2002       Health Reform: Understanding and Addressing the Problems/ Grand Rounds
           University of Wisconsin, Madison, WI
2003       Stoneman Visiting Professor of Health Care Quality/ Visiting Professorship
           Beth Israel Deaconess Medical Center. Boston, MA
2003       Medical Malpractice/ Presentation
           Quality and National Health Reform, APHA 131st Annual Meeting, San
           Francisco, CA
2003       Improving Quality Improvement in Health Care: Foundations and Frontiers/
           Session organizer and presentation; APHA 131st Annual Meeting, San
           Francisco, CA
2003       Health Progressives in APHA: What Worked, What Didn’t, What Should be
           Done Now/ Moderator, closing speaker
           APHA 131st Annual Meeting, San Francisco, CA



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2003       Risk Management Tips: A Focused Look at Failure to Diagnose/ National
           audio conference Presenter. Risk Management Association. Lansing, MI
2003       Paper Imaging: Paradoxical Success of Cerner EMR/ Presentation
           Cerner Health Conference, Kansas City, MO
2003       Malpractice and Health Reform/ Presentation
           New York Metro Physician for a National Health Program Forum, New York
           City, NY
2003       Pathways for Medication Safety/ Project Consultant
           American Hospital Association (HRET/AHA/ISMP Project), Chicago, IL
2004       Challenges in Putting Research Results to Use: Practitioner Perspective from
           the Trenches/ Plenary Speaker
2004       Special Session: Capitalism and the Environment/ Convener, Moderator,
           Introductory Presentation
2004       American Public Health Association (APHA) 130th Annual Meeting,
           Philadelphia, PA
2004       Formularies, pharmacies, prescribers, and patients: understanding the
           economic, political, medical, and social pressures behind what we prescribe
           and what patients receive/ Workshop co-coordinator
           27th Annual National Society for General Internal Medicine (SGIM) Meeting,
           Chicago, IL
2004       Universal National Health Insurance: Solution to our Malpractice, Mal-Access
           Mess/ Keynote speaker
2004       Broadlawns Hospital Medical Staff citywide forum, Iowa Historical Museum,
           Des Moines, IA
2004       Medical Grand Rounds. University of Iowa, Iowa Health System Methodist
           Hospital, Des Moines, IA
2004       Medical Grand rounds Broadlawns Hospital, (Polk County Public Hospital),
           Des Moines, IA
2004       Deep Connections: Linking Quality Improvement/ Presentation
           American Public Health Association 132nd Annual Meeting, Washington, DC
2004       Malpractice and National Health Reform: Fifteen Parallels / Workshop Leader
           Physicians for National Health Program national annual meeting & leadership
           training workshop, George Washington University Marvin Center,
           Washington, D.C.
2004       Visiting Professor, The Activism and Medicine Course Case, and MetroHealth
           Hospital Quality Initiatives monthly conference guest speaker discussant
           Case Western University, Cleveland, OH
2004       Visiting Professor, including special presentation for research seminar
           Diagnostic Error in Medicine Clinical Quality & Patient Safety Research
           Issues.
2005       Visiting Professor University of Iowa Hospitals and Clinics Division of
           General Internal Medicine, Iowa City, IA.
2005       Myths and Realities about Pharmaceutical Companies and Drug Prices/
           Presentation. PNHP Leadership Training Institute, Philadelphia, PA
2005       Getting in Gear to Prevent Adverse Drug Events/ Presentation
           Agency for Healthcare Research and Quality, Washington, DC



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2005       The Role of Malpractice Reform in Assuring Quality/ Presentation SGIM 28th
           Annual Meeting, New Orleans, LA
2005       10 Principles for Malpractice Reform and Quality/ Presentation
           Leadership Training Institute. Harvard Faculty Club, Cambridge, MA
2006       Transforming Passion into Action: A New Era of Physician Advocacy/
           Presenter American Medical Student Association, Chicago, IL
2006       Pharmaceutical Industry and National Health Reform: What are the
           Intersections?/ Leadership Training Workshop Leader
2006       Physicians for a National Health Program (PNHP), Harvard faculty club,
           Cambridge, MA
2006       Communicating and Acting on Critical Test Results/ Presentation AHRQ
           Annual Patient Safety Conference, Washington, DC
2006       Agency for Healthcare Research and Quality (AHRQ), AHIMA’s Foundation
           of Research and Education, and the MGMA center for Research/ Invited
           participant, panelist. AHRQ’s Conference on Healthcare Data Collection and
           Reporting, Chicago, IL
2006       Using Health Information Technology to Support Quality and Policy:
           Applications of Informatics Track/ Program Committee and Session Chair
           American Medical Informatics Association, Washington, DC
2007       Diagnosis Error: Epidemiology, Concepts, and Taxonomy/ Plenary speaker
           CRICO Harvard Risk Management Foundation, Risk Management conference
           on Diagnostic Error, Cambridge, MA. Missed and Delayed Diagnoses Related
           to Incidental Findings/ Workshop coordinator
2007       Quality of Care Through the Lens of the Single Payer National Health
           Insurance Model/ Workshop Organizer, Presenter National STFM 40th Annual
           Spring Conference, Chicago, IL
2007       SGIM Quality of Patient Care, Patient Safety/ Program Committee SGIM 30th
           Annual Meeting, Toronto, Canada
2007       Medication Reconciliation: Successes, Failures, and Why It Is So Hard/
           Workshop Organizer, Presenter. SGIM 30th Annual Meeting, Toronto, Canada
2007       Medicare D as a Teaching Opportunity: Lessons in Health Policy and Quality
           Prescribing/ Workshop Organizer, Presenter. SGIM 30th Annual Meeting,
           Toronto, Canada
2008       Medication Reconciliation: Successes, Failures, and Why It Is So Hard
           Medicare D as a Teaching Opportunity: Lessons in Health Policy and Quality
           Prescribing.
           “4th International Conference on Technology, Knowledge and Society”
           Northeastern University
2008       Linking lab and pharmacy Data: Warfarin Insights/ Presenter. National
           Steering Committee of Center for Education and Research in Therapeutics
           (CERT), Rockville, MD
2008       The FLIP Formulary Tool – A model for critical review of new drugs/
           Presenter. Center for Education and Research in Therapeutics (CERT)
           investigators national scientific conference call.
2008       Reducing Diagnostic Errors with Electronic Decision Support: Clinical
           Documentation Perspectives / Plenary presentation



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            AHRQ / AMIA Diagnosis Errors in Medicine 1st National Conference,
            Phoenix, AZ
2008        What Signal? What Data? Provider Perspective: Safer Prescribing: Living
            with the Consequences and Opportunities of the Information Age/Plenary
            Speaker ISPE Mid-Year Meeting Symposium 4/28/2008. Boston, MA.
2008-2012   Pre-Course Presenter
            AHRQ / AMIA / SMDM Diagnostic Errors in Medicine Conferences
2009        Enhancing the quality of formulary decision making by using a checklist of
            critical questions. CERT Government day at Center for Medical and Medicare
            Services (CMS) Baltimore, MD, June 3, 2009
2009        American Medical Students Association. Washington DC Workshop Leader
            On Principles of Conservative Prescribing 3/14/09
2009        Conceptual issues in the development of a measure of formulary culture /
            Invited presentation
            ISPOR 14th Annual International Conference, Orlando, FL.
2009        Northwestern University Master’s Program in Healthcare Quality and Patient
            Safety: Convocation Ceremony commencement speaker. Presentation Title:
            Executing Detours: From Scully to Obama.
2009        The CRICO/Harvard Risk Management Foundation Diagnosis Error Research
            Project / Co-Chair Plenary Presentation
            AHRQ-SMDM Diagnosis Errors in Medicine 2nd National Conference,
            Hollywood, CA
2009        New Perspectives on Brady and Other Disclosure Obligations: What Really
            Works? Conference in New York November 15 and 16, 2009
2009        Rethinking Diagnosis Errors: Developing New Paradigm in Clinician Practice
            and Education / Richard Haber Lectureship Grand Rounds and Visiting
            Professorship
            San Francisco General Hospital, San Francisco, CA
2010        Tribute to the Life and Work of Dr. Walter J. Lear
            Joint Session LGBT Caucus of Health Professionals, Sprit of 1848, Socialist
            Caucus and Medical Care Section, APHA Annual Meeting, Denver, CO
2010        Improving formulary decision making.
            Chicago Effective Healthcare Conference, Chicago, IL
2010        Health Reform, Quality, and Malpractice- A view through the lens of single
            payor reformation
            APHA Annual Meeting, Denver, CO
2011        Visiting Professor Vanderbilt University. Dept of Emergency Medicine
            Emergency Medicine Grand Rounds: Health Reform, Quality and Malpractice
            A view through the lens of single payer reform-ulation
            Heath Services Research Quality Seminar- Guest Speaker. Concepts in
            Quality Improvement
            Emergency Medicine Residents Lecture Series: Diagnosis in the Emergency
            Room- Where it Fails
2011        Test Result Reliability Science: How Often are Results Missing and How
            Often are They Missing the Right Diagnosis? / Featured Speaker
            Society for Hospital Medicine (SHM), Dallas TX



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2011       Donabedian Award: Contributions of Carolyn Clancy to Quality Improvement
           APHA Annual Meeting, Washington, DC
2011       Respecting and Reflecting on Diagnostic Errors / Workshop leader
           SGIM 34th Annual Meeting, Phoenix, AZ
2011       Plenary speaker. System Dynamics and Dysfunctionalities: Levers for
           Overcoming Emergency Department Overcrowding. Consensus Conference
           on Interventions to Assure Quality in the Crowded Emergency Department.
           Society of Academic Emergency Medicine Annual Meeting Boston,
           Massachusetts
2011       Linking Lab and Pharmacy National Webinar sponsored by UIC CERT and
           Partnership for Patient Safety
2011       Diagnostic Error in Medicine: Short Course Organizer and Faculty:
           Diagnostic Error: A State of the Science Overview; Contributing Factors and
           Interventions: System Issues. Chicago
2011       Principles of Conservative Diagnosis (w/ David Eidelman). Donabedian
           Award Session 140th Annual APHA Meeting Washington DC.
2011       Pharma Knows Best? Managing Medical Knowledge. Georgetown University
           Panelist: Medical Education: How can CME be ParmaFree June 16, 2011
2011       Critical Test Follow-up Concepts and Tactics. Webinar Presentation to
           National VA Communicating Test Results Workgroup 9/14/11
2011       IHI Expedition: 6 part series on Critical Values Reporting
           Communication / Webinar presenter
           Institute for Healthcare Improvement
2012       Visiting Professor Maine Medical Center.
           Department of Medicine Grand Round Diagnosis Error in Medicine: Can We
           do Better?
           Department of Medicine and Family Medicine Educational Conference: How
           to be a better prescriber: Principles of Conservative Prescribing.
           Medicine-Pediatrics Residents Seminar – Clinical Documentation Issues
2012       Presenter. Promises of/and Malpractice reform. IHI Quarterly National
           Faculty Conference Call Institute for Health Care Improvement
2012       Visiting Professor University of Michigan Ann Arbor. Dept of Urology
           Special Symposium and Dept of Medicine Grand Rounds Presentations.
2012       Quality 111 / Special Presentation
           City University of New York School of Public Health, New York, NY
2012       Diagnostic Error in Medicine: Plenary Panel Chair Speaker: Current Policy
           Issues in Diagnostic Error. 5th International Diagnostic Error in Medicine
           Conference. Baltimore
2012       Pre-Course Introduction to Diagnostic Error in Medicine: Co-convener,
           speaker. System Causes of Diagnostic Error. 5th International Diagnostic Error
           in Medicine Conference. Baltimore
2012       Plenary Speaker, Chair: Introduction: Lessons from the Untimely Death of
           Rory Staunton 5th International Diagnostic Error in Medicine Conference.
           Baltimore
2013       Keynote Speaker: Role of Pharmacist in Improving Prescribing. Illinois
           Council of Hospital Pharmacists Annual Meeting 9/20/13



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2013       Health Information Technology: Building Solutions for Patient Safety Session
           401: Medication Errors in CPOE. National Patient Safety Foundation 15th
           Annual Congress New Orleans 5/10/2013
2013       Presentation of Donabedian Award and Introduction to the PROMISES
           Project
           142nd APHA Annual Meeting, Boston, MA
2013       The Relevance of Errors and Diagnostic Errors in Medicine to Criminal
           Justice / Keynote speaker
           National Institute of Justice, Alexandria, VA
2014       Diagnostic Safety in an EHR-enabled Health Care System / webinar
           National Patient Safety Forum
2014       Diagnostic Error in Medicine: Informatics Challenges / Grand Rounds (w/
           David Toker Neuman)
           Johns Hopkins Division of Health Sciences Informatics (by teleconference)
2014       Principles of Conservative Prescribing / Keynote speaker
           Berger Health Symposium, Circleville, OH
2014       Introduction to Diagnostic Errors in Medicine / Pre-course Workshop
           Presenter
           7th International Diagnosis Errors in Medicine Conference, Atlanta, GA
2014       Introduction Opening Keynote: Dr. Lucian Leape.
           7th International Diagnosis Errors in Medicine Conference, Atlanta, GA
2014       Top Diagnosis Errors Articles and Events of 2014. (w/ Mark Graber). 7th
           International Diagnosis Errors in Medicine Conference. Atlanta 9/17/14
2014       Crossing Boundaries to Better Care for Patients at Grady Hospital: Violation
           or Obligation / Grand Rounds
           Grady Hospital, Atlanta, GA
2014       Using Interactive Voice Response and Pharmacist for Earlier Detection and
           Counseling / National webinar
           AHRQ CERT National Science Call
2014       Stopping Errors in Ambulatory Care: Improving Patient Safety and Reduce
           Errors / Invited presentation
           Progressive Health Conference, New York City
2014       Care Outside the Hospital: Maintaining Quality and Safety / Plenary
           Presentation.
           ECRI Institute’s 21st Annual Conference, The “New” Complex Patient: The
           Shifting Locus of Care and Cost, National Academy of Science, Washington,
           DC
2014       Understanding Professional-Patient Boundaries: Protections or Barriers /
           Invited lecture
           Department of Psychiatry, Montefiore Medical Center, Bronx, NY.
2014       10 Principles for Addressing Diagnostic Error in Health Care / Keynote
           Speaker
           Joint Commission Ambulatory Conference, Oakbrook Terrace, IL
2014       Quality, Diagnosis, & Health Reform / Invited lecture
           APHA 142nd Annual Meeting, New Orleans, LA




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2014       Legacy of Avedis Donabedian and Presentation of 15th Donabedian Award to
           Dr. Steffie Woolhandler
           APHA 142nd Annual Meeting, New Orleans, LA
2014       FDA BWH CPOEMS: FDA Brigham and Women’s Hospital / Invited
           presentation
           Computerized Prescriber Order Entry Medication Safety Presentation, U.S.
           FDA CDER/OSE/OMEPRM/DMEPA Divisions, Rockville, MD
2014       Rogers Health Policy Colloquium / Keynote speaker
           Weill Cornell Medical College, New York, NY
2015       What can criminal justice learn from patient safety in medicine
           10th Annual John Jay/Harry Frank Guggenheim Symposium on Crime in
           America, John Jay College of Criminal Justice, New York, NY
2015       Principles of Conservative Diagnosis / Plenary workshop speaker
           Road to RightCare Conference: Engage, Organize, Transform, San Diego, CA
2015       Better Understanding Diagnostic Errors in Medicine: Situational Awareness
           and Safety Nets / Keynote speaker
           AHRQ Patient Safety Organization National Conference, Washington, DC
2015       Indications-Based Prescribing Research Project (series of six 90-min panels) /
           Chair, Lead Presenter
               Panel 1: Delineating and Defining the Construct of Indications-based
               Prescribing
               Panel 2: Indications-based Prescribing and Patient Safety/Medication
               Errors
               Panel 3: Pharmacists and Indications-based Prescribing
               Panel 4: Patient Education/Information and Indications-based Prescribing
               Panel 5: Drugs of Choice
               Panel 6: HIT Technical and Vendor Issues
           AHRQ-BWH Indications-Based Prescribing Research Project
           https://sites.google.com/site/indicationsrx/project-overview
2015       Using Health Information Technology (HIT) as a Tool for Optimizing
           Medication Safety / Panelist
           National Patient Safety Foundation Annual Meeting, Austin, TX
2015       Keynote speaker: Putting Culture on Trial. A Class Action Suit. Ambulatory
           Care Expert Witness. CRICO Symposium 6/5/15 Boston.
2015       Making HIT Safer for Diagnosis / Keynote speaker
           Tregde Annual Patient Safety Conference, Jacobi Medical Center, Montefiore
           Medical Center, Bronx, NY
2015       BWH HIT CERT Projects / Invited Presentation
           CERT Steering Committee Meeting, Rockville, MD
2015       EHR Documentation and Health IT Safety / Webinar
           Health IT Safety Webinar Series, Office of the National Coordinator for
           Health Information Technology (ONC), U.S. Department of Health and
           Human Services
2015       Diagnosis Errors / Invited Lecture
           Department of Medicine, Indian Health Service, Gallup, NM




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2015       Guest Discussant. Department of Medicine M&M. Indian Health Service
           Gallup, NM 7/23/15
2015       Professional-Patient Boundaries. Relevance for Caring for Native Americans.
           Lecture. Department of Medicine M&M. Indian Health Service Gallup, NM
           7/29/15
2015       Activism: Lessons from 4 decades of advocacy work / Invited lecture
           Oregon Health Sciences University, Portland, OR
2015       Professionalism, advocacy, and clinician-patient boundaries / Grand Rounds
           Department of Medicine, Oregon Health Sciences University, Portland, OR
2015       Introduction to System Issues in Diagnostic Error / pre-course faculty
           International Conference on Diagnostic Error in Medicine, Washington, DC
2015       Principles of Conservative Diagnosis / Invited presentation
           8th International Conference on Diagnostic Error in Medicine, Washington,
           DC
2015       Top 10 Articles/Advances in Diagnosis 2015 / Plenary Presentation
           8th International Conference on Diagnostic Error in Medicine, Washington,
           DC
2015       Preventing Diagnostic Errors in Medicine and Healthcare / Keynote Speaker
           Fundamentally Human: An Innovative Exploration of Patient Safety. Patient
           Safety/Simulation Symposium Midwest Healthcare Quality Alliance,
           Southern Illinois School of Medicine, Springfield, IL
2015       Single Payer and Quality: 20 Year Update/Reflection on PNHP JAMA
           Quality Paper/Plan / Plenary Speaker
           Physicians for a National Health Program National Meeting, Chicago, IL
2015       Background and Presentation of Award to Rebecca Onie / Donabedian
           Lecture
           143rd APHA Annual Meeting and Exposition, Chicago, IL
2015       Cognitive Skills and Judgment; Communications and Team-Based Care /
           Featured speaker for 2 panels
           American Board of Medical Specialties (ABMS) / NSPF Summit on
           Certification and Diagnostic Accuracy, Washington, DC
2015       Diagnosis Errors: Institute of Medicine Report and Recommendations…and
           Beyond / Webinar
           Project Patient Care / Consumers Advancing Patient Safety (CAPS)
2016       Rational Prescribing in Elders / Online Course Faculty
           Georgetown GW Milken Institute School of Public Health, Washington, DC
2016       Diagnostic Errors in Medicine / Keynote speaker
           15th Annual PHTS Risk Management Medical Staff Leadership Advance
           Conference, Charleston, SC
2016       Crossing Professional Patient Boundaries: Violation or Obligation? / Keynote
           speaker
           15th Annual PHTS Risk Management Medical Staff Leadership Advance
           Conference, Charleston, SC
2016       Professional Patient Boundaries: How Can We Maintain Both Appropriate
           Boundaries and Caring Relationships / Medical Grand Rounds




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           University of South Carolina (USC) School of Medicine / Palmetto Health,
           Columbia, SC
2016       Incorporating Medication Indication into CPOE: What Do We Need to Build?.
           iHealth Annual Meeting, American Medical Informatics Association,
           Minneapolis, MN
2016       Professional-Patient Boundaries / Leon Kassel Lectureship Grand Rounds
           Mt Sinai Hospital, Baltimore, MD
2016       Diagnostic Safety: An Emerging Frontier for Health Services Research and
           Quality Improvement / Invited Speaker
           AcademyHealth Annual Research Meeting, Boston, MA
2016       Diagnosing the Diagnostic Dilemma - the IOM Report/ Plenary Speaker
           American Academy of Dermatology, Washington, DC
2016       Graduate Communication Program / Commencement Speaker
           Northwestern University Feinberg School of Medicine, Chicago, IL
2016       Why Is Improving Diagnosis Important? Physician and Patient Perspectives /
           Keynote Speaker
           Setting the Stage: What We Know About Improving Diagnosis, AHRQ
           Research Summit on Improving Diagnosis in Health Care, Rockville, MD
2016       Opioid Adverse Drug Events / Webinar Speaker
           Federal Interagency Workgroup
2016       Diagnosis Errors: System Issues / Pre-course Faculty
           9th International Conference: From IOM to Action, Society for Improvement
           of Diagnosis in Medicine, Hollywood, CA
2016       The Art of Uncertainty: Unlocking its tools and diagnostic potentials in visual
           art / Workshop Leader
           9th International Conference: From IOM to Action, Society for Improvement
           of Diagnosis in Medicine, Hollywood, CA
2016       Ambulatory Morbidity and Mortality Conferences: Teaching Diagnostic
           Reasoning and Fostering a Culture of Safety / Workshop Leader
           9th International Conference: From IOM to Action, Society to Improve
           Diagnosis in Medicine, Hollywood, CA
2016       Memorial Tribute to Dr. Quentin Young (chair medicine Cook County
           Hospital) / Walter Lear Session
           144th APHA Annual Meeting and Exposition, Denver, CO
2016       Improving Quality, Safety while Enhancing Joy and Efficiency in Practice:
           Making it Easier to Do the Safe Thing / Donabedian Award Session
           144th APHA Annual Meeting and Exposition, Denver, CO
2016       Incorporating Medication Indication into CPOE: What Do We Need to build?
           144th APHA Annual Meeting and Exposition, Denver, CO
2016       Reliable Diagnosis in Primary Care / Workshop leader
           IHIH 28th Annual National Forum, Orlando, FL
2017       EMRs, Data, and Single Payer Health Systems / Workshop Co-Leader
           Physicians for a National Health Program Annual Meeting, Atlanta, GA
2017       Principles of Conservative Diagnosis. Workshop Leader (repeated x2)
           5th Annual Lown Institute National Conference, Boston, MA
2017       State of the Art in Quality & Safety is tomorrow / Keynote speaker



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           Graduate Programs in Healthcare Quality & Patient Safety 10-Year Event,
           Northwestern University Feinberg School of Medicine, Chicago, IL
2017       Rethinking Diagnostic Error in Wake of National Academy of Medicine
           Report Improving Diagnosis In Health Care / Seminar
           Northwestern University Feinberg School of Medicine Institute for Public
           Health and Medicine (IPHAM), Chicago, IL
2018       Oral Scientific Abstracts Presentations in Quality and Safety / Session
           Moderator
           SGIM Annual Meeting, Denver, CO
2018       Why Am I Taking This Drug? Incorporating Indications in CPOE / Invited
           presentation
           HIMSS Annual Meeting, Las Vegas, NV
2018       The Next Frontier to Improve Diagnosis: The New Diagnostic Team /
           Workshop
           Communicating Diagnostic Uncertainty, NPSF Annual National Meeting,
           Boston, MA
2018       Introduction to Diagnostic Errors / Pre-course faculty
           Diagnostic Error in Medicine 11th International Conference, New Orleans, LA
2018       How to Balance Preventing Diagnostic Error with Need for Conservative
           Diagnosis: 10 Principles / Workshop (repeated)
           Diagnostic Error in Medicine 11th International Conference, New Orleans, LA
2018       Enterprise Patient Safety Indications Prescribing Working Demonstration /
           Invited presentation
           CVS Pharmacy, Woonsocket, RI
2018       Ten Principles for more Conservative and Care-full Diagnosis / Donabedian
           Session
           Medical Care Section, 146th APHA Annual Meeting and Exposition, San
           Diego, CA
2019       Understanding and Preventing: Diagnostic Errors in Primary Care / Grand
           Rounds, Visiting Professor, consultation for quality improvement
           The Alfred and Gail Engelberg Department of Family Medicine and
           Community Health, Icahn School of Medicine at Mount Sinai, New York, NY
2019       Medication Safety Implications of Indications-Based Presibing / Invited
           presentation (via webex)
           NCC MERP Presentation National Steering Committee, Rockville, MD
2019       Diagnostic Errors / Invited presentation
           7th Annual National Patient Safety Week, HRSA Bureau of Primary Health
           Care, Rockville, MD
2019       Principles of Conservative Diagnosis: How to Strategically Deploy in Primary
           Care / Keynote Speaker and Workshop Leader
           Division of General Medicine Annual Retreat, John H. Stroger, Jr. Hospital of
           Cook County, Chicago, IL
2019       Better Medication Prescribing: Practicing more conservatively and
           Incorporating indications into electronic ordering / Grand Rounds
           Department of Medicine, John H. Stroger, Jr. Hospital of Cook County,
           Chicago, IL



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2019        Difficult Conversations in Health Care / Keynote Speaker
            Difficult Conversations in Health Care Preconference, International
            Communication Association 69th Annual Conference, Washington, DC
2019        Patient Provider Communication / Workshop leader
            Difficult Conversations in Health Care Preconference, International
            Communication Association 69th Annual Conference, Washington, DC
2019        The Intersection of Data Intersection of Data and Storytelling / Keynote
            Speaker
            CRICO Strategies Comparative Benchmarking System National Member
            Summit 2019 Meeting. 6/12/19
2019        Diagnostic Error in Primary Care: What Do We Know, What Opportunities /
            Keynote speaker
            I-PrACTISE. Improving PrimAry Care Through Industrial and Systems
            Engineering, Healthcare Systems Northeastern Engineering Institute and the
            University of Wisconsin Department of Family Medicine and Community
            Health, Northeastern University, Boston, MA
2019        Advancements and Challenges in Medication Safety / Invited Speaker
            IHI/NPSF Patient Safety & Quality Coalition Annual Meeting, Boston, MA
2019        Artificial Intelligence and Diagnosis Safety / Plenary Session Panelist
            Society for Improving Diagnosis in Medicine Annual Meeting, Washington,
            DC
2019-2020   Conservative Prescribing (4 module course) / Course Director, faculty
            IHI Open School, Institute for Healthcare Improvement
2020        Medication Safety / Course Lecturer (4 hours total; virtual)
            University of Illinois at Chicago
2020        Diagnosing Diagnosis Errors: Where Next?: Improving Diagnosis - A
            Personal Agenda / Invited Speaker (virtual)
            AHRQ CQuIPS Topic-Oriented Meeting
2020        Diagnostic Errors and Communication and Resolution Programs
            (CRP) / National Webinar
            Collaborative for Accountability & Improvement, University of
            Washington
2020        Research Priorities for Patient Safety Improvement in the Ambulatory
            Setting / Invited Expert Participant
            AHRQ Patient Safety Roundtable
2020        Lessons Learned in Implementing a Chronic Opioid Therapy
            Management System / Panelist
            Annual Research Meeting. AcademyHealth (virtual)
2021        Rational Prescribing and Deprescribing. Improving Prescribing Safety
            and Appropriateness / Invited presentation
            Pharmed-Out Conference, Georgetown University, Washington, DC
            (virtual)
2021        A Call to Action. Insights from a Decade of Malpractice Claims /
            Keynote Speaker national webinar
            olson and Med-IQ




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2021       A Call to Action. Action Webinar General Medicine Insights /
           Keynote Speaker for national webinar
           Coverys and Med-IQ. 10/20/21.
2021       Medication Safety: Safer More Conservative Prescribing / Oral
           Presentation
           American Public Health Association (APHA) 2021 149th Annual
           National Meeting, Denver , CO
2021       Donabedian Award Lecture: 22nd Annual Donabedian Award
           Lecture: My and Our Debt to Donabedian
           APHA 149th Annual National Meeting. Denver
2021       Learning from Patients: Case Reviews for Diagnostic Error Prevention
           and Improvement / Workshop Co-Chair
           14th International Diagnostic Error in Medicine Conference (virtual)
2021       Better Together: Driving Diagnostic Improvement through
           Communication and Resolution Programs / Workshop Co-Chair
           14th International Diagnostic Error in Medicine Conference (virtual)
2021       Closing the loop on radiology recommendations: Developing and
           applying a taxonomy to track performance of recommended actions /
           Workshop organizer, chair, presenter
           14th International Diagnostic Error in Medicine Conference (virtual)
2021       Safely Starting, Using, and Stopping Drugs: Indications Rx, Cancel Rx
           and ADR Monitoring / Webinar presentation
           U.S. Deprescribing Research Network (USDN)
2021       Background and importance of diagnostic safety: Culture of diagnostic
           safety in medical offices / National webinar
           AHRQ Safety Culture Survey: Diagnostic Safety Supplemental Items
           for Medical Offices,
           https://www.ahrq.gov/sops/events/webinars/dxsafety.htmlwil
2021       Diagnostic Pitfalls: A New Approach to Anticipate, Prevent and
           Minimize Diagnostic Errors / Plenary Keynote
           14th International Diagnostic Error in Medicine Conference (virtual)
2021       Achieving Excellence in Cancer Diagnosis Panel 6: Where do we go
           for the future? / Panelist
           National Academies of Sciences, Engineering, and Medicine virtual
           workshop
2022       Diagnostic Pitfalls: A New Approach to Anticipate, Prevent and
           Minimize Diagnostic Errors/ Webinar
           Coverys (national webinar)
2022       Humanism in Medicine / Presenter
           American College of Physicians (ACP) Annual National Meeting,
           Chicago, IL
2022       Workshop on Advancing Diagnostic Excellence for Older Adults /
           Planning Committee and closing panel presenter
           National Academy of Medicine (NAM), Irvine CA (sponsored by
           Moore Foundation and John Hartford Foundation)




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2022       Closed Loop Diagnostics - AHRQ R18 Patient Safety Learning Laboratories
           /Presenter and Panelist
           AHRQ Patient Safety Learning Laboratories Annual Meeting, Seattle, WA
2023       Presentation on state of the art of indications based prescribing
           National Council for Prescription Drug Programs, (NCPDP)workgroup on
           electronic prescribing, Scottsdale, AZ
2023       Conservative Diagnosis Principles: Relevance to Diagnostic Errors.
           Society for Improving Diagnosis in Medicine Fellows (2022-2023 cohort),
           Cleveland, OH
2023       Improving Cancer Diagnosis (ICDx): Learning from and Supporting
           Historically Marginalized Patients following delayed Cancer Diagnosis.
           (Presentation with T Gallagher) AHRQ DCE Update (virtual session)
2023       Introduction to Diagnostic Error in Medicine, Prenerary Workshop.
           16th International Diagnostic Error in Medicine Conference, Cleveland, OH
2023       Diagnostic Centers of Excellence: Improving Cancer Diagnosis. Plenary
           Panel.
           16th International Diagnostic Error in Medicine Conference. Cleveland
2023       Closing the Loop for Improving Diagnosis—All Roads lead to Scheduling /
           Donabedian Award Session Chair and Presentation .
           APHA 151st Annual Meeting, Atlanta, GA
2024       A framework for assessing the costs of
           delayed diagnosis. RAND Advisory Board. 1/16/2024. Invited speaker.
2024       Virtual Diagnostic Error Conference / Plenary Speaker.
           Iowa Healthcare Collaborative, Des Moines, IA
2024       Diagnostic Errors: #1 Safety Problem and Need for Systemic Solutions.
           Medical Grand Rounds, visiting professor. 2024 William N. Chambers
           Professor at Medicine Grand Rounds on Friday, March 29, 2024 at Dartmouth
           Hitchcock Medical Center. Multiple presentations on Diagnostic Errors,
           quality and safety
2024       Evidence of the Value of Improved Scheduling (Presentation w/ J. Benneyan)
           3/14/2024. National Webinar of Patient Access Collaborative (PAC;
           consortium of leaders from >100 academic health systems, children’s
           hospitals, and cancer centers across U.S.
2024       Presentation on state of the art of indications based prescribing to National
           Council for Prescription Drug Programs, (NCPDP) workgroup on electronic
           prescribing)
2024       Humanism in Medicine / Presenter. American College of Physicians
           (ACP) Annual National Meeting, Boston, MA
2024       Designing for Equity in Healthcare. Incorporating Patient Safety Learning
           Labs (PSLL) Annual Meeting. Presentation and breakout session co-chair.
           9/13/24
2024       Next Steps in Diagnostic Excellence Research. Presentation at Diagnostic
           Excellence 2024 (DEX24). Minneapolis 10/14/24
2024       Improving Cancer Diagnosis (ICDx): Learning from and Supporting Patients
           Experiencing Stage 3-4 Cancer Diagnosis (w/ Tom Gallagher). Inaugural




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                Annual Meeting of the AHRQ Diagnostic Safety Community of Learning.
                Rockville, MD 10/25/24.
 2024           Donabedian Award Presentation to Mark Linzer: 3 Decades of Research and
                Advocacy on Patient Burnout. 24th Annual Donabedian Award Session
                Medical Care Section. American Public Health Assn (APHA) 10/28/24

National Abstract Oral Presentations

 2005           Conceptual Issues in Critical Lab Follow-up: Linking the Work of the AHRQ
                Diagnosis Error and Evaluation Research Project / Oral abstract
                APHA 133rd Annual Meeting, Philadelphia, PA
 2016           Diagnostic Pitfalls: A New Paradigm to Understand and Prevent Diagnostic
                Error / Oral abstract
                SGIM Annual Meeting, Hollywood, FL
International

 1998           Future of Drug Information: Consumer Concerns / Invited lecture
                United States Pharmacopeia, San Jose, Costa Rica
 2003           Electronic linkage of lab and pharmacy data: a powerful DUR lever / Keynote
                Speaker
                Symposium on Drug Utilization Review, XVII Helsinki University Congress
                of Drug Research, Helsinki, Finland
 2007           3 Part Lecture Series on Quality and Patient Safety / Lecture Series
                King Faisal Hospital, Kigali, Rwanda
 2008           Electronically Linking Pharmacy and Data for Better Care / Workshop
                13th Congress of the European Association of Hospital Pharmacists,
                Maastricht, Netherlands
 2009           P4P: Experiences from Abroad / Roundtable
                Canadian Federation of Nurses Unions (via videoconference)
 2010           Introduction to Diagnosis Errors in Medicine / Opening address
                3rd International Diagnosis Error in Medicine Conference, Toronto, Canada
 2012           Kicking the Tires of CPOE Systems: Analysis of systems’ vulnerabilities /
                Seminar
                CUR-IT Meeting, Ottawa, Canada
 2012           Indications Based Prescribing / Invited presentation
                CUR-IT Meeting, Montreal, Canada
 2012           Effective Management of Diagnostic Test Results Clinical Excellence
                Commission of Australia 11/23/12 Keynote Regional Conference to review
                Clinical Focus Report: Review of Data from RCAS and/or IMS Data. Sydney
                Australia
 2012           Diagnostic Error in Medicine: Medical Imaging Interface / Invited
                presentation
                Australasian Imaging Society, Melbourne, Australia
 2014           EMRs and Diagnostic Error in Medicine / Invited presentation
                ISQua 31st International Conference. Rio de Janeiro, Brazil




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 2016         Research Results on Indication Based CPOE Alerts to Prevent Look Alike and
              Sound Alike Drug Name Mix-ups / Panelist
              5th World Congress of Clinical Safety, International Association of Risk
              Management in Medicine (IARMM), Boston, MA
 2017         Diagnostic Errors in Primary Care: Improving Diagnosis in Healthcare and
              Beyond / Invited lecture
              17th Annual Multispeciality Conference: Medical Negligence and Risk
              Management, Center for Human Genetics, Los Cabos, Mexico
 2017         Crossing Profession Patient Boundaries in Healthcare: Risks and Benefits /
              Invited lecture
              17th Annual Multispeciality Conference: Medical Negligence and Risk
              Management, Center for Human Genetics, Los Cabos, Mexico
 2017         The Electronic Medical Record: Vulnerabilities, Liabilities, Opportunities /
              Invited lecture
              17th Annual Multispeciality Conference: Medical Negligence and Risk
              Management, Center for Human Genetics, Los Cabos, Mexico
 2017         Principles of Conservative Diagnosis (repeated twice) / Workshop Leader
              Preventing Overdiagnosis: Towards Responsible Global Solutions, Quebec
              City, Canada
 2017         Learning from and Preventing Diagnostic Errors in Medicine / Invited lecture
              Usher Institute for Population Health Science and Informatics, Edinburgh, UK
 2017         Diagnosis Error: Moving forward from the US National Academy of Medicine
              Report on Improving Diagnosis in Medicine / Seminar
              Newcastle University Medical Sciences Graduate School, Newcastle, UK
 2019         Under-diagnosis vs. over-diagnosis: Trade-off or 2 sides of same coin? /
              Keynote speaker
              2nd Australasian Diagnostic Error in Medicine Conference, Melbourne,
              Australia
 2020         Presentation of 2020 Mark Graber Diagnosis Award to Dr. Carmel
              Crock Australia- Plenary Speaker (virtual)
              Society to Improve Diagnosis in Medicine Annual International
              Meeting
 2022, 2023   Diagnosis Safety / Invited Presentation
              3rd Saudi Arabia Patient Safety Conference. SPSC 2022.

International Abstract Oral Presentations

 2017         Balancing Diagnostic Errors With Conservative Diagnosis: Developing A
              New Paradigm For More Appropriate Diagnosis / Oral abstract
              ISQuA 34th Annual International Conference, London, UK


Report of Clinical Activities and Innovations

Current Licensure and Certification




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1976          Licensed Physician and Surgeon, State of Illinois
1980          Certification, American Board of Internal Medicine
2002-2007     Registered Pharmacy Technician, State of Illinois
2007          Massachusetts Medical License

Practice Activities

1981-2007     Ambulatory Care               Attending (1981-86) and    3-9 one-month
              Inpatient Medicine            Senior Attending Physician Inpatient Rotations /yr
              Inpatient and Outpatient      (1987-2007) Cook County 2-3 outpatient primary
              Medical Consult Service       Hospital Chicago           care clinics/yr
2008-2013     Inpatient Attending           General Medicine Service, 2-4 weeks/yr
                                            BWH
2008-         Ambulatory Care               Phyllis Jen Center, BWH 1 session/week


Report of Technological and Other Scientific Innovations

1986-1993             Computer Program for General Medicine Physician Scheduling (written in
                      Dbase 2 and Dbase 3 code. Used for scheduling 225 CCH GMC
                      physicians and nurse practitioners’ appointments for 250,000+ patient
                      appointments 1986 1993). Also, Emergency Dept/Ambulatory Screening
                      Clinic direct referral appointment scheduling program Dbase3+ for
                      rotating medicine residents.
1988-1997             GMC Physician Practice Group Reports, b) Appointment Slips and Patient
                      Label Masters generator, c) Others (multiple relational database report
                      programs written in R & R Report Writer. Used in CCH General
                      Medicine and Pediatrics Comprehensive Care Clinics 1988-1997. Written
                      in R&R Report Writer coded language
2000-2007             Cook County Hospital Pager System: Download/Mapping Program for
                      Palm 3 (handheld computer). (widely used in CCH system 2000-2007,
                      permitting downloading to palm and Windows-based handheld computers
                      of 2500+ pager and office phone #s for quick look-up on wards and
                      clinics)
2001                  Structured Voice Recognition Program for General Medicine Clinic
                      attending notes and quality tracking (using Dragon 5.0 Professional
                      speech recognition engineer w/ Microsoft Access 97)
2001                  Thyroxine Lab-Pharmacy linkage program (linking SMS laboratory and
                      NDC pharmacy data for tracking patients with missed diagnosis of
                      hypothyroidism) 10/01. Prototype of lab-pharmacy linked data using
                      unique identifier and chronologic serial display of lab data merged with
                      pharmacy records. Used for study published in Arch Intern Med 2005.
2001-2003             General Medicine Clinic patient demographic profiles for Palm Pilot.
                      Access 97 program for downloading from HBO scheduling system,
                      mapping and uploading patient demographic to Palm 3.0 address book.



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                    Widely used by physicians and others to access patient lists and patient
                    demographics. (written w/ A. Rothenberg)
2003                Access Progress for Linking Lab and Pharmacy Data- Presented and
                    distributed at Symposium on Drug Utilization Review (DUR). XVII
                    Helsinki University Congress of Drug Research Helsinki, Finland (written
                    w/ A. Rothenberg)
2003-2006           Medical Consult Services-Rounds List. Designed in Quickbase.com. Used
                    for Cook County Stroger Hospital Med Consult Service 2003-2006
2006                Idea Processor-Word Processing Outlining Innovative program using MS
                    Access and MS Word.
2017-2019           Indications Based Prescribing: PI for project that designed, programmed,
                    tested of innovative prototype CPOE (ordering medications).
2022-2024           Automated interacting texting app for Screening for Adverse Drug
                    Reactions (w/ Health Vector) for Pharmacist to reach of to patients newly
                    started on medications in 3 General Medicine practices.


Report of Education of Patients and Service to the Community

No presentations or publications below were sponsored by outside entities.

Activities

1975-          Blood Donor: American Red Cross/ Life Source Blood Donor/Brigham and
               Woman’s Hospital. Donate every ~8-12 wks
1975-1989      Committee to Save Cook County Hospital/ Founding member, newsletter
               editor, treasurer
1985-2008      Chicago Bicycle Coalition/ Member, Community outreach and fundraising
               Chair
1985           Invited Testimony: Emergency Room Access Issues/ Health Committee,
               Chicago City Council, Chicago IL
1985           Americans at Risk: The Case of the Medically Uninsured, U.S. Senate Special
               Committee Hearings June 27, Washington, DC/Expert Witness
1986           The SCAPHA Advocacy Experience, Central Massachusetts Area Health
               Education Center National Conference on Caring for the Poor, Conway, NH.
1987           League of Women Voters/ Debate Panelist. Debating the Future of Cook
               County Hospital
1989           Effects of University of Illinois and Michael Reese Merger, Schiff GD,
               Goldsmith J, Young QD, Billings Hospital / Debate on Future of Health Care
               in Chicago
1990           Chicago Health Summit Hearings on Future of Health System of Cook
               County/ Invited Testimony
1990           Future of Cook County Hospital and Effects and Maternal and Child Health/
               Debate Panelist. Debate on Chicago Health Summit recommendations at
               Illinois Maternal and Chicago Health Coalition meeting




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1991        Community Renewal Society of Chicago/ Panelist. Features of Australian
            Health System
1991        Chicago Metropolitan Planning Council/ Panelist. Future of Cook County
            Hospital
1992        Canada's Health Care System: A Model for the U.S.?/ Presenter
1992        Debate with American Medical Association.
1992        Debate on Alternatives for National Health Reform, Skokie Illinois
1994        American Council on Consumer Interests: 40th Annual Conference
            Colston Warne Lectureship: Consumer Interest and Health Reform
1995        Illinois Nurses Association/State of Illinois Public Hearings/ Invited
            testimony
            The Quality and Safety of Patient Care
1995        The Future of Health Reform and Quality, 5th Annual Midwest Radical
            Scholars & Activists Conference, Chicago, IL/Presenter
1995-1999   Chicago Public Schools’ High School Science Fair/ Judge
1996        Delaware Consumer Health Care Consortium/ Speaker
1996        Illinois Nurses Association Forum at Democratic National Convention
            Chicago/ Founding/ supporting member, Presenter, Nurses Network for a
            National Health Program
1997        Oakbrook Republican Club/ Presenter The history, role and future of Cook
            County Hospital/ Lecturer
1997        Lecture to Schweitzer Urban Health Medical Student Urban Health Service
            Internship
1999        Lecturer. Our Nation’s Health Care The Forum Club
1999        Implications of universal health care/ Keynote speaker
            Forum for New Priorities Series #6. Presented by Institute for Policy Studies,
            and Committee for New Priorities of Chicago Jobs with Justice
1999-2001   Chicago Public Schools High School Debate/ Judge
1999-2005   Schweitzer Fellows Program/ Faculty
2000        Schackowsky, Jan H.R. 4455 Email Address Forwarding (Portability)
            Act/Author & Initiator
            Bill to require providers of electronic mailboxes to provide forwarding
            addresses. 106th Congress 2nd Session. Bill did not pass into law.
2000        Universal Health Care in the Year 2000, Illinois Campaign for Better Health
            Care, South Suburban Grey Panthers/ Keynote speaker
2000        The 2000 Presidential Election and Health Care Reform: Symposium Budetti
            P, Fegan C, Schiff G. UIC Medical Center. Sponsored by Chicago Area
            Schweitzer Fellows
2001        The Ethics of Managed Health Care Ethical Humanist Society of Greater
            Chicago/ Keynote Presenter
2001        Speaker, Managed care and your care College of Dupage Older Adult Institute
            public policy series/ Speaker
2001-       Chicago Patient Safety Forum (CPSF)/Co-Founder. Steering Committee
            Member (2002-2007). Elected representative to Scientific Council (2004-
            2007).




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2002           How ESL Teachers Ended up Uninsured…and What Can be Done about it?/
               Speaker
2002           2nd Annual Wisconsin Activist's Conference Activism Not Reactivism/
               Keynote speaker and workshop leader Wisconsin Physicians for Social
               Responsibility. Madison WI
2004           Cover the Uninsured Week/ Keynote speaker Policy Forum University of
               Illinois Chicago School of Public Health
2004           Delegation of Vietnam Women’s Union Peace Tour including Bach Mai
               Hospital/ Participant, organizer
2005           Patient Safety and Information Technology-Five Key Issues for Today and the
               Future/ Speaker Chicago Patient Safety Summit. Metropolitan Chicago
               Healthcare Council (MCHC).
2005           Illinois Healthcare Referendum 2006 Speaker Training Workshop/ Keynote
               Speaker
2005           Alternatives for National Health Reform/ Temple KAM Isaiah Israel, Chicago
               Keynote speaker
2005           Debating and Answering the Hard Questions: Physicians for a National
               Health Program Annual Nation Meeting/ Panelist
2005           Debating Concierge Medicine--Concierge Medicine New Horizons in Health
               Care Event/ Debater Union League Club. Business Development Institute and
               Castle Connolly Medical Conference. Chicago IL
2014           Addressing the opioid epidemic by prescribing drugs more rationally Berger
               Health Community Forum 4/22/14. Circleville, OH
2011           Editorial Reviewer. Section on Drug Therapy     Our Bodies Ourselves
               Women’s Health Book 2011 40th Anniversary Edition
2014-2015      Mentor for Job Shadow Day (community high school students mentor)
2015-          Bikes Not Bombs. Fundraising Support

Educational Materials for Patients and the Lay Community

Books, Monographs, Articles and Presentations in Media
1.     Concerned Rush Students*. M.D.’s in the Drug Industry’s Pocket. Science for the People.
       1976; 8(6):6-9, 20. (*member of authorship group)
2.     Schiff GD. Why we need to rebuild cook county hospital, Chicago Tribune (op ed
       article) 1987 pp. unknown.
3.     Schiff GD. Prevention and managed care. New York Times (letter) 3/19/97.
4.     Schiff GD, Blatt M. Sprit of Debate (letter) Tufts Magazine 2000; 8 (1):2-3
5.     Cohen M, Schiff GD. Ban on Generic Drugs Will Proved to be Fatal Mistake. (op-ed
       commentary) Chicago Sun Times. 5/5/2004; pp. 63

Recognition

1990        The Casualties of Cost                 Radio interview, Minnesota Public Radio,
                                                   Saint Paul, MN
1997        Is America’s Health Worse Under        National televised debate, National Public
            Managed Care?                          Television/HBO Studio Debate


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1997       Good or Bad Deal for Patients?              Local televised debate, AMA-Sunbeam
2002       Tour of Cook County Hospital (shown         Television appearance, WTTW, Chicago,
           on historic evening of closing of old       IL
           Cook County hospital building)
2007       Health Care in Cook County                  Television interview, Chicago Tonight,
                                                       WTTW, Chicago IL
2019       Medicare for All                            Radio interview, Bradley Jay Radio
                                                       Program WBZ, Boston, MA
                                                       https://www.iheart.com/podcast/1002-jay-
                                                       talking-28654274/episode/medicare-for-all-
                                                       45589615/

Report of Scholarship

Peer reviewed publications in print or other media

Research investigations

1.     Schiff GD. Using a computerized discharge summary database check box for adverse
       drug reaction monitoring. QRB Qual Rev Bull. 1990; 16:149-155.
2.     Rucker D, Schiff GD. Drug formularies: myths-in-formation. Med Care. 1990;
       28:928-942.
           • Reprinted in Hospital Pharmacy 1991; 26:507-514.
3.     Schiff GD, Hedge HM, LaCloche L, Hryhorczuk DL. Inpatient theophylline toxicity:
       preventable factors. Ann Intern Med. 1991; 114:748-753. Author reply to letters: Ann
       Intern Med. 1991; 115:407-8.
           • Abstracted as a key article of year in Yearbook of Medicine 1992 ;102-106
           • Reprinted as book chapter in Harris AP, Zitzmann WG (eds). Operating Room
               Management: Structure, Strategies, & Economics. Baltimore, MD. Mosby- 1998
               (pages not available)}
4.     Ansell DA, Schiff GD, Dick S, Cwiak C, Wright K. Voting with their feet: public
       hospitals, health reform and patient choices. Am J Pub Health 1997; 88 (3):439-441.
5.     Schiff GD, Aggarwal HC, Kumar S, McNutt R. Prescribing potassium despite
       hyperkalemia: medication errors uncovered by linking laboratory and pharmacy
       information systems. Am J Med. 2000; 109:494-497.
6.     Schiff GD, Wisniewski M, Bult J, Parada JP, Aggarwal H, Schwartz DN. Improving
       inpatient antibiotic prescribing: insights from participation in a national collaborative. Jt
       Comm J Quality Improv. 2001; 27(8);387-402.
           • Lead article in theme issue: Overcoming Antimicrobial Resistance
7.     Schiff GD, Keehr L, Sai TT, Bult J. High Rates of Adverse Effects and Patient
       Unawareness of Withdrawn Lipid Lowering Drug Combination in a Public Hospital
       Clinic. Pharmacoepidemiol Drug Saf. 2002;11(8):643-645.
8.     Schiff GD, Klass D, Peterson J, Shah G, Bates DW. Linking laboratory and pharmacy:
       opportunities for reducing errors and improving care. Arch Intern Med. 2003;163: 893-
       900.


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9.      Schiff GD, Fung S, Speroff T, McNutt RA. Decompensated heart failure: symptoms,
        patterns of onset, and contributing factors. Am J Med. 2003; 114:625-630.
10.     Goldberg D, Schiff GD, McNutt R, Furumoto-Dawson A, Hoffman A, Hammerman M.
        Mailings timed to patients' appointments: a controlled trial of fecal occult blood test
        cards. Am J Prev Med. 2004; 26(5):431-435.
11.     Cram P, Rosenthal GE, Ohsfeldt R, Wallace R, Schlechte J, Schiff GD. Failure to
        recognize and act on abnormal test results: the case of screening bone densitometry. Jt
        Comm J Qual Patient Saf. 2005; 31:90–97.
12.     Schiff GD, Kim S, Krosnjar N, Wisniewski MF, Bult J, Fogelfeld L, McNutt RA. Missed
        Hypothyroidism Diagnosis Uncovered by Linking Laboratory and Pharmacy Data. Arch
        Intern Med. 2005; 165: 574-577.
13.     Parada JP, Schwartz DN, Schiff GD, Weiss KB. Effects of type and level of training on
        variation in physician knowledge in the use and acquisition of blood cultures: a cross
        sectional survey. BMC Infect Dis. 2005; 5:71-79.
14.     Schiff GD, Kim S, Seger AS, Bult J, Bates DW. Ability of practitioners to identify solid
        oral dosage tablets Cook County-Harvard Solid Oral Dosage Identification Study. Am J
        Health Syst Pharm. 2006; 63 (9): 838-843. Reply to letters: Schiff G D, Kim S, et al.
        Issues in medication safety. Am J Health Syst Pharm. 2007; 64(1): 24.
15.     Weiner SJ, Schwartz A, Yudkowsky R, Schiff GD, Weaver FM, Goldberg J, Weiss KB.
        Evaluating physician performance at individualizing care: a pilot study tracking
        contextual errors in medical decision making. Med Decis Making. 2007;27(6):726-34.
16.     Schiff GD, Hasan O, Kim S, Abrams R, Costby K, Lambert BL, Elstein AS, Kabongo
        ML, Krosjnar N, Odwazny R, Wisniewski MF, McNutt RA. Diagnostic Error in
        Medicine: Analysis of 583 Physician-reported Errors. Arch Intern Med.
        2009;169(20):1881-1887.
17.     Raja AS, Wright C, Sodickson AD, Zane RD, Schiff GD, Hanson R, Baeyens PF,
        Khorasani R. Negative appendectomy rate in the era of CT: an 18-year retrospective.
        Radiology. 2010;256(2):460-5.
18.     Crabtree BF, Chase SM, Wise CG, Schiff GD, Schmidt LA, Goyzueta JR, Malouin RA,
        Payne SM, Quinn MT, Nutting PA, Miller WL, Jaén CR. Evaluation of patient centered
        medical home practice transformation initiatives. Med Care. 2011 Jan;49(1):10-6.
19.     Haas JS, Iyer A, Orav EJ, Schiff GD, Bates DW. Participation in an ambulatory e-
        pharmacovigilance system. Pharmacoepidemiol Drug Saf. 2010;19(9):961-9.
20.     Yu S, Galanter W L, Lambert B L, Borkowsky S, DiDomenico R, Schiff GD. Selection
        of drug-laboratory result pairs for an inpatient asynchronous alert program: results of a
        Delphi survey. Am J Health-Syst Pharm. 2011; 68:407-14
21.     Yang Y, McBride MV, Rodvold KA, Tverdek F, Trese AM, Hennenfent J, Schiff GD,
        Lambert BL, Schumock GT. Hospital policies and practices on prevention and treatment
        of infections caused by methicillin-resistant Staphylococcus aureus. A J Health-Syst
        Pharm. 2010; 67(12):1017-24.
22.     Weingart SN, Seger AC, Feola N, Heffernan J, Schiff G, Isaac T. Electronic Drug
        Interaction Alerts in Ambulatory Care: The Value and Acceptance of High-Value Alerts
        in US Medical Practices as Assessed by an Expert Clinical Panel. Drug Saf.
        2011;34(7):587-93.




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23.     Goldberg D, Benson JL, Schiff G, Pandey T. Contributions of public hospitals to
        regional health care: a population-based analysis of the county health care system serving
        metropolitan Chicago. J Health Care Poor Underserved. 2011;22(1):346-58
24.     Steinman MA, Handler SM, Gurwitz JH, Schiff GD, Covinsky KE. Beyond the
        prescription: medication monitoring and adverse drug events in older adults. J Am
        Geriatr Soc. 2011; 59(8) 1513-20
25.     Leung AA, Keohane C, Amato M, Simon SR, Coffey M, Kaufman N, Cadet B, Schiff
        GD, Zimlichman E, Seger DL, Yoon C, Song P, Bates DW. Impact of Vendor
        Computerized Physician Order Entry in Community Hospitals. J Gen Intern Med.
        2012;27(7):801-7.
26.     Haas JS, Klinger E, Marinacci LX, Brawarsky P, Orav EJ, Schiff GD, Bates DW. Active
        pharmacovigilance and healthcare utilization. Am J Manag Care. 2012;18(11):e423-8.
27.     Haas JS, Amato M, Marinacci L, Orav EJ, Schiff GD, Bates DW. Do Package Inserts
        Reflect Symptoms Experienced in Practice?: Assessment Using an Automated Phone
        Pharmacovigilance System with Varenicline and Zolpidem in a Primary Care Setting.
        Drug Saf. 2012;35(8): 623-628
28.     Horsky J, Schiff GD, Johnston D, Mercincavage L, Bell D, Middleton B. Interface
        design principles for usable decision support: A targeted review of best practices for
        clinical prescribing interventions. J Biomed Inform. 2012;45(6):1202-16.
29.     Bitton A, Schwartz GR, Stewart EE, Henderson DE, Keohane CA, Bates DW, Schiff
        GD. Off the hamster wheel? Qualitative evaluation of a payment-linked patient-centered
        medical home (PCMH) pilot. Milbank Q. 2012;90(3):484-515.
30.     Schiff GD, Galanter WL, Duhig J, Koronkowski MJ, Lodolce AE, Pontikes P, Busker J,
        Touchette D, Walton S, Lambert BL.. A Prescription for Improving Drug Formulary
        Decision Making. PLoS Med. 2012; 9(5): 1-7.
31.     Pollard SE, Neri PM, Wilcox AR, Volk LA, Williams DH, Schiff GD, Ramelson HZ,
        Bates DW. How physicians document outpatient visit notes in an electronic health record.
        Int J Med Inform. 2013;82(1):39-46.
32.     Leung AA, Keohane C, Lipsitz S, Zimlichman E, Amato M, Simon SR, Coffey M,
        Kaufman N, Cadet B, Schiff G, Seger DL, Bates DW. Relationship between medication
        event rates and the Leapfrog computerized physician order entry evaluation tool. J Am
        Med Inform Assoc. 2013; 20(e1):e85-90
33.     Roy CL, Rothschild JM, Dighe AS, Schiff GD, Graydon-Baker E, Lenoci-Edwards J,
        Dwyer C, Khorasani R, Gandhi TK. An initiative to improve the management of
        clinically significant test results in a large health care network. Jt Comm J Qual Patient
        Saf. 2013;39(11):517-27.
34.     Leung AA, Schiff G, Keohane C, Amato M, Simon SR, Cadet B, Coffey M, Kaufman N,
        Zimlichman E, Seger DL, Yoon C, Bates DW. Impact of vendor computerized physician
        order entry on patients with renal impairment in community hospitals. J Hosp Med. 2013;
        8(10): 545-552.
35.     Houser SH, Ray MN, Maisiak R, Panjamapirom A, Willing J, Schiff GD, English T,
        Nevin C, Berner ES. Telephone follow-up in primary care: can interactive voice response
        calls work? Stud Health Technol Inform. 2013;192:112-6.
36.     El-Kareh R, Hasan O, Schiff GD. Use of health information technology to reduce
        diagnostic errors. BMJ Qual Saf. 2013;22 Suppl 2:ii40-ii51.




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        2020 National Annual Meeting. Accepted Poster Presentation
5.      Bennett S, Mirica M, Wright A, Volk L, Salazar A, Shah S, Khazem M, Eguale T, Schiff
        GD. Designing and Deploying a Pharmacist-Mediated Adverse Drug Reaction
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6.      Ramos JM, Mirica MM, Schiff GD. Are clinicians adhering to the 2018 USPHTF PSA
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Narrative Report

I have been working in quality improvement, patient safety, and health IT, as a practitioner,
teacher, researcher, institutional leader, and patient and policy advocate for more than four
decades. My main areas of interest and contribution have been in the area of diagnosis and
medication errors/safety, health information technology, primary care quality improvement, and
patient advocacy.

Working at Chicago’s Cook County Hospital and Rush Medical College/University I led the
Hospital’s Quality Assurance/Improvement, and Pharmacy and Therapeutics (Formulary)
Committees, was Medical Director of the General Medicine Clinic, and was full Professor of
Medicine at Rush. I was recruited by Dr. David Bates to be the Associate Director of the BWH
Center for Patient Safety Research and Practice in 2007. I have continued in that role and have
also served (since 2016) as Quality and Safety Director of the Harvard Medical School Center
for Primary Care, and for the past four years Course Director for the HMS Master of Healthcare
Quality and Safety Special Topics Course, while leading a series of externally funded projects
over the past 13 years.

My recent projects and contributions include being PI leading:




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-AHRQ-funded malpractice and safety statewide randomized controlled trial —the PROMISES
Study; demonstrated the impact of a primary care improvement collaborative and coaching on
reducing safety risks.

-Multi-institutional project funded by the FDA examining electronic prescribing safety risks
(CPOEMS; produced an FDA White Paper, new taxonomy, and multiple articles illuminating
CPOE-related errors and ways to prevent).

-Succession of 4 innovative diagnosis error safety projects funded by CRICO (most recently
Diagnostic Pitfalls -collating and analyzing hundreds of diagnostic pitfalls from specialty focus
groups and malpractice claims; MD-SOS developing and testing new diagnostic process metrics
and their correlation with PCP burnout, stress and encounter times).

-AHRQ- Indications Rx Project where we designed an innovative electronic prescribing protype
which outperformed Epic and Cerner in terms of safety, speed and clinician satisfaction.

-AHRQ – CoPI on a 2022-2026 R18 Grant to create a Diagnostic Center for Excellence (BWH
lead center, in collaboration with Tom Gallagher, University of Washington), which will bring
together the two field of diagnostic improvement with communication and resolution programs.
The project will enroll 240 patients with advanced cancers to both learn about potential
opportunities for improvement in their diagnostic journeys, as well as support patients in
obtaining transparent answers to their concerns about potential delays.

-Two current major medication safety projects funded by the Moore Foundation:
1) Conservative Prescribing, a $2 million project for creating and testing new metrics for
clinician prescribing practices, consortium of VA, Northwestern, UIC, and Brigham for which I
am the overall PI. This project also developed an IHI Open School course to teach rational
prescribing principles (>3,000 students completed course in just 1st 4 months).
2) Adverse Drug Reaction Surveillance -using automated electronic outreach to patients to
patients newly started on medications, building on our successful AHRQ-CEDAR (Calling for
Early Detection of Adverse Reactions, which used IVR phone outreach) using patient portals and
texting to screen patients for adverse reactions.

We are currently in the second round of funding and projects for the Moore Foundation funded
PRIDE (Primary-care Research in Diagnosis Errors (PRIDE) Learning Network PRIDE project
for which I am the PI. This project is a collaborative with the State of Massachusetts Dept of
Public Health Betsy Lehman Center for Patient Safety which centers on collecting, learning from
and sharing diagnostic error cases and issues. We have published 9 AHRQ Web M&M Case in
depth case discussions from the PRIDE Project at https://psnet.ahrq.gov/psnet-collection
We are developing the PRIDE Toolkit to facilitate statewide dissemination and spread of this
work. https://psnet.ahrq.gov/psnet-collection This past year I have been part of speaking and
planning for 2 National Academy of Medicine Conferences on Diagnostic Excellent (one related
to cancer, upcoming one on diagnosis in elderly patients).




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Through these projects and others, we have helped transform understanding and classification of
diagnostic errors (through the development of the widely used DEER Taxonomy for classifying
where in the diagnostic process errors occur), identified multiple design and workflow
vulnerabilities and areas for prescribing safety improvement (by collating safety reports from
multiple institutions, performing a series of vulnerability tests, directly querying clinicians in real
time about erroneous prescriptions), developed multiple practical tools and interventions to
detect, increase situational awareness, and provide clinical decision support to prevent
medication and diagnostic errors (including publication of a series of recommendations), and
educated tens of thousands of clinicians and safety researchers (through national webinars, grand
rounds, and conference presentations).

From 2010-2014, I chaired the CRICO (Harvard Risk Management Foundation) Ambulatory
Risk Management (ARM) Leaders Group. In that role I helped lead the development of the
Building Risk Management/Patient Safety Bridges to Outpatient Networks Program, which
provided $5 million in funding to support creation of the first-ever ambulatory risk/safety
programs (hiring Ambulatory Risk Manager and building safety infrastructure) in 10 Harvard
academic institutions. Since 2010, I have been co-Director the BWH Ambulatory M&M
Conference and in that capacity prepared and presented multiple highly interactive didactic
sessions which I continue to co-lead.

Previously I supervised residents in the ambulatory clinics and general medical inpatient services
(for 25 years at Cook County and 1st five years working at BWH). More recently my HMS
teaching activities have been through a series of course teaching roles and mentoring. I served as
a lead faculty for the HMS Center for Primary Care Academic Improvement Collaborative (AIC-
CARES) as well as faculty and Core Steering Committee member for the AHRQ Engineering
High Reliability Learning Lab (faculty for multiple Learning Sessions for these 2 projects based
in the HMS Center for Primary Care, Harvard School of Public Health, and the Northeastern
Healthcare Systems Engineering Institute). In each of these projects we brought together
participants from multiple Harvard institutions for one-to-two day learning sessions to present
didactic sessions as well as lead small group workshops and discussions related to quality
improvement activities and engineering reliability and design concepts.

Since 2012, I have been the Assistant Director of the HMS-CRICO Best Medical Practice
Maximizing Skills, Minimizing Risk course as well as lecturer at each of the (mostly) annual
course sessions. I serve as faculty (Capstone reviewer/mentor; lecturer) for the HMS Global
Safety Quality, Informatics and Leadership (SQIL) program), and am now the Course Director
for the HMS Master’s Program in Quality and Safety Special Topics course. As special topics
course director I prepared and presented 8 two-hour sessions as well as oversaw an additional 5
sessions.

I have been a member of the editorial board of Medical Care since 1997 and have served as its
Chair since 2011. I have also served on the editorial board of the Joint Commission Journal on
Quality and Safety and am currently a member of the Editorial board of BMJ Quality & Safety—
two leading quality and safety journals. I am also a long-time member of the editorial board for
the Journal of Public Health Policy. I have served as the guest-editor for special issues for three
of these four journals (all but BMJ QS). I am the author of a new chapter, Chapter 9 in the 21st



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Edition of Harrison’s Principles of Internal Medicine entitled “Diagnosis: Reducing Errors and
Improving Quality.”

Awards/honors include: Institute of Medicine Chicago Leader of the Year, Institute for Safe
Medical Practice (ISMP) Lifetime Achievement Award, Modern Healthcare Top 30 Leaders of
the Future, and BWH President’s Recognition Award for Extraordinary Service to Patients
(2017) and Partners in Excellence Award (2018), and the Mark Graber Diagnostic Quality
Award from the Society to Improve Diagnosis in Medicine (2019), and the John M. Eisenberg
Patient Safety and Quality 2019 lifetime achievement award (with a lengthy interview published
in the July 2020 Joint Commission Journal of Quality and Safety). In 2020 my “Piece of My
Mind” article on professional patient boundaries was featured by JAMA as one of the top
personal essays in the past 40 years. In 2021, I was awarded the Avedis Donabedian Quality
Award from the American Public Health Association Medical Care Section. In 2024 the
editorial that Bruce Lambert and I wrote in 2022 on the Radonda Vaught medication error has
been awarded the 2024 Editor’s Choice Award the Journal of the American College of Clinical
Pharmacy (JACCP) for the top article in the past 2 years.




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               EXHIBIT 2
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Multiple Missed Opportunities for
Suicide Risk Assessment in Emergency
and Primary Care Settings
Jane L. Erb, MD, Sejal B. Shah, MD and Gordon D. Schi!, MD |
January 7, 2022
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The Case
An 18-year-old man with a reported history of untreated
depression and suicide attempts at age 13 (with cutting
behaviors and over-ingestion of medication), but no history of
psychiatric hospitalizations, was seen in the Emergency
Department (ED) with a chief complaint of suicidal ideation. He
reported feeling more depressed lately. He had been open with
his older brother about suicidal thoughts for some time, but 2
days prior to presentation, he became intoxicated and reported
having purchased a gun, but did not disclose details. After the
brother disclosed this information to their mother, emergency
medical services (EMS) brought the patient to a local ED. He
initially reported taking 10 ibuprofen tablets, although he later
denied this quantity.

The patient was not on any psychiatric medications and did not
have an outpatient therapist or psychiatrist. He denied auditory
and visual hallucinations, had no somatic complaints, denied
illicit substance use but did endorse alcohol use and occasional
cannabis use. He had stable vital signs, was calm and
cooperative, and displayed a stable a!ect. Due to suicidal
ideation, he was placed on safety hold and a psychiatric
consultation was requested. Laboratory studies were only
remarkable for a positive cannabis result on urine toxicology
screen. The Psychiatry team’s recommendation was for

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discharge with outpatient therapy. The patient’s mother agreed
with this plan. He was discharged with outpatient resources,
the crisis hotline phone number, and strict return precautions.

One month later, the patient had his first visit with his new
primary care physician (PCP). He was again sent to an ED after
he described a suicidal gesture consisting of superficial cutting
of his wrist with a kitchen knife several days earlier, which he
stated was in reaction to a recent romantic disappointment. In
the ED, he was placed on emergency hold civil commitment for
“persons posing risk of serious harm by reason of mental
illness.” However, he stated that the thoughts of hurting himself
had passed quickly, and he had no plan to hurt or kill himself or
anyone else. He denied any safety concerns at home--he
reported living alone but was looking forward to moving in with
his brother in 1 week and noted strong family support in the
area. He cited future-orientation including enjoying working in a
hotel. The Psychiatry team recommended that the patient was
safe for discharge with outpatient follow-up, which was
arranged. They also recommended that patient start an
antidepressant medication, but the patient declined, stating he
does not like to take medications.

Ten days later, the patient had a follow-up phone visit with his
PCP. He mentioned that two days prior, he had been up all-night
sending texts to a girl and felt “manic,” or restless with racing
thoughts. He reported recurrent thoughts of harming himself
but no plan and no self-injurious behavior. He thought that he
would be able to manage these feelings himself as he did not
want to kill himself and did not want to go to the ED again. The
only medication he expressed interest in taking was “a
stimulant for his ADHD,” which he self-diagnosed due to his
impulsivity. The patient’s PCP felt he would likely benefit from
inpatient psychiatric care but documented that he denied
suicidal ideation or an active plan. Nonetheless, the PCP was
quite concerned and scheduled a therapy appointment for the

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next day, with a plan for the therapist to call the patient later in
the day.

Later that day, the patient was found with a loaded gun in a
hotel room. He said he was about to shoot himself in the head.
He called his mother, who called the police, who quickly came
and took him to the ED for the third time. There he was
evaluated and involuntarily admitted to an inpatient psychiatric
hospital for five weeks. He was ultimately discharged with a
diagnosis of “Bipolar 1 – moderate-severe with mixed features.”
Suicide risk at discharge was assessed as being “chronic risk
which was mildly elevated,” although he did well with no known
instances of suicidality or suicide attempts in the next six
months of follow-up.

The Commentary
By Jane L. Erb, MD, Sejal B. Shah, MD and Gordon D. Schi!, MD

Few considerations are more critical than identifying a person at
risk for taking their own life. The frequency of suicide is
distressingly high—every year 800,000 people globally, of whom
nearly 50,000 reside in the U.S, die by suicide. In 2019 in the
U.S., 12.0 million adults had serious thoughts of suicide of whom
3.5 million made suicide plans and 1.4 million attempted suicide
with suicide rates rising every year over the past two decades.1
While this past year has been an exception, in that suicide rates
slightly decreased in 2020 for reasons that are not well
understood, we know that COVID-19 has also increased many
stresses and risk factors such as social isolation,
unemployment, substance use, and depression, and there is
worry that any downward trends in suicide rates may not
continue.2

While a large published series of all types of diagnostic errors in
medicine found that “failure to consider” a particular diagnosis
was the leading contributor to misdiagnosis, failure to consider

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suicide risk was not the problem in the current case.3 The
patient had recently been seen twice in the ED, and he had
several contacts with his primary care clinician, all of whom
worried about and weighed this risk. We can debate whether
the ultimate diagnosis of bipolar disorder might have been
made earlier, the diagnosis that he was at risk for suicide was
strongly considered, although in hindsight one could argue this
risk was not considered seriously enough.This “near miss”
illustrates many of the issues and challenges that primary care
and mental health provider face in assessing and helping such
patients.

In clinical medicine, patients are generally forthcoming with
their medical history, symptoms, concerns, and plans. However,
some patients who are seriously contemplating suicide hide
their thoughts or intentions out of shame or because they do
not want to be detected and stopped. A recent meta-analysis
examining the sensitivity of inquiring about suicidal thoughts
showed that the overall pooled sensitivity was 41%, and in non-
psychiatric settings (e.g., general medical practices), the
sensitivity was only 22%.4 Another meta-analysis of more
sophisticated prediction models concluded that while they did
identify some patients at risk and helped classify overall
population-level risks, they had low positive predictive values
with high false positive and false negative rates if implemented
in isolation (“their accuracy in predicting a future event is near
zero”).5,6 These sobering findings have important implications
for our ability to use simple screening questions (such as
question #9 in the PHQ-9, which asks patients whether they
had “thoughts that you would be better o! dead, or thoughts of
hurting yourself in some way”). Numerous studies have shown
that the PHQ-9 is neither sensitive nor specific enough to
predict imminent suicide. An analysis of > 200,000 PHQ-9s
showed that a positive screen on question #9 was associated
with an increased risk over days to months but was not good at
predicting acute risk for an individual patient.6,7

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Approaches to Improving Safety

Nonetheless, a variety of understandings and tools can help us
better assess patients. First is having knowledge of which
populations are at higher risk of suicide and factors that
increase or reduce risk. High risk groups include male sex, being
young, veterans, Indigenous tribes, lesbian, gay, bisexual,
transgender, queer/questioning (LGBTQ).8 Factors such as
serious mental illness, prior suicide attempts and self-harming
behavior, alcohol or substance use, serious recent illness or
diagnosis, physical pain, a history of trauma or recent loss, and
severe anxiety or insomnia, to name a few, are associated with
increased risk of suicide. Risk factors can be divided into non-
modifiable risk factors (sex, family history) and modifiable risk
factors, which include protective factors such as having a stable
and meaningful job and family/friend support. The Joint
Commission now recommends that all patients with behavioral
health risk factors receive screening further assessment and
screening with one of the validated tools they have identified.9

The second is having a continuing care connection and carefully
following the patient. In one study, about 45% of patients who
died by suicide visited a primary care physician in the preceding
30 days.10 In many cases, there are identifiable opportunities to
help the patient overcome issues such as social isolation, refer
for additional help, provide resources (particularly telehealth
access), and prevent or minimize access to lethal means such
as firearms and pills. And, as in many other chronic diseases, a
long term, trusting, personal relationship with a primary care
provider can help in improving access, assessments, and
accuracy of decision making.

Finally, standardized screening tools should be routinely
available, utilized, and their results documented and acted upon
in the patient’s medical record. Although there insu"cient
evidence to recommend any one tool,11 several mentioned by
the Joint Commission and the national Zero Suicide initiative,9

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one widely used tool they recommend and which we favor is the
Columbia Suicide Severity Rating Scale (C-SSRS) Screener.12-14 It
is among the best evidence-based tools to help screen for and
triage risk for suicidal behavior.15 It has a demonstrated ability
to identify those at higher imminent risk for suicide and thus
direct resources to those at highest risk. It consists of 2
versions-one for initial screening and a second for follow-up. It
has both better specificity (99%) than the final question of the
PHQ-9 (fewer false positive responses) as well as higher (93%)
sensitivity.14 After two questions about wishing one were dead
and/or having actual thoughts of killing oneself, any positive
findings open a branch of three additional questions to delve
further into whether one is thinking about methods of suicide
and having any intent or preparatory behavior. Everyone,
regardless of their answers about suicidal thoughts, is then
asked about any history of attempting suicide, including just
starting to attempt or preparing for an attempt, and how long
ago that was. Using the C-SSRS does not require mental health
training, as it was designed for use by clinicians as well as non-
clinicians such as police, clergy, school counselors, crisis
hotlines, and paramedics. It is publicly available in over 100
languages.13

Importantly, the C-SSRS does not solely rely on patients’
volunteering of suicide ideation but collects information about
actual behaviors. This means that the questioner can seek out
and include information from multiple sources (e.g., in our case,
the patient’s brother, or in other cases a patient’s spouse or
even the presence of a suicide note). At-risk behaviors are
assessed in relation to their connection with intention to use
them to attempt suicide rather in than a disconnected way (e.g.,
superficially cutting his wrist but no intention of killing himself).
This markedly improves the accuracy, especially the specificity,
of the screening.

One of the reasons it is important to improve not only the

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sensitivity of a screening tool, but also its specificity, is to
prevent false positive conclusions and suboptimal resulting
actions. Family members, PCPs, or mental health sta! might
feel it safer to send individuals to an ED anytime there is the
slightest concern of suicide. Viewed through the lens of
hindsight bias, any time a patient attempts to take one’s life,
everyone involved may wish they had taken such an action. The
problem is that repeatedly sending a patient to the ED has its
own side e!ects and often is not the optimal way to help a
patient in serious mental distress. Here, we are not simply
referring to prioritizing limited ED and psychiatry resources
(although we always should be mindful of these considerations),
but rather what is best for the patient. If patients who do not
have a high acute risk for suicide are reflexively sent to the ED,
they risk spending many hours waiting to be “cleared” and
receiving little more than a one-time psychiatric safety risk
assessment. Unfortunately, up to 70percent of patients who
leave the ED after an evaluation for suicidal ideation or behavior
never attend their first follow-up appointment.16 Most
importantly, when patients learn that expressing any thoughts
of suicide results in being sent to the ED, they may be less likely
to honestly share their thoughts or to seek mental health help
in the future.

The best answer to this dilemma lies in more far-reaching
upstream prevention e!orts. First, it is crucial to recognize that
just over half of individuals who attempt suicide do not have an
established mental health history listed in their health record.
About 54% of individuals who died by suicide in 27 states in
2015 had not received a clinical diagnosis of a mental illness at
time of death (and attributed to relationship, substance use,
health, financial, job crises).17,18 In fact, Parkland Health and
Hospital System in Dallas elected to begin screening all
inpatients, outpatients, and emergency room patients using the
Columbia screening tool.19 At the very least, one should
consider screening any patient presenting in any setting in

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distress or who otherwise has significant risk factors, such as
recent perceived loss, new diagnosis of serious health issue,
financial or job crises, or being treated for a major psychiatric
disorder. If the screening shows someone is at an elevated risk,
then a more detailed analysis of other factors that contribute to
risk as well as protective factors should be routine. In addition
to potentially identifying individuals at risk, consider the
destigmatizing benefits of inquiring about mental health as a
routine matter and making it clear that it is an important
component of one’s general health. Not over or under-reacting
to suicidal thoughts or behaviors will also promote patients
being more open with their clinicians.

Once the assessment is done, then safety planning is another
key component, which consists of a brief intervention, jointly
developed by a clinician and patient, that plan for coping and
support.20 It includes an agreed upon plan for ways to manage
thoughts of suicide between provider visits, steps to reduce
access to lethal means, and supports that the patient can
access.21 Additionally, any interventions that can reduce
modifiable risk factors should be implemented. This approach
should replace the use of “no-harm contracts,” a practice that
many consider to be ine!ective, disrespectful, and at times
even harmful in that these “contracts” can drive a wedge
between caregivers and patients.21-23 Much better is to jointly
develop a plan that respectfully builds upon patients’ innate
resiliency and problem-solving capabilities, including a series of
“what-if” scenarios of what to do if suicidal feelings start to
intensify.

Providing optimal suicide prevention requires leadership support
and a competent workforce. Unfortunately, most health
professionals enter the workforce unprepared to work with
suicide-related ideation and behavior.24,25 It will also likely
require additional resources, something even committed leaders
will be challenged to dedicate in this pandemic era where

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resources are even more stretched and stressed.26,27

While in the past, treatment for suicidal patients has mostly
focused on the underlying mental health disorder, evidence now
supports directly targeting suicidal thoughts and behaviors with
approaches such as cognitive behavioral therapy and dialectical
behavior therapy, and collaborative assessment.21

It is worth highlighting the important fact that firearms are the
leading cause of death by suicide, and thus it is important to
inquire whether an individual has access to a firearm.28 While
not every gunshot wound results in death, this method is not
only the most likely to kill, but the time involved is so short that
there is little opportunity for the attempt to be aborted by the
individual or interrupted by another person.28,29 Gun and
ammunition storage practices may be relevant for preventing
unintentional injuries, but a gun safe is not safe if an individual
with a suicide plan knows the combination. According to a
recent review discussing the most promising approaches for
decreasing self-harm, e!orts to decrease the case-fatality rate
from suicide attempts by restricting access to firearms remain a
high priority, especially in the United States.29,30 However, as
the authors stated, such approaches have been slow to be
implemented in the US, given the high prevalence of gun
ownership and the political influence of the opponents of
firearm safety policies.31

Death by suicide is a public health crisis. Healthcare providers
often feel ill-equipped to identify and manage patients who are
at high psychiatric safety risk. With the use of evidence-based
tools, engagement with patients and an understanding that
health care providers can be a “lifeline,” the interventions
described above may begin to turn the tide in this crisis.

Take Home Points
        As do many other clinicians and families, the primary care


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        team, ED doctors, psychiatry consultants, and family
        struggled with the challenges of trying to help this young
        man who was in various ways reporting thoughts and
        behaviors suggesting risk of self-harm and possibly suicide.
        Screening for suicide risk, while a critical step in
        potentially preventing death or injury by suicide, is fraught
        with additional challenges centering around the poor
        sensitivity and specificity of many of the screening tools.
        The widely used PHQ-9 question about suicide has poor
        sensitivity and specificity. A much better screening tool we
        recommend is the Columbia-Suicide Severity Rating Scale
        Screener which can be administered by both clinicians and
        non-clinician individuals who have been trained in its use.
        So called “no harm contracts” are best avoided and,
        instead, replaced with approaches that emphasize joint
        planning that more respectfully builds upon patients’
        innate resiliency to self-soothe, build upon one’s protective
        factors and reduce those risk factors that are modifiable,
        and problem-solve ways to create a series of “what-if”
        scenarios of what to do if suicidal feelings start to
        intensify
        Firearms are the leading means of fatal suicides in the U.S.
        E!ort to ensure patients at risk for suicide do not have
        access is critical
        There is a bidirectional and undoubtedly complicated
        relationship between substance use and suicide. The
        longer-term mental health and suicide impacts of the
        COVID-19 pandemic are di"cult to predict, but there are
        many reasons for concern.

Jane L. Erb, MD

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Discussants : Jane Erb, Sejal B. Shah and Gordon D. Schiff



Few diagnoses are more critical, and difficult to accurately make, than correctly diagnosing a person
about to, or at risk for taking their own life. The frequency of suicide is truly daunting—every year
800,000 people globally of whom nearly 50,000 reside in the U.S, die by suicide. In 2019 in the U.S., 12.0
million adults had serious thoughts of suicide of whom 3.5 million made suicide plans and 1.4 million
attempted suicide with suicide rates rising every year over the past 2 decades. (REF)

While a large published series of all types of diagnostic errors in medicine found “failure to consider” a
particular diagnosis to be the leading contributor to misdiagnosis, in our patient this type error was not       Commented [GS1]: Schiff, Gordon D., Omar Hasan,
the problem. He had recently been seen twice in the emergency department, as well as had several                 Seijeoung Kim, Richard Abrams, Karen Cosby, Bruce
                                                                                                                 L. Lambert, Arthur S. Elstein et al. "Diagnostic error in
contacts with his primary care clinicians (including earlier the same day he went to a hotel room with a         medicine: analysis of 583 physician-reported
loaded gun and a plan to kill himself) all of whom worried about and weighed this diagnosis. Thus, while         errors." Archives of internal medicine 169, no. 20
                                                                                                                 (2009): 1881-1887.
the suicide risk was strongly considered, in hindsight one could argue this risk was not considered
seriously enough. This “near miss” illustrates many of the issues and challenges primary care and
mental health practitioners face in assessing and helping such patients.

In clinical medicine, patients are generally forthcoming with their medical history, symptoms, concerns,
and plans. However, this is not always the case in patients in patients who are seriously contemplating          Commented [GS2]: Association between suicidal ideation
suicide, who not infrequently hide their thoughts or intentions out of shame or because they don’t want          and suicide: meta-analyses of odds ratios, sensitivity,
to be detected and stopped. A recent meta-analysis examining the sensitivity of inquiring about suicide          specificity and positive predictive value

showed that the overall pooled sensitivity was 41%, and in non-psychiatric settings (e.g. general medical        BJPsych Open Highlight Articles
practices such as our patient), the sensitivity was only 22%. Another metanalysis of more sophisticated          Published online by Cambridge University Press: 31 January
prediction models concluded that while they did help classify overall population level risks, they had low       2019
                                                                                                                 Catherine M. McHugh Amy Corderoy Christopher James
positive predictive value and with high false positive and considerable false negative rates if                  Ryan
implemented in isolation (“their accuracy in predicting a future event is near zero”). This data is
                                                                                                                  Commented [GS3]: Prediction Models for Suicide
sobering and humbling and has important implications for our ability to use simple screening questions            Attempts and Deaths A Systematic Review and
(such as question #9 in the PHQ-9 which asks patients whether they had “Thoughts that you would be                Simulation
                                                                                                                  Bradley E. Belsher, PhD1,2; Derek J. Smolenski, PhD,
better off dead, or thoughts of hurting yourself in some way”). Numerous studies have shown that the              MPH1; Larry D. Pruitt, PhD1; et alNigel E. Bush,
PHQ-9 is neither sensitive nor specific enough to predict imminent suicide including an analysis of >             PhD1; Erin H. Beech, MA1; Don E. Workman, PhD1,2;
                                                                                                                  Rebecca L. Morgan, PhD, MPH3; Daniel P. Evatt,
200,00 PHQ-9’s that showed that a positive screen on questions #9 was associated with an increased                PhD1,2; Jennifer Tucker, PhD1; Nancy A. Skopp, PhD1
risk over days to months, but was not good at predicting acute risk for an individual patient.                    Author Affiliations
                                                                                                                 JAMA Psychiatry. 2019;76(6):642-651
Nonetheless a variety of understandings and tools can help us better assess patients. First is having            Commented [GS4]: 1. Na PJ, Yaramala SR, Kim JA, et al. The
knowledge of which populations are at higher risk of suicide. High risk groups include male sex,                 PHQ-9 item 9 based screening for suicide risk: a validation
veterans, Indigenous tribes, Lesbian, gay, bisexual, transgender, queer/questioning (LGBTQ) as well as           study of the Patient Health Questionnaire (PHQ)-9 Item 9
                                                                                                                 with the Columbia Suicide Severity Rating Scale (C-SSRS). J
more obvious populations such as those with serious mental illness, prior suicide attempts,                      Affective Disorders, 2018, 232:34-40
ideation/attempts, alcohol or substance use, serious recent illness or emotional distress trauma or loss,        2. Simon GE, Rutter CM, Peterson D, et al. Does response on
history of recent trauma or loss.). Risk factors for assessing a particular patient can be divided into static   the PHQ-9 depression questionnaire predict subsequent
                                                                                                                 suicide attempt or suicide death? Psychiatr Serv, 2013 Dec
non modifiable risk factors (sex, family history), modifiable risk factors which include protective factors      1;64(12):1195-1202
such as having a stable job and family support.

The second is “knowing” and more carefully following the patient. Data shows that 45% the patients               Commented [GS5]: Mann, J. John, Alan Apter, Jose
                                                                                                                 Bertolote, Annette Beautrais, Dianne Currier, Ann
who die by suicide visited a primary care physician in the preceding 30 days.(REF) In many cases there           Haas, Ulrich Hegerl et al. "Suicide prevention
are identifiable opportunities to better help the patient overcome issues such as social isolation, refer        strategies: a systematic review." Jama 294, no. 16
                                                                                                                 (2005): 2064-2074
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general medical practices), the sensitivity was only 22%.4 Another meta-analysis of more
sophisticated prediction models concluded that while they did help classify overall population-
level risks, they had low positive predictive values with high false positive and false negative
rates if implemented in isolation (“their accuracy in predicting a future event is near zero”).5,6
These sobering findings have important implications for our ability to use simple screening
questions (such as question #9 in the PHQ-9, which asks patients whether they had “thoughts
that you would be better off dead, or thoughts of hurting yourself in some way”). Numerous
studies have shown that the PHQ-9 is neither sensitive nor specific enough to predict imminent
suicide. An analysis of > 200,000 PHQ-9s showed that a positive screen on question #9 was
associated with an increased risk over days to months but was not good at predicting acute risk
for an individual patient.6,7

Approaches to Improving Safety

Nonetheless, a variety of understandings and tools can help us better assess patients. First is
having knowledge of which populations are at higher risk of suicide and factors that increase or
reduce risk. High risk groups include male sex, being young, veterans, Indigenous tribes,
lesbian, gay, bisexual, transgender, queer/questioning (LGBTQ).8 Factors such as serious
mental illness, prior suicide attempts and self-harming behavior, alcohol or substance use,
serious recent illness or diagnosis, physical pain, a history of trauma or recent loss, and severe
anxiety or insomnia, to name a few, are associated with increased risk of suicide. Risk factors
can be divided into non-modifiable risk factors (sex, family history) and modifiable risk factors,
which include protective factors such as having a stable and meaningful job and family/friend          Commented [RS(7]: Is there a recommendation that
support.                                                                                               these higher risk individuals be automatically screened?
                                                                                                       Commented [SSB8R7]: There is a Joint Commission
The second is having a continuing care connection and carefully following the patient. In one          recommendation to screen all patients who present to the
study, about 45% of patients who died by suicide visited a primary care physician in the               hospital setting with a behavioral health complaint. This is
preceding 30 days.9 In many cases, there are identifiable opportunities to help the patient            in hopes of capturing as many patients as possible with a
                                                                                                       screening tool.
overcome issues such as social isolation, refer for additional help, provide resources
(particularly telehealth access), and prevent or minimize access to lethal means such as               Commented [GS9R7]: Goal of identifying patients will
firearms and pills. And, as in many other chronic diseases, a long term, trusting, personal            automatically capture the patients at higher risk If coming
relationship with a primary care provider can help in improving access, assessments, and               in with a behavioral health.. .. Not just recommendation but
                                                                                                       mandate. Our hope is new standard of care get screen w/
accuracy of decision making.
                                                                                                       CC RS

Finally, standardized screening tools should be routinely available, utilized, and their results       Commented [RS(10]: I think it would be helpful to
documented and acted upon in the patient’s medical record. We favor the Columbia Suicide               discuss additional screening tools in more detail. Although
                                                                                                       your recommendation that C-SSRs may be the best
Severity Rating Scale (C-SSRS) Screener,10-12 which is among the best evidence-based tools to
                                                                                                       screening tool, it would be helpful to describe a few other
help screen for and triage risk for suicidal behavior. It has a demonstrated ability to identify       tools (with sensitivity and specificity) and other components
those at higher imminent risk for suicide and thus direct resources to those at highest risk. It       important in a screening tool. In an older manuscript,
consists of 2 versions-one for initial screening and a second for follow-up. It has both better        Giddens JM et al. Innov Clin Neurosci 2014;11:66-80
specificity (99%) than the final question of the PHQ-9 (fewer false positive responses) as well as     challenged that type I and II errors may not be controlled in
higher (93%) sensitivity.12 After two questions about wishing one were dead and/or having              C-SSRs. Has this been settled?
actual thoughts of killing oneself, any positive findings open a branch of three additional            Commented [SSB11R10]: I’m definitely not the expert in
questions to delve further into whether one is thinking about methods of suicide and having any        this—Jane may be better suited to answer this.
intent or preparatory behavior. Everyone, regardless of their answers about suicidal thoughts, is
                                                                                                       Commented [GS12R10]: Finise             appease we are
then asked about any history of attempting suicide, including just starting to attempt or preparing    aware there are multplle validated tools our health system
for an attempt, and how long ago that was. Using the C-SSRS does not require mental health             believes int eh validity of this easy to train and administter
training, as it was designed for use by clinicians as well as non-clinicians such as police, clergy,   efficient no official endorsement all colleagues in ED
school counselors, crisis hotlines, and paramedics. It is publicly available in over 100               using this across country
languages.11                                                                                           Commented [GS13R10]: Disclaimer not endorsing but
                                                                                                       finese
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showed that the overall pooled sensitivity was 41%, and in non-psychiatric settings (e.g.,
general medical practices), the sensitivity was only 22%.4 Another meta-analysis of more               Deleted: did
sophisticated prediction models concluded that while they did identify some patients at risk and       Commented [RS(6]: Is there a recommendation that
helped classify overall population-level risks, they had low positive predictive values with high      these higher risk individuals be automatically screened?
false positive and false negative rates if implemented in isolation (“their accuracy in predicting a
                                                                                                       Commented [SSB7R6]: There is a Joint Commission
future event is near zero”).5,6 These sobering findings have important implications for our ability    recommendation to screen all patients who present to the
to use simple screening questions (such as question #9 in the PHQ-9, which asks patients               hospital setting with a behavioral health complaint. This is
whether they had “thoughts that you would be better off dead, or thoughts of hurting yourself in       in hopes of capturing as many patients as possible with a
some way”). Numerous studies have shown that the PHQ-9 is neither sensitive nor specific               screening tool.
enough to predict imminent suicide. An analysis of > 200,000 PHQ-9s showed that a positive             Commented [GS8R6]: We have revised to address your
screen on question #9 was associated with an increased risk over days to months but was not            comment and incorporate above information from our
good at predicting acute risk for an individual patient.6,7                                            psychiatry expert co-author
                                                                                                       Commented [GS9]: Reference to add
Approaches to Improving Safety
                                                                                                       National Patient Safety Goal on Suicide Prevention in
Nonetheless, a variety of understandings and tools can help us better assess patients. First is        Healthcare Settings. R3 NPSG Suicide Prevention Resources
having knowledge of which populations are at higher risk of suicide and factors that increase or
reduce risk. High risk groups include male sex, being young, veterans, Indigenous tribes,              https://www.jointcommission.org/resources/patient-safety-
                                                                                                       topics/suicide-prevention/
lesbian, gay, bisexual, transgender, queer/questioning (LGBTQ).8 Factors such as serious
mental illness, prior suicide attempts and self-harming behavior, alcohol or substance use,            Commented [GS10]: https://www.tandfonline.com/doi/f
serious recent illness or diagnosis, physical pain, a history of trauma or recent loss, and severe     ull/10.1080/13811118.2021.1938321
anxiety or insomnia, to name a few, are associated with increased risk of suicide. Risk factors        Commented [GS11]: https://www.jointcommission.org/r
can be divided into non-modifiable risk factors (sex, family history) and modifiable risk factors,     esources/patient-safety-topics/suicide-prevention/
which include protective factors such as having a stable and meaningful job and family/friend
support. The Joint Commission now recommends that all patients with behavoral health risk
factors receive screening further assessment and screening with one of the validated tools they        https://zerosuicide.edc.org/toolkit/identify/screening-
                                                                                                       options
have identified.
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The second is having a continuing care connection and carefully following the patient. In one          Deleted: ,
study, about 45% of patients who died by suicide visited a primary care physician in the               Deleted: which
preceding 30 days.9 In many cases, there are identifiable opportunities to help the patient
overcome issues such as social isolation, refer for additional help, provide resources                 Commented [GS12]: https://www.sciencedirect.com/scie
                                                                                                       nce/article/pii/S0033318219301872
(particularly telehealth access), and prevent or minimize access to lethal means such as
firearms and pills. And, as in many other chronic diseases, a long term, trusting, personal            Commented [RS(13]: I think it would be helpful to
relationship with a primary care provider can help in improving access, assessments, and               discuss additional screening tools in more detail. Although
accuracy of decision making.                                                                           your recommendation that C-SSRs may be the best
                                                                                                       screening tool, it would be helpful to describe a few other
                                                                                                       tools (with sensitivity and specificity) and other components
Finally, standardized screening tools should be routinely available, utilized, and their results       important in a screening tool. In an older manuscript,
documented and acted upon in the patient’s medical record. Although there insufficient                 Giddens JM et al. Innov Clin Neurosci 2014;11:66-80
evidence to recommend any one tool, several mentioned by the Joint Commission and the                  challenged that type I and II errors may not be controlled in
national Zero Suicide initiative, one widely used tool they recommend and which we favor is the        C-SSRs. Has this been settled?
Columbia Suicide Severity Rating Scale (C-SSRS) Screener.10-12 It is among the best evidence-          Commented [SSB14R13]: We are definitely not the
based tools to help screen for and triage risk for suicidal behavior. It has a demonstrated ability    national experts on the this
to identify those at higher imminent risk for suicide and thus direct resources to those at highest
                                                                                                       Commented [GS15R13]: We are aware there are
risk. It consists of 2 versions-one for initial screening and a second for follow-up. It has both
                                                                                                       multiple tools and don't want to partisan in exclusively
better specificity (99%) than the final question of the PHQ-9 (fewer false positive responses) as      endorsing one to neglect of other others. We are not aware
well as higher (93%) sensitivity.12 After two questions about wishing one were dead and/or             of any "offical" endorsement or preference for the Columbia
having actual thoughts of killing oneself, any positive findings open a branch of three additional     tool (tho Jt Commission does cite it prominently and most of
questions to delve further into whether one is thinking about methods of suicide and having any        our psychiatrists' colleagues use mainly this one across the
                                                                                                                                                                ... [1]
intent or preparatory behavior. Everyone, regardless of their answers about suicidal thoughts, is      Commented [GS16R13]: Disclaimer not endorsing but
then asked about any history of attempting suicide, including just starting to attempt or preparing    finese
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contact the Mass General Brigham Compliance HelpLine at
https://www.massgeneralbrigham.org/complianceline .



Please note that this e-mail is not secure (encrypted). If you do not wish to continue
communication over unencrypted e-mail, please notify the sender of this message immediately.
Continuing to send or respond to e-mail after receiving this message means you understand and
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               EXHIBIT 7
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                                   MEMORANDUM

 TO:                    Heads and Acting Heads of Departments and Agencies
 FROM:                  Charles Ezell, Acting Director, U.S. Office of Personnel Management
 DATE:                  January 29, 2025
 RE:                    Initial Guidance Regarding President Trump’s Executive Order Defending
                        Women.


        Pursuant to its authority under 5 U.S.C. § 1103(a)(1) and (a)(5), the U.S. Office of
Personnel Management (OPM) is providing the following initial guidance to agencies regarding
the President’s Executive Order entitled Defending Women from Gender Ideology Extremism and
Restoring Biological Truth to the Federal Government (Defending Women).

        Steps to End Federal Funding of Gender Ideology: In light of Defending Women, each
agency should take prompt actions to end all agency programs that use taxpayer money to promote
or reflect gender ideology as defined in Section 2(f) of Defending Women. Specifically, agency
heads should take the following steps:

   1. No later than 5:00 p.m. EST on Friday, January 31, 2025

          a. Send an email to all agency employees announcing that the agency will be
             complying with Defending Women and this guidance.

          b. Review all agency programs, contracts, and grants, and terminate any that
             promote or inculcate gender ideology.

          c. Review all agency position descriptions and send a notification to all employees
             whose position description involves inculcating or promoting gender ideology
             that they are being placed on paid administrative leave effective immediately as
             the agency takes steps to close/end all initiatives, offices, and programs that
             inculcate or promote gender ideology.

          d. Take down all outward facing media (websites, social media accounts, etc.) that
             inculcate or promote gender ideology.

          e. Review agency email systems such as Outlook and turn off features that prompt
             users for their pronouns.
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                                                                                         Page 2



          f. Withdraw any final or pending documents, directives, orders, regulations,
             materials, forms, communications, statements, and plans that inculcate or promote
             gender ideology.

          g. Cancel any trainings that inculcate or promote gender ideology or have done so in
             the past.

          h. Disband or cancel any employee resource groups or special emphasis programs
             that inculcate or promote gender ideology or have done so in the past.

          i. Review all agency forms that require entry of an individual’s sex and ensure that
             all list male or female only, and not gender identity. Remove requests for
             “gender” and substitute requests for “sex.”

          j. Ensure that all applicable agency policies and documents, including forms, use
             the term “sex” and not “gender.”

          k. Ensure that intimate spaces designated for women, girls, or females (or for men,
             boys, or males) are designated by biological sex and not gender identity.

   2. No later than 12:00 p.m. EST on Friday, February 7, 2025, report to OPM on all steps
      taken to implement this guidance, including:

          a. a complete list of actions taken in response to this guidance and Defending Women;
             and

          b. any agency plans to fully comply with this guidance and Defending Women.

        Please contact OPM at defendingwomen@opm.gov if you have any questions regarding
this guidance. Please send any reports requested by this guidance to defendingwomen@opm.gov.

cc: Chief Human Capital Officers (CHCOs), Deputy CHCOs, Human Resources Directors, and
Chiefs of Staff
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